USCA11 Case: 24-10933     Document: 31-3      Date Filed: 06/11/2024   Page: 1 of 180



                                No. 24-10933-H


                UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
                        _________________

                          TIFFANY WINGO, ET AL.,

                                             Plaintiffs/Appellants,

                                        v.

                         BRANSON HARRIS, ET AL.,

                                        Defendants/Appellees.
                            ____________________

                 On Appeal from the United States District Court
                      for the Northern District of Georgia

                        Case No. 1:20-cv-03662-VMC
                    Hon. Victoria M. Calvert, District Judge
                             _________________

                  APPELLANTS’ APPENDIX VOLUME III
                              ______________________

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June 11, 2024
USCA11 Case: 24-10933                  Document: 31-3             Date Filed: 06/11/2024              Page: 2 of 180



                                           INDEX OF APPENDIX

                                                                                                     Docket/Tab #

                                                      Volume I

District Court Docket Sheet ...................................................................................... A

Plaintiffs’ Complaint ..................................................................................................1

Gordon, Harris, and Wilkerson’s Answer to Plaintiffs’ Complaint ....................... 17

Plaintiffs’ Third Amended Complaint… ........................................................…...166

Gordon, Harris, Marshall, McPhee, and Wilkerson’s
Answer to Plaintiff’s Third Amended Complaint .................................................175

Marshall’s Deposition Transcript Excerpts ....................................................... 191-4

                                                     Volume II

Harris’ Deposition Transcript Excerpts ............................................................. 191-5

Gordon’s Deposition Transcript Excerpts ......................................................... 191-6

Wilkerson’s Deposition Transcript Excerpts ..................................................... 191-7

Dr. Kenneth Vega’s Deposition Transcript ....................................................... 191-8

Defendants’ Brief in Support of Motion for Summary
Judgment. ........................................................................................................... 196-1

Defendants’ Motion to Exclude Testimony of Dr. Brian
Myers and Mark Johnson with Brief in Support....................................................198

Plaintiffs’ Response in Opposition to Defendants’ Motion to
Exclude Testimony of Dr. Brian Myers and Mark Johnson ..................................207
USCA11 Case: 24-10933                   Document: 31-3             Date Filed: 06/11/2024               Page: 3 of 180



Plaintiffs’ Response in Opposition to Defendants’ Motion
for Summary Judgment……………………………………………………... ...... 209


Dr. Brian Myers’ Expert Report…………………………………...…………209-27

                                                      Volume III

Dr. Brian Myers’ Deposition Transcript ........................................................... 211-2

Visser’s Deposition Transcript Excerpts ........................................................... 211-3

Womack’s Deposition Transcript Excerpts ....................................................... 211-6

Plaintiff’s Notice of Filing EME (1 USB)—Exhibit 7: Infirmary
Video View 1; Exhibit 8: Marshall’s Internal Affairs Interview
Audio; Exhibit 9: Infirmary Video View 2; Exhibit 11: Marshall
and Wilkerson’s Internal Phone Call; Exhibit 12: Marshall
and Harris’ Internal Phone Call; Exhibit 18: Corridor Video;
Exhibit 19: Outside Padded Cell Video; Exhibit 20: Inside
Padded Cell Video; Exhibit 22: Vanderbogart’s Internal Affairs
Video Interview; and Exhibit 34: Wilkerson’ Internal Affairs Video
Interview ................................................................................................................212

Plaintiff’s Notice of filing EME (1 USB)—Exhibit 6: Infirmary
Video View 1; Exhibit 7: Infirmary Video View 2; Exhibit 9:
Marshall and Harris’ Internal Phone Call; Exhibit 12: Marshall
and Wilkerson’s Internal Phone Call; Exhibit 14: Nurse Visser’s
Internal Affairs Video Interview; Exhibit 15: Corridor Video;
Exhibit 16: Outside Padded Cell Video; and Exhibit 17: Inside
Padded Cell Video ................................................................................................213

Plaintiffs’ Amended Response and Objections to Defendant’s
Statement of Undisputed Material Facts to Motion
for Summary Judgment...……………….. .............................................................221

Defendants’ Reply Brief to Plaintiff’s Response in
Opposition to Defendants’ Motion to Exclude
Dr. Brian Myers and Mark Johnson………………………... ...............................223
USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 4 of 180




Defendants’ Reply Brief to Plaintiff’s Response
in Opposition to Defendants’ Motion for Summary Judgment………………….224

                                 Volume IV

Defendants’ Response to Plaintiffs’ Additional Facts in Opposition
to Defendants’ Motion for Summary Judgment……………………...……….. ... 225

Order Granting Defendants’ Motion for Summary Judgment
and Motion to Exclude Testimony of Dr. Brian Myers, denying
Plaintiffs’ Motion for Partial Summary Judgment, and denying
as moot Plaintiffs’ Motion to Exclude Defendants’ Expert
James C. Upshaw, Downs, M.D. ………………………….. ................................227

Judgment………………………………………………………………………....228

Notice of Appeal……………………………………………………………...….230

Certificate of Service………………………………………………………………B
USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 5 of 180




                  DOCKET 211-2
    Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 1 of 48
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 6 of 180




    Transcript of Brian S. Myers, M.D., F.A.C.S.
                        Monday, March 13, 2023

            Tiffany Wingo, et al., v. Major Branson Harris, et al.




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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 2 of 48 Page 1 (1)
   USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 7 of 180

  1                        IN THE UNITED STATES DISTRICT COURT
  2                        FOR THE NORTHERN DISTRICT OF GEORGIA
  3                                  ATLANTA DIVISION
  4

  5    TIFFANY WINGO as Administrator of the
  6    Estate of KEVIL WINGO, SR., KIEARA
  7    WINGO, as surviving child of KEVIL
  8    WINGO, SR., ANGEL CALLOWAY, as mother
  9    And next friend of ERIKA WINGO, surviving
 10    Minor child of KEVIL WINGO, SR., and
 11    FATIMA THOMAS, as mother and next of friend
 12    Of KEVIL WINGO, JR., surviving minor child of
 13    KEVIL WINGO, SR.,
 14                 Plaintiffs,                  CIVIL ACTION FILE NO.
 15    Vs                                        1:20-CV-03662-VMC
 16    MAJOR BRANSON HARRIS, individually,
 17    LIEUTENANT CHARLES GORDON, individually,
 18    DEPUTY PAUL WILKERSON, individually,
 19    DEPUTY BRITTON MCPHEE, individually,
 20    DEPUTY LYNDA MARSHALL, individually,
 21    JOHN DOES 1-10, and JANE DOES 1-10,
 22                 Defendants.
 23    _________________________________________/
 24

 25



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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 3 of 48 Page 2 (2 - 5)
   USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 8 of 180
                                             Page 2                                                          Page 4
 1        TITLE PAGE CONTINUED                         1               INDEX
 2                                                     2
 3     DEPOSITION OF BRIAN S. MYERS, M.D., FACS        3 WITNESS:                            PAGE:
 4     DATE: Monday, March 13, 2023                    4 BRIAN S. MYERS, FACS
 5     LOCATION: 3100 Cumberland Boulevard             5
 6          Suite 1470                                 6       EXAMINATION BY MR. JACKSON                      5
 7          Atlanta, Georgia 30339                     7       EXAMINATION BY MR. GARDNER                      111
 8     TIME: 10:00 a.m. - 1:36 p.m.                    8       EXAMINATION BY MR. JACKSON                     115
 9                                                     9
10                                                    10              EXHIBITS
11                                                    11          (Exhibits are attached hereto.)
12 REPORTED BY: TAMIKA M. BURNETTE, RPR, CSR-2870 12
13                                                    13 EXHIBITS:           DESCRIPTION:     PAGE:
14                                                    14 EXHIBIT NO. 1        BRIAN MYERS' REPORT    10
15                                                    15 EXHIBIT NO. 2        CURRICULUM VITAE      15
16                                                    16 EXHIBIT NO. 3        WINGO004192       43
17                                                    17 EXHIBIT NO. 4        INVOICES       116
18                                                    18
19                                                    19
20                                                    20
21                                                    21
22                                                    22
23                                                    23
24                                                    24
25                                                    25

                                             Page 3                                                          Page 5
 1                                                     1                     Monday, March 13, 2023
 2
                    APPEARANCES                        2                     10:00 a.m.
 3                                                     3            *     *       *
 4
   FOR THE PLAINTIFFS:                                 4
   GARDNER TRIAL ATTORNEYS                                              (Witness sworn.)
 5                                                     5                 BRIAN MEYERS,
 6
   BY: Mr. Timothy J. Gardner, Esquire                 6
     3100 Cumberland Boulevard                                  The witness herein, after having been first
 7                                                     7        duly sworn to tell the truth, was examined and
 8
     Suite 1470                                        8
     Atlanta, Georgia 30339                                     testified as follows:
 9                                                     9              MR. JACKSON: All right. This will be
10
     (770) 693-8202                                   10 the deposition of Dr. Brian Myers taken pursuant to
11
     TJG@gardentrialattorneys.com                     11 notice and agreement of counsel for purposes of
12                                                    12 discovery. All objections are reserved except for the
13
   FOR THE DEFENDANT:                                 13 form of question and responsiveness of the answer.
14
   FREEMAN MATHIS & GARY, LLP                         14
   BY: Mr. Wesley C. Jackson, Esquire                                    EXAMINATION
15                                                    15     Q. BY MR. JACKSON: Dr. Myers, if you can please
16
     100 Galleria Parkway                             16 state your full name for the record.
17
     Suite 1600                                       17
     Atlanta, Georgia 30339                                  A. Brian Myers.
18                                                    18     Q. My name is Wes Jackson, we met just a moment
19
     Wjackson@fmglaw.com                              19 ago. I'm one of the attorneys representing several Cobb
20
     (770) 818-0000                                   20 County Sheriff's Office deputies in this lawsuit brought
21                                                    21 by Mr. Wingo's family against them.
22                                                    22           Have you ever given a deposition before?
23                                                    23     A. I have.
24                                                    24     Q. All right. And I'm sure you know sort of the
25                                                    25 practical rules that we have for depositions.


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 4 of 48 Page 3 (6 - 9)
   USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 9 of 180
                                                           Page 6                                                                Page 8
 1 Obviously, the court reporter is taking everything down,          1 information in it.
 2 so all of your answers need to be verbal. We need to be           2     Q. What information was it you were looking for?
 3 sure that we don't talk over each other. That sort of             3     A. I wanted to see if there were any vital signs
 4 thing, right?                                                     4 recorded when he was brought out of the isolation cell
 5     A. Correct.                                                   5 at the end of the events.
 6     Q. And if at any point you need to take a break,              6     Q. So you're talking, you wanted to see if vitals
 7 let me know and we'll be happy to do that.                        7 were recorded after the code blue was called?
 8     A. All right.                                                 8     A. Correct.
 9           MR. JACKSON: And you-all, have you-all                  9     Q. Were they?
10 discussed reading and signing?                                   10     A. I could not find any.
11           MR. GARDNER: We haven't. Do you want to                11     Q. Why did you want to know if the vitals had been
12 --                                                               12 recorded after he was brought out of the cell?
13           THE WITNESS: It's helpful if I can remain              13     A. To help me determine if there was still a
14 technically sworn in, so I don't have to do a notary if          14 chance of saving his life at that point.
15 I do the -- do make correction on the errata. That               15     Q. And how -- how would those vitals have helped
16 would be nice.                                                   16 you make that determination?
17     Q. BY MR. JACKSON: Meaning, you want to review               17     A. As long as you still have some vitals, there
18 the --                                                           18 was a chance that he could survive. Once the vitals are
19     A. The deposition, make sure all the transcription           19 gone in this sort of a scenario, there is almost a zero
20 came through correctly.                                          20 percent chance that he will survive.
21     Q. While you're sworn in?                                    21     Q. And when you say vitals what -- what does that
22     A. If it's an issue then I'll just get it                    22 mean?
23 notarized.                                                       23     A. Heart rate, blood pressure, respirations.
24     Q. I don't know if it's an issue. I have never               24     Q. So you're saying at the point where -- well,
25 had anyone ask me that before.                                   25 correct me if I'm wrong, are you saying at the point

                                                           Page 7                                                                Page 9
 1    A. I've seen some depositions where it's occurred.             1 where there's no heart rate or no blood pressure or no
 2 It's just kind of nice, kind of convenient.                       2 respiration there's a zero percent chance of surviving?
 3    Q. Let's talk off the record about that, but --       3     A. Close to zero. Yes.
 4    A. Sure.                                              4     Q. Okay. And in the absence of those -- of those
 5    Q. -- it's probably okay.                             5 -- of the vitals, that might have been taken or might
 6           MR. GARDNER: So we'll read it.                 6 not -- we don't know or I don't know -- after the code
 7           MR. JACKSON: Okay.                             7 blue, when he was taken out of the cell. In the absence
 8    Q. BY MR. JACKSON: What did you do to prepare for 8 of those, that record, if it ever existed, what is your
 9 today's deposition?                                      9 conclusion with respect to his survivability at that
10    A. I went back through my report.                    10 point?
11    Q. Did you do anything else?                         11     A. Say that for me again, please.
12    A. I had a conversation with Mr. Gardner.            12     Q. In the absence of that record that you were
13    Q. Other than your report, did you review any        13 looking for, what is your conclusion with respect to his
14 other documents?                                        14 survivability at that point?
15    A. I did look back through some of the documents     15            MR. GARDNER: Object to form.
16 after I looked through my report to see if I could find 16 Clarification as to what point.
17 out and confirm what I had said in the report.          17     Q. BY MR. JACKSON: At the point he was taken out
18    Q. Did you find out anything that contradicted       18 of the cell after the code blue.
19 anything that was in your report?                       19     A. Not knowing if there were vital signs at that
20    A. No, I did not.                                    20 point, it's hard to say. That's what I was trying to
21    Q. What specific documents did you look at when      21 figure out. If there were vital signs at that point,
22 you did that second review on them?                     22 then he still had a chance.
23    A. They're quite voluminous and I couldn't           23     Q. But you don't know?
24 actually identify exactly which ones. I just scanned    24     A. I don't know.
25 through the ones that I thought might have that         25     Q. Did you -- were you looking for any other

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 5 of 48
                                                                          Page 4 (10 - 13)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 10 of 180
                                                       Page 10                                                      Page 12
 1 information as you prepared for today's deposition to          1
                                                                A. I believe six years.
 2 confirm any other details of your report?                      2
                                                                Q. I saw in your CV that you -- you eventually
 3    A. No. That was it.                                 3 went to the military yourself. Did you grow up in a
 4    Q. Did you watch any interviews of any jail staff   4 military family?
 5 or medical staff or anyone else with respect to this   5     A. No.
 6 incident in preparation for today?                     6     Q. Okay. Just moved around a lot?
 7    A. I did for my report, but not for today.          7     A. Yes.
 8    Q. Okay. And if you watched something for your      8     Q. Okay. So -- all right. Where did you go after
 9 report, but not for today, that would be indicated in  9 Hudson, Ohio?
10 your report, correct?                                 10     A. Charleston, West Virginia.
11    A. Correct.                                        11     Q. And how long did you live there?
12    Q. Okay. And just so we're on the same page, I'm   12     A. Let's see. That was until high school, so
13 going to mark as Exhibit 1, this document.            13 seven - eight years.
14       (Exhibit 1 marked for identification.)          14     Q. So that covers -- the cities we discussed cover
15    Q. BY MR. JACKSON: Do you recognize Defendant's 15 your childhood, pretty much?
16 Exhibit 1?                                            16     A. Correct.
17    A. Yes, I do.                                      17     Q. Where did you attend high school?
18    Q. Is that your report rendered in this matter?    18     A. George Washington High School in Charleston,
19    A. Yes, it is.                                     19 West Virginia.
20    Q. In preparation for today's deposition, did you  20     Q. You currently live in Stockbridge; what county
21 review any legal pleadings such as a complaint --     21 is that?
22    A. No.                                             22     A. Henry.
23    Q. -- or an answer?                                23     Q. How long have you lived there?
24    A. No.                                             24     A. Since 1999.
25    Q. In preparation for today -- again, this is      25     Q. Are you married?
                                                       Page 11                                                      Page 13
 1 distinct from preparation of your report, but in               1    A. No.
 2 preparation for today, did you watch any of the CCTV           2    Q. Do you have any children?
 3 reported videos from inside the jail in the days and           3    A. No.
 4 hours leading up to Mr. Wingo's death?                         4    Q. Any grandchildren?
 5    A. No.                                                      5    A. No.
 6    Q. What's your current address?                             6    Q. Do you have any relatives over the age of 18 in
 7    A. 90 Lee Road, Stockbridge, Georgia 30281.                 7 the Metro Atlanta area?
 8    Q. And who lives with you at that address?                  8    A. No.
 9    A. Nobody.                                                  9    Q. Are you a part of any civic organization or
10    Q. What's your date of birth?                              10 social group or church?
11    A. 5/1/65.                                                 11    A. No.
12    Q. And where were you born?                                12    Q. Okay. I'm just -- I just want to make sure
13    A. Philadelphia.                                           13 you're not, you know, there's someone who could be on
14    Q. Is that where you grew up?                              14 the jury isn't your, you know --
15    A. It depends on how you define "grew up".                 15    A. I don't believe so.
16    Q. How long did you stay in Philadelphia?                  16    Q. Okay. And have you served in the military?
17    A. Until I was five.                                       17    A. Yes.
18    Q. And where did you go then?                              18    Q. What branch were you in?
19    A. To Pittsburgh.                                          19    A. Navy Medical Corp.
20    Q. How long did you live in Pittsburgh.                    20    Q. And what years were you in the Navy?
21    A. Two years, I believe.                                   21    A. '95 to 2007.
22    Q. Where did you go after you moved from                   22    Q. Where were you stationed?
23 Pittsburgh?                                                   23    A. I was in the reserves so it was not one
24    A. Hudson, Ohio.                                           24 particular location. It was many locations.
25    Q. How long did you live in Hudson, Ohio?                  25    Q. What was your rank?

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 6 of 48
                                                                          Page 5 (14 - 17)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 11 of 180
                                                        Page 14                                                        Page 16
 1    A. Commander.                                                1     Q. So I'm just going to go through you're
 2    Q. What were your duties?                                    2 education, we'll start at the top.You graduated from
 3    A. Surgery.                                                  3 Ohio State University in 1987, correct?
 4    Q. Other than performing surgeries, did you have             4     A. Yes.
 5 any -- I don't know what you would call them -- maybe           5     Q. With a degree in bachelor of science with a
 6 command duties. Did you oversee other doctors or other          6 distinction in zoology. Correct me if I'm wrong, but I
 7 medical staff?                                                  7 assume nothing you learned in your coursework for your
 8    A. Not as a reservist, no.                                   8 bachelor of science and distinction of zoology was
 9    Q. Were you -- you're no longer in the reserves?             9 brought to bear to form your opinions in this case?
10    A. Correct.                                                 10     A. Other than the fact it provides a basis for my
11    Q. Were you honorably discharged?                           11 knowledge of biology.
12    A. Yes.                                                     12     Q. Right. So I guess there's a sense to which it
13    Q. Thank you for your service.                              13 was foundational to your medical knowledge, correct?
14    A. You're welcome.                                          14     A. Correct.
15    Q. Have you -- other than by providing testimony,           15     Q. But when you were forming your opinions you
16 have you, yourself ever been party to a lawsuit?               16 weren't reaching back to any specific detail you had
17    A. No.                                                      17 learned --
18    Q. Other than in your capacity as -- or to opine            18     A. No.
19 on matters of your expertise, surgery or other medical         19     Q. -- in your undergrad. Okay. I take it you had
20 areas of expertise, have you ever given testimony in a         20 a short summer term at Oxford studying English history
21 lawsuit?                                                       21 in literature?
22    A. Please rephrase. Say that again.                         22     A. Yes.
23    Q. I guess I'm asking, outside of your capacity as          23     Q. Now, that had no bearing on your opinion, did
24 an expert, have you given testimony in a lawsuit?              24 it?
25    A. No.                                                      25     A. No.
                                                        Page 15                                                        Page 17
 1    Q. And I -- I don't mean to offend you, but I'm              1    Q. And you achieved your medical doctorate at Ohio
 2 going to ask some questions about criminal history,             2 State University College of Medicine in Columbus, Ohio,
 3 that's just what we do.                                         3 correct?
 4            Have you ever been charged with a criminal           4
                                                                 A. Yes.
 5 offense?                                                        5
                                                                 Q. And you were there from 1998 to 1992?
 6    A. No.                                               6     A. Yes.
 7    Q. I'm going to mark a document as Exhibit 2.        7     Q. During that time, did you begin to focus your
 8       (Exhibit 2 marked for identification.)            8 interest on surgery or gastroenterology?
 9    Q. BY MR. JACKSON: Doctor, do you recognize          9     A. Yes. That's when the interest starts.
10 Exhibit 2?                                             10     Q. Okay. And I don't -- I don't know how it
11    A. Yes.                                             11 works, did you take specific coursework in any medical
12    Q. Is that your CV?                                 12 field that's -- that would have informed your opinions
13    A. Yes.                                             13 in Exhibit 1?
14    Q. And this was produced to us in discovery, does   14     A. For this, no.
15 this appear to be a -- on the last page -- page 3 it   15     Q. Okay. And after Ohio State College of
16 says updated 9/22/2022?                                16 Medicine, you went to Temple University in Philadelphia.
17    A. Correct.                                         17 What -- the term escapes me, what do you call that --
18    Q. Has there been any updates to your resume or CV 18 the continuing education after your MD?
19 since that time?                                       19     A. Residency.
20    A. (Witness examining document.)                    20     Q. Okay. Residency?
21          I just recently -- I should update this       21     A. (Nodding yes.)
22 now. Just recently, I have reestablished privileges at 22     Q. How long were you at Temple?
23 Southern Regional.                                     23     A. Until 1998.
24    Q. And privileges are admitting privileges?         24     Q. And from 1992 to 1998, was that whole period
25    A. Correct.                                         25 considered residency or is there further study you can


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 7 of 48
                                                                          Page 6 (18 - 21)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 12 of 180
                                                       Page 18                                                          Page 20
 1 do after a residency that you did at Temple?                   1 General surgeons used to be the ones who would operate
 2    A. That entire period is considered residency.              2 on the kidneys and the bladders and so forth.    Well, now
 3 The extra period of study I did was outside of Temple,         3 that's relegated to the urologists.   We don't generally
 4 afterwards.                                                    4 do that unless it's a trauma.
 5    Q. Okay. And then after Temple, you went to                 5     Q. This case concerns a gastric ulcer, correct?
 6 Oregon Health Sciences University in Portland, BMAC in         6     A. Correct.
 7 Portland, Oregon?                                              7     Q. Okay. What area of medical practice does the
 8    A. Yes.                                                     8 treatment and correction of gastric ulcers fall into?
 9    Q. We're going back to Temple. It seems you                 9     A. It depends on the state of the ulcer.
10 started as a resident and then became a resident in           10     Q. Okay.
11 general surgery -- or I guess an intern in general            11     A. And an ulcer, such as in this case, that it
12 surgery. We'll start there.                                   12 perforated, that falls into general surgery.
13          1992 to 1993, was that part of your                  13     Q. Okay. Before perforation, what per view would
14 residency or does that all predate your residency?            14 that fall under?
15    A. No, that's all part of the residency. Those             15     A. That would be under a gastric.
16 are different terms that have fine differences of             16     Q. Right. Are you a gastric enterologist?
17 meaning within medical training.                              17     A. No. I'm a general surgeon.
18    Q. Well, what is an internship for purposes of             18     Q. Okay. But you do -- okay. And, you know, some
19 medical training?                                             19 of these words look similar and I apologize for my
20    A. It's your first year of a residency.                    20 ignorance. But you were a gastrointestinal research
21    Q. Okay.                                                   21 fellow with Temple?
22    A. Just to help clear that up for you, a                   22     A. Right.
23 urologist, a physician who deals with urologic                23     Q. All right. So tell me about that.
24 conditions will do an internship in general surgery           24     A. That was a year that I was in academic -- in an
25 before starting his urology residency. That's where the       25 academic program that wanted people to be more

                                                       Page 19                                                          Page 21
 1 words become kind of nuanced in the field.                     1 productive when it came to publishing, moving people
 2    Q. So I take it as -- is it such that each                  2 down the academic line.    And that year was a year of
 3 successive step in your career as a resident kind of           3 research where I worked in the lab doing research on --
 4 whittles down your specialty?                                  4 or in gastrointestinal disorders.
 5      A. For general surgery, no.                               5    Q. Okay. Would a -- would a gastric ulcer fall in
 6      Q. Okay.                                                  6 gastrointestinal research or that field?
 7      A. For some specialty, yes.                               7    A. It falls in the general category. Yes.
 8      Q. Okay. So let's start here -- let's ask this.           8    Q. Okay. Aside from your year as a
 9 So what do you consider your specialty as of today?            9 gastrointestinal research fellow at Temple, have you had
10      A. General surgery.                                      10 any other specific training or course of studies as it
11      Q. Okay.                                                 11 relates to gastroenterology?
12      A. It sounds like a misnomer, but it's -- that's         12    A. No.
13 the terms we're left with, general surgery.                   13    Q. What does a chief resident generally do, which
14      Q. What does a general surgery -- what does that         14 was your position from '97 to '98?
15 practice entail?                                              15    A. Within general surgery, that entails you having
16      A. It involves providing surgical services for           16 more administrative and clinical responsibilities.
17 conditions that range from soft tissues, abdominal wall,      17    Q. Okay. And I assume there is only one, right?
18 conditions in the neck with endocrine and trachea             18    A. No. Not in general surgery.
19 issues. Mostly focused on intra-abdominal contents.           19    Q. Okay.
20 Those -- some general surgeons do lung. Historically,         20    A. If you were talking about internal medicine,
21 it's the surgical specialist -- specialty that's left         21 that is commonly the case. But in general surgery if
22 over after every other subspecialty is peeled off of a        22 you make it to your final year, you will be called a
23 particular area of interest in specialization.                23 general surgery chief.
24      Q. Okay.                                                 24    Q. Okay. Your time at Temple -- correct me if I'm
25      A. For instance, neurology, to bring that backup.        25 wrong, I would assume that is where you undertook the


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Brian S. Myers, M.D., F.A.C.S.                                                 3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 8 of 48
                                                                          Page 7 (22 - 25)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 13 of 180
                                                     Page 22                                                           Page 24
 1 most training for study that would have informed your --     1 little bit more about your report and what you discuss
 2 your experience and knowledge with respect to your           2 is the process for peptic ulcers and gastric ulcer
 3 opinions in this case?                                       3 perforation.
 4     A. That would be the period where I had the              4    A. (Nodding yes.)
 5 informal training. Correct.                                  5    Q. For your license, you allowed your license in
 6     Q. And of course you've had years of experience as       6 Pennsylvania, Oregon to expire?
 7 a practitioner since then, correct?                          7    A. Correct.
 8     A. Correct.                                              8    Q. I take it you don't practice there anymore?
 9     Q. And you've relied on that experience as well?         9    A. I do not.
10     A. Correct.                                             10    Q. Okay. Has your license in Georgia ever lapsed
11     Q. What about your fellowship in Oregon, at the         11 or have there been any gaps in your license to practice
12 Oregon Health Sciences University. What -- tell me a        12 in Georgia?
13 little about what the fellowship was for and what you       13    A. No.
14 did and things along those lines.                           14    Q. And I assume that means it has never been
15     A. At that period of time, the surgery was in the       15 suspended or revoked?
16 beginning stages of adopting minimally invasive             16    A. Correct.
17 techniques for all sorts of procedures. I was               17    Q. You're board certified in general surgery by
18 interested in providing that because I thought it was       18 the General American Board of Surgery?
19 beneficial to the patients to have surgery done through     19    A. Correct.
20 minimally invasive means. And that fellowship was to        20    Q. What does that mean?
21 help me take all the procedures and skills that I           21    A. The board is the accrediting agency for general
22 learned at my residency and deem the skills to do it        22 surgeons and without that accreditation, you are
23 minimally invasively.                                       23 unlikely to be able to find any hospital that will allow
24     Q. Okay. Did any of your experience or study            24 you privileges to do surgery there.
25 during the fellowship inform your opinions in this case     25    Q. So I take it you don't need it to practice
                                                     Page 23                                                           Page 25
 1 today?                                                       1 surgery, but you're not going to be able to do surgeries
 2     A. Only just built on my knowledge.                      2 at most hospitals without it?
 3     Q. Okay. But there was nothing unique to that            3    A. Correct.
 4 fellowship that informed your opinion, that you wouldn't     4    Q. Okay. Has your certification ever lapsed, your
 5 have already learned or known from the course of your        5 certification for general surgery by the American Board
 6 study at Temple or from your subsequent years as a           6 of Surgery?
 7 practitioner?                                                7    A. No.
 8     A. Only in that it provided me techniques to fix         8    Q. How often do you treat patients with either
 9 the problem minimally invasively.                            9 peptic ulcers or gastric ulcer perforation?
10     Q. Would minimally invasive techniques been             10    A. I estimate about once a month.
11 consideration for treatment for Mr. Wingo after his         11    Q. And I know it can be different for different
12 ulcer perforated?                                           12 stages but what's the typical treatment you provide or
13     A. In my hands, yes.                                    13 how -- let me go back -- how -- when patients come to
14     Q. Okay. What would be a typical post-rupture           14 you with gastric ulcers, typically, what stage of the
15 minimally invasive technique that you might have            15 ulcer do they have?
16 employed to treat a perforated ulcer?                       16    A. I get involved when they've perforated.
17     A. I make multiple small incisions using a camera       17    Q. Okay. Do you -- have you ever gotten -- as a
18 and log instruments, I insulate the abdomen with C02,       18 practice do you -- let me rephrase that.
19 clean out the gastric contents that have spilled, and       19           Generally, do you treat patients before the
20 then repair the hole. Either sew it closed and do an        20 ulcer is perforated?
21 omentopexy where I suture a layer of fat that exists in     21    A. There is no current surgerable treatment for
22 the abdomen over top of it to patch it.                     22 patients who have ulcers that haven't perforated.
23     Q. All right.                                           23    Q. So your a surgeon, so your focus is doing the
24     A. That's a general approach.                           24 surgery to correct it, correct?
25     Q. We'll talk more about that when we talk a            25    A. Correct.

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Brian S. Myers, M.D., F.A.C.S.                                                 3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 9 of 48
                                                                          Page 8 (26 - 29)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 14 of 180
                                                       Page 26                                                              Page 28
 1    Q. Treating an ulcer that hasn't perforated,                1 the most -- some of the most common ones.
 2 that's in other hands, correct?                                2    Q. What -- are you able to rank those in what
 3    A. Correct.                                                 3 might be the most likely cause to the less likely?
 4    Q. Would you say that you're an expert on                   4    A. I couldn't rank them at this point in time.
 5 post-perforation treatment of gastric ulcers?                  5    Q. Okay. Do you have an opinion on what might
 6    A. Yes.                                                     6 have caused Mr. Wingo's ulcer in this case?
 7    Q. Would you say you're an expert on the                    7    A. No.
 8 pre-perforation treatment of gastric ulcers?                   8    Q. You reviewed Mr. Wingo's medical records from
 9          MR. GARDNER: Object to form.                          9 the Cobb County Adult Detention Center in preparation of
10          THE WITNESS: It's something I'm extremely            10 your report?
11 knowledgeable about because of what I do. Are there           11    A. I did.
12 professions out there with more expertise, yes. But I         12    Q. And you reviewed the WellStar Kennestone ER
13 would still consider myself an expert on it. Yes.             13 records?
14    Q. BY MR. JACKSON: What are the professions with           14    A. I did.
15 more expertise on gastric ulcers before they perforate?       15    Q. Did you see anything in those records that --
16    A. Gastroenterologist, would be the only one.              16 that you would consider relevant in determining what the
17    Q. And you're not a gastroenterologist?                    17 cause of his ulcer might have been?
18    A. That's correct.                                         18           MR. GARDNER: Objection. Form.
19    Q. And you're not presenting yourself as an expert         19           THE WITNESS: The records reveal risk
20 in gastroenterology?                                          20 factors, but they don't reveal the cause.
21    A. Correct.                                                21    Q. BY MR. JACKSON: Okay. What were the risk
22    Q. For purposes of your opinions formed in this            22 factors that they revealed?
23 case. What are the areas of expertise that form your          23    A. Cocaine use was one of them.
24 opinion?                                                      24    Q. Were there any other risk factors that you saw?
25    A. General surgery.                                        25    A. No. I can't remember, at this point, if there
                                                       Page 27                                                              Page 29
 1    Q. That's the only area of expertise, there are no          1 were any ones beyond that.
 2 others that formed your opinion today?                         2    Q. What -- how does cocaine use contribute to
 3           MR. GARDNER: Object to form.                         3 gastric ulcers?
 4           THE WITNESS: That's what I am and that's             4    A. It's a very aggressive invasive constrictor and
 5 what my area of expertise is, is general surgery.              5 you lose blood supply on a microscopic level. That's
 6     Q. BY MR. JACKSON: Right. I'm just -- I want to            6 why people lose the areas of their nose when they snort
 7 -- but again, you're not, for instance, bringing expert        7 it or why people have heart attacks because the vessels
 8 opinions with respect to gastroenterology for your             8 contract so much that you lose blood supply to that
 9 opinions in this report?                                       9 area.
10     A. I am not going to portray myself as a                  10          MR. GARDNER: I objected to that last
11 gastroenterologist. That's correct. Yes.                      11 question. You can go ahead.
12     Q. Okay.                                                  12    Q. BY MR. JACKSON: Specific to gastric ulcers,
13     A. But I will clarify, there is overlap on a              13 what would be the mechanism by which cocaine use
14 knowledge basis between a gastrologist and a general          14 contributes to the formation of the ulcer?
15 surgeon with -- in regards to this particular problem.        15    A. There's probably --
16     Q. Okay. What is a gastric ulcer?                         16          MR. GARDNER: Objection. You can go ahead.
17     A. It's a break down of the lining of the gastric         17          THE WITNESS: There's probably more than
18 -- in the stomach. It allows the gastric contents to          18 one but vaso constriction is probably the most likely
19 start eroding the underlying tissues.                         19 cause.
20     Q. And what -- what are the known causes of               20    Q. BY MR. JACKSON: You're saying vaso --
21 gastric ulcers?                                               21    A. Vaso constriction.
22     A. Most commonly be nonsteroidal use, followed by         22    Q. Okay what's vaso constriction?
23 smoking -- these are not in any particular order,             23    A. The small blood vessels constrict to the point
24 cocaine use. There is some evidence that stress is            24 where they no longer flow.
25 responsible for breaking down the barrier. Those are          25    Q. Is there any diagnostic testing that can

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 10 of 48
                                                                          Page 9 (30 - 33)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 15 of 180
                                                      Page 30                                                        Page 32
 1 establish what would have caused a patient to develop a       1     Q. But is it -- I know I'm not asking the best
 2 gastric ulcer?                                                2 question but I'm just trying to figure out. Can someone
 3    A. Other than checking for H. Pylori, I can't              3 have a gastric ulcer, leave it untreated, and be fine?
 4 think of a test that would identify cause. H. Pylori is       4     A. Well, they're going to have the symptoms so
 5 another cause for gastric ulcers.                             5 they won't be fine, but they may not perforate. That's
 6    Q. H. Pylori, that's a --                                  6 correct.
 7    A. Bacteria.                                               7     Q. What are the pre-perforation symptoms of a
 8    Q. How is that typically contracted. Do you know?          8 gastric ulcer?
 9    A. It's ubiquitous, it's very common for people to         9     A. There are none, other than the symptoms from
10 have it, but not everyone who has H. Pylori develops an      10 the ulcer itself.
11 ulcer.                                                       11     Q. Other than the symptoms from the ulcer itself?
12    Q. Once a patient has a gastric ulcer, what               12     A. Right.
13 contributes to the perforation of the ulcer?                 13     Q. What would those be, the symptoms?
14    A. Sorry --                                               14     A. Nausea, bloating, upper abdominal pain, pain
15    Q. Or, I guess, do you have an opinion -- not do          15 that's often improved by eating. Those are the typical
16 you have an opinion. I'm not asking for an opinion.          16 ulcer symptoms.
17 But to your knowledge, what are the factors that would       17     Q. Is there any diagnostic testing that can
18 lead to a gastric perforating?                               18 establish exactly when a gastric ulcer ruptures?
19    A. It's just progression of the underlying                19     A. That's established more by the history.
20 disease.                                                     20     Q. What history would establish when a gastric
21    Q. Okay. Can a -- is there any acute injury or            21 ulcer ruptures?
22 other discreet incident that would cause it to rupture?      22     A. It's one of those conditions where we can
23    A. No.                                                    23 almost pinpoint the minute in which it does because
24    Q. For a patient who is known to have a gastric           24 there is sudden onset of severe abdominal pain that is
25 ulcer, what treatment options are available -- or are        25 intractable and cannot be ignored. It's not uncommon

                                                      Page 31                                                        Page 33
 1 there any treatment options that would -- that could be       1 for a patient to come in and say the pain started at
 2 taken to, perhaps, prevent the rupture?                       2 4:32.
 3    A. The medical therapy is for gastric ulcers               3     Q. Okay. We're going to come back to some of
 4 should be started and continued and then monitored for        4 that.  I went off on a little hair.
 5 whether or not they're working.                               5           Going back to your CV, since your -- since
 6    Q. And what are the medical therapies for a                6 completing your fellowship at Oregon Health Services,
 7 gastric ulcer?                                                7 have you had any other formal training in your area of
 8    A. They start with acid suppression medications.           8 practice?
 9    Q. Are there any others -- other medical therapies         9     A. There is CME and there are courses we take at
10 that would --                                                10 various times to get extra training in certain areas,
11    A. That's the mainstay.                                   11 like, robotic surgery and so forth.
12    Q. For a patient who is on acid suppression               12     Q. How many hours of CME are you required to
13 medications, what -- what's a typical course of              13 accomplish a year?
14 treatment?                                                   14     A. That changes almost every year depending on
15    A. That could be better answered by a                     15 what the board's new rules are.
16 gastroenterologist.                                          16     Q. And is it the Board of General Surgery or is it
17    Q. Okay. To your knowledge if a medical -- or             17 the board, that gave you your board certification that
18 excuse me. If a gastric ulcer is not treated, is it a        18 assessed your senior requirements?
19 certainty that it will perforate or do they get to a         19     A. Correct. If you want to maintain your board
20 point where they just stay in a continuous state where       20 certification you must meet their requirements.
21 they're there, but they're not growing or is it -- to a      21     Q. I understand it changes every year, but what is
22 reasonable degree of medical certainty going to              22 it this year?
23 perforate?                                                   23     A. I don't know this particular year.
24    A. There's no way to predict which ones will              24     Q. It's not December yet, right?
25 perforate and which ones won't.                              25     A. It's not time for me to recertify and at which

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 11 ofPage
                                                                          48 10 (34 - 37)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 16 of 180
                                                          Page 34                                                      Page 36
 1 point I will verify what the number is at that time.              1 other organs.
 2    Q. Okay. Has any of your CME coursework to -- any              2     Q. Okay.
 3 specific CME coursework, that you can recall, inform any          3     A. Gastroesophageal reflux disease.
 4 of your opinions in Exhibit 1?                                    4     Q. Would treatment of gastric ulcers be within
 5    A. Other than building my basic knowledge base,                5 either of those two interests?
 6 no.                                                               6     A. Yes.
 7     Q. Where are you currently employed?                          7     Q. Okay. Which one?
 8     A. Surgery South, PC.                                         8     A. Foregut surgery.
 9     Q. What's your position?                                      9     Q. Okay. Foregut surgery. If you were to perform
10     A. Surgeon and CEO.                                          10 a surgery to correct a perforated ulcer would that fall
11     Q. What are your responsibilities in that capacity           11 under the umbrella foregut surgery?
12 -- well, let's start with your responsibilities as a             12     A. That is foregut surgery, yes.
13 surgeon?                                                         13     Q. Okay. So tell me a little bit more about
14     A. To provide surgical services to our patients.             14 foregut surgery. What is that?
15     Q. And as CEO, what are your responsibilities?               15     A. Simply a general surgeon operating on the
16     A. To manage the staff and the practices of                  16 esophagus, stomach, or duodenum. It's a general
17 business.                                                        17 category.
18     Q. Do you have other physicians who work with you            18     Q. Esophagus, stomach, or duodenum?
19 or for you at Surgery South?                                     19     A. Duodenum.
20     A. I do.                                                     20     Q. Duodenum?
21     Q. Now when you say part of your responsibilities            21     A. Or duodenum. Depending on how you want to
22 as a CEO is to manage staff, would that include the              22 pronounce that.
23 other surgeons or not?                                           23     Q. What is that?
24     A. Yes.                                                      24     A. It's the very first portion of your small L,
25     Q. How many surgeons are employed at Surgery                 25 just as it exits the stomach.

                                                          Page 35                                                      Page 37
 1 South?                                                            1
                                                                  Q. Okay. Did you found Surgery South?
 2     A. Five.                                              2    A. No.
 3     Q. What areas of specialty are those five other       3    Q. Okay. When did you become CEO?
 4 surgeons?                                                 4    A. Roughly 2016.
 5     A. They're all general surgeons.                      5    Q. Okay. I have -- I have your CV stating you've
 6     Q. I may have asked this. Is there -- can a           6 been staff surgeon at Surgery South since 1999 and --
 7 general surgeon further specialize within general         7    A. It's actually on my CV, 2014. There you go.
 8 surgery?                                                  8    Q. Yes. Okay. 2014, that is when you became CEO?
 9     A. Yes.                                               9    A. Right.
10     Q. Have you so specialized?                          10    Q. But you started in 1999 as a staff surgeon?
11     A. In my fellowship as a minimally invasive          11    A. Right.
12 surgery, that could be considered a subspecialization.   12    Q. Did you -- other than CEO and staff surgeon,
13 I have particular areas of interest, these are not a     13 have you had any other positions at Surgery South?
14 board certified subspecialty. For instance, breast       14    A. No.
15 surgery could be a subspecialty within general surgery.  15    Q. Have you ever been disciplined by a medical
16 Endocrine surgery could be a subspecialty within general 16 board before or -- specifically, the General Surgery
17 surgery. We perform those functions within our group.    17 Board For the American Board -- well, I guess the
18     Q. What were your interests that you referenced?     18 American Board of Surgery?
19     A. I have a particular interest in foregut and       19    A. No.
20 reflux surgery.                                          20    Q. And I don't know how it works in the medical
21     Q. What is the foregut?                              21 context, but is there any mechanism or way for
22     A. Esophagus, the stomach, and the duodenum.         22 discipline internal to a specific practice group such as
23     Q. So you said the foregut and what was the other    23 Surgery South?
24 area?                                                    24    A. No.
25     A. Reflux which is -- basically it encompasses the   25    Q. Okay. Have you ever had any -- since you --

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Brian S. Myers, M.D., F.A.C.S.                                                3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 12 ofPage
                                                                          48 11 (38 - 41)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 17 of 180
                                                     Page 38                                                        Page 40
 1 since 1999 have you ever had any periods of                  1    A. I can't ever remember their acronym. We just
 2 unemployment?                                                2 say SAGES.
 3     A. No.                                                   3    Q. Is it the Society of American Gastrointestinal
 4     Q. Other than your CME requirements, do you do any       4 Endoscopic Surgeons?
 5 other activities or study to stay current on areas of        5     A. There you go.
 6 your expertise?                                              6     Q. What is a gastrointestinal endoscopic surgeon?
 7     A. I read when there are articles available.             7     A. A minimally invasive surgeon that works on the
 8     Q. Do you currently -- are you -- have you               8 GI tract.
 9 published recently?                                          9     Q. This may be obvious but "endoscopic" does that
10     A. No. I have not published.                            10 refer to using a scope?
11           MR. GARDNER: When you get a chance, I want        11     A. To get the acronym to work they used that word
12 to take a quick break. I want to check on the air           12 but, yes. It's a minimally evasive technique. We use
13 conditioner.                                                13 the more common word which is laparoscopic and that
14           MR. JACKSON: Sure.                                14 wouldn't fit with their acronym.
15              (Off the record.)                              15     Q. No. Okay. But your saying the Society of
16     Q. BY MR. JACKSON: Doctor, I think before the           16 American Gastrointestinal Endoscopic Surgeons is a
17 break we were talking about how you stay current on your    17 society for surgeons who do minimally invasive
18 areas of expertise. You mentioned you read some             18 gastrointestinal surgery?
19 articles. Do you have any teaching positions?               19     A. Yes. And they give a good conference and have
20     A. No.                                                  20 a good journal.
21     Q. Have you ever had teaching positions?                21     Q. Looking at your publication list, are these
22     A. Only when I was a resident in fellow.                22 listed, I guess, most recent to oldest?
23     Q. So you were a clinical instructor in surgery at      23     A. Yes.
24 Temple, instructor in surgery at Oregon Health and          24     Q. I guess starting with the original papers --
25 Sciences and at VA Medical Center in Portland?              25     A. Yes.
                                                     Page 39                                                        Page 41
 1    A. Those were the only formal teaching positions I        1    Q. Okay. So you haven't published an original
 2 had, yes.                                                    2 paper since 1998?
 3    Q. Okay. Have you ever practiced in any other             3  A. That's correct.
 4 specialty other than general surgery?                        4  Q. And on the next section, Presentations and
 5     A. No.                                                5 Abstracts,  is it safe to say you haven't presented since
 6     Q. Have you ever tried to get board certified in      6 1999?
 7 any other specialty?                                      7     A. Not formally, no.
 8     A. No.                                                8     Q. And a presentation, that would be to your
 9     Q. I got a few more, kind of along the same lines     9 colleagues?
10 as the criminal questions, but I don't mean any offense. 10     A. Correct.
11 Have you ever been sued for malpractice?                 11     Q. Perhaps for a CME or something similar?
12     A. No.                                               12     A. You don't get a CME for presenting. You get a
13     Q. And I believe we asked this about your licenses   13 CME for listening. So, no.
14 or privileges, have never been suspended, revoked, or 14        Q. No, no. I'm not saying you would have gotten a
15 terminated?                                              15 CME credit but the doctors listening or your colleagues
16     A. Correct.                                          16 listening could have applied for CME credit?
17     Q. You've had privileges lapse, but that was         17     A. Correct.
18 voluntary?                                               18     Q. And, you know, there's a process for getting
19     A. Correct.                                          19 your curriculum and your talk basically approved by an
20     Q. What professional associations or affiliations    20 accrediting agency?
21 do you maintain?                                         21     A. That's right.
22     A. American College of Surgeons and SAGES.           22     Q. At least for a while in some states, you can
23     Q. And SAGES, what is that?                          23 get credit for presenting, but it's almost more work
24     A. A society of -- it's on here.                     24 than it's worth to get the credits so...
25     Q. Yes, it is.                                       25     A. The idea is that CME is to increase your

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 13 ofPage
                                                                          48 12 (42 - 45)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 18 of 180
                                                         Page 42                                                        Page 44
 1 knowledge.    If you're teaching, you're not necessarily         1    A. That is correct.
 2 increasing it, so --                                             2    Q. Okay. Starting with the most recent case,
 3     Q. You're telling people what you already know.              3 "Estate of Walter Huddleston versus Regan Bollig." What
 4     A. That's the logic, I guess.                                4 type of case was that?
 5     Q. Yes. What are the requirements for membership             5    A. (Witness examining document.)
 6 in the American College of Surgeons?                             6          I'm sorry to say, I can't remember the
 7     A. You have to be in one of the surgical                     7 specifics of that one. I can look all these up, if
 8 specialties, and board certified, and good standing              8 you'd like, after this, and get you that information.
 9 within the profession and among your peers.                      9 But at this point in time, I can't remember the
10     Q. Good standing is that a formal --                        10 specifics.
11     A. They do interviews of you and your peers.                11    Q. Well, we have here listed 1, 2, 3, 4, 5, 6,
12     Q. Okay. So I assume you have to give references            12 7 cases in which you gave testimony in a deposition,
13 and things like that?                                           13 correct?
14     A. You do.                                                  14    A. Yes.
15     Q. Have you ever applied for membership for any             15    Q. And one case in which you testified at trial?
16 other professional society organization but failed to           16    A. That's correct.
17 qualify?                                                        17    Q. And again, I'm just going by the case name,
18     A. No.                                                      18 please correct me if I'm wrong, but most of these appear
19     Q. What are the requirements for membership in the          19 to be lawsuits against medical doctors or medical
20 Society of American or -- SAGES?                                20 treatment centers, correct?
21     A. I don't know the answer to that.                         21    A. These were medical legal, yes.
22     Q. And you were admitted into SAGES in 1997?                22    Q. So is it -- is it safe for me to assume or do I
23     A. Yes.                                                     23 assume incorrectly that most of these are medical
24     Q. Is that different than -- how does that society          24 malpractice cases?
25 operate differently from the American College of                25    A. That is correct.
                                                         Page 43                                                        Page 45
 1 Surgeons and, I guess, other board certifying entities?          1     Q. Are they all medical malpractice cases?
 2     A. Both are societies that provide education and             2     A. All of these are medical malpractice cases.
 3 that's their main focus. American College tries to               3     Q. Okay. Do any of these medical malpractice
 4 provide an extra level of oversight, I guess would be a          4 cases concern gastric ulcers?
 5 best word, by doing that process of interviewing and so          5     A. No.
 6 forth, of your peers, because they grant you the status          6     Q. And correct me if I'm wrong, but I assume none
 7 of fellow in the American College if you do that. SAGES          7 of these cases concern the provision of medical care in
 8 there is no prestige as it were, for being in that               8 a corrections setting?
 9 society, where it is with the American college.                  9     A. That is correct.
10     Q. With the American College of Surgeons, have you          10     Q. Do you market yourself as an expert for
11 ever held any leadership positions?                             11 purposes of litigation?
12     A. No.                                                      12     A. In malpractice cases, yes.
13     Q. Have you ever been asked to leave?                       13     Q. How do you market yourself? Do you do that on
14     A. No.                                                      14 the Internet or other publications?
15     Q. Based on your CV and our discussions of your             15     A. There is an online directory which I pay an
16 publications and presentations, you haven't had any             16 annual fee into. That's it.
17 publications or presentations on the areas addressing           17     Q. What's the directory called?
18 the issues in this case in the past ten years?                  18     A. You asked. I thought it would be easy to look
19     A. That's correct.                                          19 up.
20     Q. All right. I'll mark this as Exhibit 3.                  20     Q. We'll follow up on that. That's fine. We'll
21        (Exhibit 3 marked for identification.)                   21 talk later about --
22     Q. BY MR. JACKSON: Exhibit 3 is a document we               22     A. I apologize for my lapse in memory there.
23 received in discovery and this -- this was your -- a            23     Q. No problem. But that's online?
24 list of cases in which you've given testimony; is that          24     A. SEAK.
25 correct?                                                        25     Q. SEAK?

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 14 ofPage
                                                                          48 13 (46 - 49)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 19 of 180
                                                        Page 46                                                        Page 48
 1     A. S-E-A-K. It just came to me.                             1     A. Total is probably around 40.
 2     Q. So like SEAK dot com?                                    2     Q. Okay. That would include these cases where
 3     A. No. S-E-A-K. And it's not an acronym for                 3 you've testified?
 4 anything, I've asked. It's just their name.                     4     A. Yes.
 5     Q. And what's your understanding of SEAK's scope            5     Q. Other than general surgery, have you ever
 6 of business?                                                    6 worked as an expert in any other area of expertise?
 7     A. They are in the business of providing                    7     A. No.
 8 physicians with courses and education on how to function        8     Q. And in this case, the only area of expertise
 9 in this capacity, providing medical expert advice and           9 that you've been retained to -- offer an opinion about,
10 they provide the directory.                                    10 is that general surgery?
11     Q. How long have you advertised yourself as an             11     A. Right. My knowledge is of general surgery.
12 expert through SEAK?                                           12     Q. I'm sorry. I have an associate in another
13     A. I believe 2018 is when I started.                       13 deposition who is calling me, but he's going to have to
14     Q. Okay. And I have on your list, Exhibit 3,               14 figure it out.
15 here. Your first case was dated in 2019 and it looks           15           And to be clear, you're not rendering an
16 like the case may have been filed in 2016. But that was        16 opinion as to reasonable medical care specific to the
17 the first time you've ever testified in the capacity as        17 corrections context, are you?
18 an expert?                                                     18     A. There were no general surgeons involved, so no.
19     A. Yes.                                                    19     Q. Okay. And you're not rendering an opinion
20     Q. Okay.                                                   20 about reasonable -- reasonableness of medical care as
21     A. Well, the first time I've ever testified as an          21 provided by nursing staff?
22 expert, yes.                                                   22     A. I'm not a nurse. No.
23     Q. Okay. Why did you phrase it that way? Is it             23     Q. Have you ever had any training with respect to
24 because you were retained as an expert before testimony        24 security staff obligations to patients in the
25 in some of these other cases?                                  25 corrections context?

                                                        Page 47                                                        Page 49
 1    A. Yes. Since 2018, I've been retained, and                  1     A. No.
 2 reviewed documentation, and had conferences, and talked         2     Q. Do you have any experience whatsoever with
 3 with attorneys. But that's the first time I've                  3 provisional medical care in the corrections context?
 4 testified.                                                      4     A. No.
 5    Q. When you have listed on Exhibit 3 "date", is              5     Q. Do you have any training --
 6 that the date of your testimony?                                6     A. Let me qualify that by saying, I have and still
 7     A. Correct.                                                 7 do treat prisoners when they're brought to me. But
 8     Q. Okay. How do you market yourself on SEAK? Or             8 that's outside the purview of the institution.
 9 what areas of expertise do you list as your area?               9     Q. Okay. So you -- let's talk about that. So
10     A. General surgery.                                        10 when you treat inmates, they're brought to you by the
11     Q. Any others?                                             11 facility that's confining them?
12     A. No.                                                     12     A. Correct.
13     Q. So this was Exhibit 3, this only encompasses            13     Q. Are you -- do you ever make calls to the jail
14 time for you have been -- where you have given                 14 or other prison setting?
15 testimony, correct?                                            15     A. I do not call them. No.
16     A. Correct.                                                16     Q. I mean, not call -- call but I guess the old
17     Q. Okay. There are other cases where you were              17 fashioned, do you go make -- do you go do examinations
18 retained but did not give testimony?                           18 in corrections facilities?
19     A. Correct.                                                19     A. No. They're brought to me.
20     Q. About how -- again here we have seven                   20     Q. Okay.
21 deposition testimonies and one trial for, I guess, eight       21     A. I have been in a correction facility when I was
22 times that you have testified in the capacity as an            22 a medical student, as Ohio State University has the
23 expert. How many other times have you been retained as         23 contract in the state to provide all care to the prison
24 either a consulting expert or in any other capacity as         24 facilities. And that's my extent of ever being in a
25 an expert for litigation?                                      25 prison, was as a medical student but not a practice.


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 15 ofPage
                                                                          48 14 (50 - 53)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 20 of 180
                                                          Page 50                                                            Page 52
 1    Q. As a medical student -- when you went as a                  1    A. No. These were inpatients so there was a wide
 2 medical student, did you in fact provide any medical              2 variety of conditions and medical problems.
 3 care?                                                             3    Q. Okay. So that wasn't just general surgery in
 4    A. Examinations.                                               4 that --
 5    Q. Examinations?                                               5    A. It was -- general surgery was part of it, but
 6    A. Nodding yes.                                                6 they were more complex problems on the inpatients and
 7    Q. What type of examinations did you provide?                  7 then on the medical side, it was dealing with medical
 8    A. I was -- it was on a general surgery rotation               8 issues.
 9 as a medical student. So we were examining these people           9    Q. Okay. But that was during your time as a
10 for hernias at that particular time.                             10 medical student?
11    Q. So that would have been -- looking at your CV,             11    A. That's way back when I was a medical student
12 sometime between 1988 and 1992?                                  12 but you asked a question if I had ever.
13    A. Correct.                                                   13      Q. Right. I'm glad you told me. That's really
14    Q. Are you able to know more specifically when it             14 interesting.   I don't know if it matters, but I think
15 would have been?                                                 15 it's interesting.
16    A. '91 to '92. It would be in the second half of              16      A. It's not a common situation at medical schools.
17 resident -- of medical school.                                   17 It just happens to be that Ohio State has a contract
18    Q. And you said you checked inmates for hernias?              18 with the state to take care of prisoners.
19    A. Yes. That was our job when we went out there.              19      Q. And I'm sure the experience was memorable for
20    Q. Anything more complicated than the turn your               20 going to a jail?
21 head and cough?                                                  21      A. It was different. Yes.
22    A. No.                                                        22      Q. I would say even as an attorney, the handful of
23    Q. And you know what I mean by that, right?                   23 times that I have been was memorable. It's different
24    A. I do.                                                      24 context.
25    Q. But you -- you went to the jail to perform                 25      A. Yes.
                                                          Page 51                                                            Page 53
 1 those services?                                                   1    Q. But suffice that to say, your not presenting
 2     A. Yes. We actually went to the jail.                         2 yourself as an expert in the provision of medical care
 3     Q. All right. Were you practicing under the                   3 to confined persons?
 4 supervision of the -- a licensed medical doctor?                  4    A. No.
 5     A. Yes.                                                       5    Q. Okay. And did any of your experiences, either
 6     Q. Okay. Were you --                                          6 going to the jail as a medical student at Ohio State or
 7     A. I will also add that Ohio State has a -- for               7 going to the secure inpatient treatment center at the
 8 lack of a better word, a jail within the hospital                 8 hospital where you -- when you were a medical student,
 9 itself. The particular -- you had to go through                   9 did any of those experience -- experiences bring to bear
10 security at the door and you went inside and that was a          10 on the opinions you've rendered in this case?
11 jail.                                                            11    A. No.
12     Q. So it was a secured location to -- within the             12    Q. We talked a little bit about your practice at
13 hospital to hold --                                              13 Surgery South. Do you have any other places of
14     A. Prisoners that were inpatients.                           14 employment other than Surgery South?
15     Q. Okay. Did you ever treat any of those                     15    A. Other than this, no.
16 patients?                                                        16    Q. And by this, you mean giving expert testimony?
17     A. Yes.                                                      17    A. Giving expert testimony. Yes.
18     Q. What treatment did you provide those that were            18    Q. You've previously been chairman on the
19 held under security at the hospital?                             19 Perioperative Governance Counsel for Henry hospital or
20     A. There were several rotations that we went                 20 Piedmont Henry Hospital, as well as the chairman for the
21 through, that -- general surgery being one of them. But          21 Department of Surgery at Piedmont Henry Hospital?
22 I believe when I was on the medical service, we also             22    A. Yes.
23 went in there to see patients as well.                           23    Q. I take it you have admission privileges at that
24     Q. Okay. Anything more complicated than checking             24 hospital?
25 for hernias or --                                                25    A. I do.

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 16 ofPage
                                                                          48 15 (54 - 57)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 21 of 180
                                                              Page 54                                                         Page 56
 1    Q. Okay. And are you still on those counsels?                      1    Q. Is it approximate or do you know that to be the
 2    A. On the two you mentioned, no. I'm no longer                     2 number?
 3 the department chair.                                                 3     A. That's approximate.
 4    Q. Okay. What about the Medical Executive                          4     Q. Okay. What percentage of those 40 cases do you
 5 Counsel?                                                              5 -- are you retained by the plaintiff?
 6    A. I'm still on the MEC, yes.                                      6     A. About 75 percent.
 7    Q. What do you do on the Medical Executive Counsel                 7     Q. And would the remaining 25 percent be for the
 8 for the Piedmont Henry Hospital?                                      8 defendant?
 9    A. The MEC is the most senior level of medical                     9     A. Correct.
10 staff administration that oversees, the medical staff                10     Q. These cases listed on your -- the cases for
11 for the hospital. For instance, the department of                    11 which you've testified on Exhibit 3, are any of these
12 surgery falls underneath the MEC and so as departmental              12 ones where you've represented the defendant?
13 chair you would be on the MEC on that. I am on the MEC               13     A. The very first one, the trial.
14 now as a counsel member, not being the department chair              14     Q. That being Angela Townsend versus Jesus Perez?
15 anymore. But they oversee every other aspect of the                  15     A. Correct.
16 medical staff within the hospital. Hospitals are                     16     Q. And were the rest for plaintiff's work?
17 divided into the hospital and administration, the                    17     A. Correct.
18 nursing care, all the services that the hospital                     18     Q. On the cases including the -- not limited to
19 provides and then the medical staff is the other half.               19 the Townsend versus Perez case, what types of cases --
20 That's made up of all the physicians and extended care               20 or what types of medical issues are you opining on for
21 providers. Because these are people who are not                      21 purposes of the defendant -- or where you have been
22 necessarily employed by the hospital. And so these two               22 retained by a defendant?
23 entities work together, hopefully symbiotically, to                  23     A. Can you ask it again?
24 provide good patient care. But because this group of                 24     Q. I'm just trying to see, is there any difference
25 individuals is not employed, beholden to the                         25 in the area of expertise for the types of issues for

                                                              Page 55                                                         Page 57
 1 administration of the hospital, you need a body in place              1 which you are retained as, you know, for plaintiff's
 2 to help regulate and maintain proper order within the                 2 side opposed to defendant's side?
 3 medical staff and how it functions within respect to the              3     A. They're all general surgery issues.
 4 hospital.                                                             4     Q. Okay. Has the court ever found you not
 5    Q. Okay.                                                           5 qualified to testify as an expert?
 6    A. That's what it's for.                                           6     A. No.
 7    Q. Are you on retainer currently for any persons                   7     Q. Have you ever had your testimony stricken?
 8 or entities?                                                          8     A. No.
 9    A. I'm on retainer for some other malpractice                      9     Q. Have you ever worked with Mr. Gardner before?
10 cases.                                                               10     A. There's one other case, I believe.
11    Q. Okay. Other than legal malpractices cases, are                 11     Q. Is that a pending case?
12 you on retainer for any --                                           12     A. I can't remember if it's still open or not.
13    A. No.                                                            13          Oftentimes, some of these cases, I give my
14           MR. GARDNER: You mean medical malpractice                  14 opinion and I never hear the end result.
15 case, correct?                                                       15     Q. Right. When did you give your opinion in that
16           MR. JACKSON: Yes.                                          16 case?
17           MR. GARDNER: Okay.                                         17     A. I don't remember.
18           MR. JACKSON: Thank you.                                    18     Q. Do you know -- well, did that case involve the
19    Q. BY MR. JACKSON: What percent of your income is                 19 provision of medical care in the corrections context?
20 derived from your work as an expert?                                 20     A. No.
21    A. About ten percent.                                             21     Q. In general terms, can you tell me what the
22    Q. And I believe you previously mentioned that                    22 issue was you were asked to opine on in that case?
23 you've either consulted or testified in approximately                23     A. I can't remember the specifics without looking
24 40 cases?                                                            24 it up.
25    A. That's correct.                                                25     Q. Do you know what court that case was filed in?

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 17 ofPage
                                                                          48 16 (58 - 61)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 22 of 180
                                                    Page 58                                                                 Page 60
 1    A. I do not.                                             1  Q. In this case have you prepared any reports
 2           MR. GARDNER: Hey Wes, it was a case we 2 other than this report?
 3 were investigating. We decided not to file the lawsuit   3     A. No.
 4 or pursue the case. We just asked him to consult on it.  4     Q. Other than the records listed 1 through 16 on
 5           MR. JACKSON: Was it in 1983?                   5 pages  1 and 2, have you reviewed any additional records
 6           MR. GARDNER: No. It was a med case.            6 pertaining to this case since this report?
 7 Well, it wasn't a case. He told us it wasn't a case.     7     A. No.
 8           MR. JACKSON: Understood.                       8     Q. When were you first contacted with respect to
 9    Q. BY MR. JACKSON: All right. Going back to 9 providing expert opinion in this case?
10 Exhibit 1, which is your report. Exhibit 1 contains     10     A. I don't remember the date, but I can look it up
11 your opinions in this case, correct?                    11 if you'd like.
12    A. Yes.                                              12     Q. Do you know an approximate year?
13    Q. Are these all the opinions you have in this       13     A. It would be a pure guess.
14 case?                                                   14     Q. How were you contacted?
15    A. Yes.                                              15     A. By phone -- or most likely by e-mail.
16    Q. And in forming these opinions, the only area of   16     Q. Who contacted you?
17 expertise you're relying on is that of a general        17     A. Either Mr. Gardner or one of his
18 surgeon?                                                18 representatives.
19    A. Correct.                                          19     Q. What was conveyed in that initial contact?
20    Q. And we've already discussed that you're not       20     A. I don't remember the specifics, unfortunately.
21 providing an opinion with respect to -- or an opinion   21     Q. Did you have any hesitation on providing expert
22 that is specific to the provision of medical care to    22 opinion in a case concerning where the legal theories
23 inmates in a jail setting?                              23 did not pertain to legal -- or medical malpractice but
24    A. That's correct.                                   24 instead are playing for violation of civil rights?
25    Q. And you're not providing an opinion on the        25           MR. GARDNER: Objection to form.
                                                    Page 59                                                                 Page 61
 1 management of correctional facilities?                      1          THE WITNESS: I wasn't asked to provide
 2     A. Correct.                                             2 that. I was asked to provide medical opinions about the
 3     Q. Do you have any opinions on the reasonableness       3 medical situation the patient personally went through
 4 of a layperson relying on a medical judgment of a nurse?    4 and I feel qualified for that. So no, it doesn't.
 5     A. Ask one more time, please.                           5    Q. BY MR. JACKSON: Okay. Have you ever discussed
 6     Q. Do you have -- are you offering any opinions of      6 with Mr. Gardner or anyone at his office the plaintiff's
 7 the reasonableness of a layperson relying on the medical    7 theories of liability?
 8 judgement of a nurse?                                       8    A. No.
 9     A. No.                                                  9    Q. Have you discussed with defense, theories of
10     Q. And I take it you reviewed -- this report is        10 liability?
11 dated December 23rd, 2022.                                 11    A. No.
12     A. Yes.                                                12    Q. Or I guess we don't really have theories of
13     Q. When did you last review it?                        13 liability. Defense theories of the case or strategies
14     A. Last night.                                         14 for the case?
15     Q. Is the report still valid?                          15    A. No.
16     A. Yes. Other than I noticed a typo or two.            16    Q. Have you ever discussed with Mr. Gardner or
17     Q. Okay. I have typos in everything I write, so.       17 anyone from his firm the value of the case?
18 In reviewing it last night, did you see anything that      18    A. No.
19 you thought needed to be changed, other than the typos,    19    Q. What's your understanding of the assignment
20 anything that needed to be changed, deleted, or added to   20 that Mr. Gardner had for you in this case?
21 the report?                                                21    A. To provide an explanation for the disease
22     A. No.                                                 22 processes that this patient -- this individual
23     Q. Have you ever prepared any supplemental reports     23 experienced, was going through, as well as what standard
24 to this report?                                            24 medical and surgical care would be.
25     A. No.                                                 25    Q. This is where I want to be clear, when you're

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 18 ofPage
                                                                          48 17 (62 - 65)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 23 of 180
                                                       Page 62                                                     Page 64
 1 talking about what standard of medical care, again,           1 medical history?
 2 you're not talking about the standard of care for             2 A. No. The people who were reading his records.
 3 medical provision within the context of a correctional        3 Q. And who would have those people been?
 4 facility?                                                 4     A. I don't have an opinion of that because I don't
 5     A. No, I'm not.                                       5 know.
 6     Q. You're talking generally if a patient were to      6     Q. So when you say Mr. Wingo suffered a
 7 present with these symptoms for say, at your office or    7 perforation of a known peptic ulcer, the basis for you
 8 at another clinic, what would be typical?                 8 saying that it was known is that it was -- the peptic
 9     A. These patients don't present at the office or      9 ulcer was noted in his medical history?
10 the clinic. They present at the ER, but yes.             10     A. Correct.
11     Q. That's fair. But your opinion, my                 11     Q. And do you know, if in fact, anyone at the jail
12 understanding is also to talk about what Mr. Gardner --  12 had knowledge of that medical history as noted in the --
13 Mr. Wingo experienced with his ulcer. Just in terms of   13     A. Somebody had knowledge because someone put it
14 the biological occurrence of that rupturing and what was 14 in the records.
15 going on internally, correct?                            15     Q. Right. I'm asking -- let me ask it this way:
16     A. I'm -- I'm going to give my opinion on that.      16 Do you have any knowledge of whether the nonmedical
17 Yes.                                                     17 personnel, those being the security officers, had
18     Q. Okay. All right. And were you able to reach       18 knowledge of the medical history noting that Mr. Wingo
19 the opinions that you were asked -- were you able to     19 had a peptic ulcer?
20 reach an opinion on the subjects you were asked to opine 20     A. That, I don't know.
21 on?                                                      21     Q. Okay. And you're not rendering an opinion, one
22     A. Yes.                                              22 way or another, whether in fact they did know he had a
23     Q. When were you first -- when did you first learn   23 peptic ulcer?
24 that you would be giving testimony in this case as       24     A. No, I'm not.
25 opposed to merely consulting?                            25     Q. What materials and information were provided to
                                                       Page 63                                                     Page 65
 1    A. A month or two ago. I'd have to look at my              1 you by counsel to help you form that opinion?
 2 records to find exactly when that was.                        2A. The ones listed in the report.
 3     Q. Well, you gave your report December 23rd?              3Q. On pages 1 and 2, numbers 1 through 16?
 4     A. Yes.                                               4    A. Correct.
 5     Q. When you prepared your report, did you expect      5    Q. Other than these items, were you given any
 6 to be testifying?                                         6 other information about Mr. Wingo's condition or the
 7     A. Not having done this more than four years, I       7 events that took place at issue in this case on
 8 didn't know.                                              8 September of -- late September of 2019?
 9     Q. Okay. What are your opinions with respect to       9    A. No.
10 this case?                                               10    Q. When were you provided these documents listed 1
11     A. That Mr. Wingo suffered a perforation of a        11 through 16?
12 known peptic ulcer and subsequently died.                12    A. Not long after I agreed to review the records
13     Q. When you say he suffered the perforation of a     13 and I don't remember exactly when that was.
14 known peptic ulcer; what do you mean when you say it was 14    Q. You have listed a video and audio files of
15 known?                                                   15 interviews as number one. And video and audio files
16     A. Yes. He had a medical history of peptic ulcer     16 with Cobb County officers and maids and infirmary
17 disease.                                                 17 nurses. With respect to the Cobb County officers were
18     Q. More specifically, known to who?                  18 those interviews -- interviews taken at the jail or do
19     A. Known to the people who were taking care of him   19 you know if those were interviews like what we're doing
20 at the time. It's in their records. It's documented.     20 right now, a deposition?
21     Q. And who were the people taking care of him at     21    A. I don't know the location where they were held
22 the time?                                                22 and I'm not sure the format either.
23     A. The people in the prison.                         23    Q. Okay.
24     Q. Is it your opinion that all the people in the     24          MR. GARDNER: It's identified in our
25 Cobb County Adult Detention Center knew of Mr. Wingo's 25 disclosure.


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 19 ofPage
                                                                          48 18 (66 - 69)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 24 of 180
                                                        Page 66                                                        Page 68
 1           MR. JACKSON: Right.                                   1 these 16 items?
 2           MR. GARDNER: The more specific.                       2    A. I did at the time, but I don't keep those.
 3           MR. JACKSON: The more specific.                       3    Q. Why don't you keep those?
 4           MR. GARDNER: Yes.                                     4    A. I didn't feel them germane as I write my
 5           MR. JACKSON: Right. I'm just asking if                5 report, I x'd them off as this is the point I wanted to
 6 he's reviewed the deposition video or audio.                    6 make or this is the information that I needed.
 7     Q. BY MR. JACKSON: Okay. Just describe for me,              7    Q. How did you destroy them?
 8 generally, how you used these items to help form your           8    A. Put them in the trash. There's no identifying
 9 opinion?                                                        9 information on them.
10     A. I had to sift through all that information to           10    Q. And when did you destroy those records?
11 try to find out what his medical conditions were and how       11    A. Before I finished my report.
12 he was physically behaving and acting to come to form my       12    Q. Has anyone else ever reviewed the notes that
13 complete -- my opinion.                                        13 were destroyed?
14     Q. Were there any materials that you would have            14    A. No.
15 wanted to review that were not provided to you?                15    Q. Have you had any correspondence with counsel
16     A. I don't know what other videos are out there,           16 with respect to the drafting of this report?
17 so I can't say.                                                17    A. I believe we communicated via e-mail.
18     Q. Would you have liked to have seen any medical           18    Q. Did you ever give him a -- your initial
19 records that Mr. Wingo had predating his time at the           19 impressions or anything of that nature before you issued
20 Cobb County Adult Detention Center?                            20 your report?
21     A. Unless it's different from the past medical             21           MR. GARDNER: I'm just going to object to
22 history that's already in place, that wouldn't have            22 the extent that Federal Rules of Civil Procedure 26B4C
23 helped me.                                                     23 don't allow for communications between the expert and
24     Q. The only medical records I see listed for Mr.           24 the attorney whether oral, written, or electronic to be
25 -- no. Never mind. Were there any records that you             25 discoverable.

                                                        Page 67                                                        Page 69
 1 asked to review and you were either told that they              1          MR. JACKSON: Okay.
 2 weren't available or they didn't exist?                         2    Q. BY MR. JACKSON: Were you requested to make any
 3     A. No.                                                      3 changes with respect to this report?
 4     Q. Have you obtained or reviewed any materials or           4    A. No.
 5 information from any other source?                              5    Q. Are there any -- have you prepared any other
 6     A. No.                                                      6 materials or information with respect to this case other
 7     Q. Have you done any independent research on this           7 than this report?
 8 incident, perhaps on the Internet or anything else?             8    A. No.
 9     A. No.                                                      9    Q. So --
10     Q. Have you supplied any information or materials          10    A. Ask one more time again.
11 to counsel other than your written report?                     11    Q. I was asking if you had prepared any other
12     A. No.                                                     12 materials or information?
13     Q. Is there anything in your report that you               13    A. I have not prepared, no.
14 thought was relevant to your opinions, but which you           14    Q. Okay. Have you participated in preparation of
15 excluded from your report?                                     15 any other materials?
16     A. No.                                                     16    A. I was shown a graph and pictures --
17     Q. Are there any drafts, prior drafts of this              17    Q. Okay.
18 report?                                                        18    A. -- that Mr. Gardner had created.
19     A. No.                                                     19    Q. And when was that?
20     Q. Did you take any notes in the preparation of            20    A. Months ago. I can't remember the date.
21 this report?                                                   21    Q. And why were you shown a graph and pictures?
22     A. The notes I did take as I was going through --          22    A. You had questions as to whether or not this was
23 those are not memos somewhere. They were all                   23 an accurate portrayal of what it would look like from a
24 handwritten stuff.                                             24 perforated ulcer.
25     Q. You had handwritten notes from your review of           25    Q. Was that portrayal accurate?

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 20 ofPage
                                                                          48 19 (70 - 73)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 25 of 180
                                                         Page 70                                                       Page 72
 1     A. Yes.                                                      1
                                                                   Q. Did you ever have any discussions with other
 2     Q. Other than the picture you were shown, have you    2 experts with respect to that documentary?
 3 participated in the production of any other -- and other  3     A. No.
 4 than your report, any other materials or documents with   4     Q. Did you ever have any discussions with other
 5 respect to this incident?                                 5 experts with respect to this case?
 6     A. For this, no.                                      6     A. No.
 7     Q. Are you aware that there's a documentary on        7     Q. How long did the interview take in which you
 8 this incident in which you've provided opinions?          8 were interviewed for purposes of that video?
 9     A. Yes. Someone did interview me.                     9     A. Thirty, forty minutes, I would think.
10     Q. Okay. Who interviewed you for the documentary? 10        Q. All right. I kind of need a break.
11     A. I don't know their names.                         11           MR. GARDNER: You do?
12     Q. How did you go about producing that video?        12     Q. BY MR. JACKSON: Is that okay?
13     A. They did it through Zoom.                         13     A. Sure.
14     Q. Was Mr. Gardner involved in the production of     14              (Off the record.)
15 that video?                                              15     Q. BY MR. JACKSON: How did you go about -- or
16     A. Not to my knowledge.                              16 tell me about the process you took to review the
17     Q. Who asked you to participate in the production    17 documents and form your opinions in this matter.
18 of the video?                                            18     A. The process?
19           MR. GARDNER: I'm going to object. It's         19     Q. Well, let me ask you this way: You obviously
20 our position that any interview he had in respect to     20 had materials to review. Was this the case where you
21 that settlement video are privileged communications      21 reviewed materials and knew instantly what your opinions
22 under Rule 26B4C. And that it does not involve his       22 would be or did you consult other sources, or think
23 compensation, facts, or data considered or the things    23 about it, or do any research to help you develop your
24 relied upon to form his opinion today. That being the    24 opinions based on the facts in the record you were
25 extent, we object as it's privileged.                    25 provided?

                                                         Page 71                                                       Page 73
 1          MR. JACKSON: Well, for the record, it's a               1     A. No, I didn't consult other sources.
 2 video that's in the public domain in which Mr. Myers             2     Q. Okay. And by consult other sources, I'm not
 3 offers his opinions -- Dr. Myers, so I'm going to                3 talking about asking a colleague down the hall what they
 4 continue to ask.                                                 4 think. I'm saying, did you review any, for instance,
 5           MR. GARDNER: We'll continue to object.                 5 medical journal articles?
 6     Q. BY MR. JACKSON: Who asked you to participate              6     A. No.
 7 in that video?                                                   7     Q. So would it be fair to say, your process for
 8     A. I believe someone from Mr. Gardner's office               8 drafting this opinion and forming them was, reviewing
 9 mentioned it to me, if it was okay if they would contact         9 the records provided and then just drafting this report
10 me.                                                             10 that is Exhibit 1?
11     Q. Were you given the questions in advance?                 11     A. Correct.
12     A. No.                                                      12     Q. How long did you spend reviewing the records
13     Q. Did you know the subject matter on which you             13 and preparing your report?
14 would be discussing before your statements were                 14     A. To this point in time, prior to the deposition,
15 recorded?                                                       15 I think it was 26 hours.
16     A. I just knew that they wanted to ask me about             16     Q. And that's the total amount of time you have
17 medical care.                                                   17 spent, I guess, that includes in preparation for today's
18     Q. Were you given a copy or were you allowed to             18 deposition?
19 review the documentary after it was complete?                   19     A. That does not include today's deposition.
20     A. I wasn't even aware it was done.                         20     Q. Okay. So it doesn't -- what's your method for
21     Q. Have you ever watched the documentary?                   21 tracking your work hours?
22     A. No. I'm -- I wasn't aware until this very                22     A. I have a little Excel spreadsheet, and when I
23 moment that it was done.                                        23 start to sit down to start reviewing, I put the time in
24     Q. Well, it's on YouTube. You should go watch it.           24 there, and when I'm done reviewing, I put the end time.
25     A. I will.                                                  25 And then I end up with the minutes.


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 21 ofPage
                                                                          48 20 (74 - 77)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 26 of 180
                                                        Page 74                                                           Page 76
 1    Q. Did you -- do you have a specific time sheet              1 approximately $13,000, have you invoiced any other
 2 for this case?                                                  2 amount of money to counsel for work on this matter?
 3    A. Yes. I invoice periodically to the attorneys              3     A. No. That's it.
 4 when that time comes.                                           4     Q. What's your rate for deposition -- I'm sorry.
 5    Q. Okay.                                                     5 What is your rate for testimony at trial?
 6    A. I send them a copy of that.                               6     A. 7,500 per day, 2,000 extra if it's overnight.
 7    Q. Do your invoices just -- are they itemized or             7     Q. Do you invoice for any particular costs?
 8 are they listed as a general amount of time?                    8     A. That's all. That's inclusive. I try to keep
 9    A. They got the date and how much time and kind of           9 it simple.
10 what I did, if I was reviewing documents or whatever and       10     Q. So that wouldn't include travel time, mileage?
11 then the amount of time --                                     11     A. That's included in that.
12    Q. Okay.                                                    12     Q. That's it?
13    A. -- I spent on that day doing that.                       13     A. Yes.
14          MR. JACKSON: Timothy, were those                      14     Q. Okay.
15 previously produced?                                           15           MR. GARDNER: I'm about to print those
16          MR. GARDNER: I'm not sure. I'm not sure.              16 invoices out for you now.
17 I'm not sure they were requested, but I don't know. But        17           MR. JACKSON: Okay. Thank you.
18 he just described it for you, right?                           18     Q. BY MR. JACKSON: And I know I may have asked
19          MR. JACKSON: Right. Well, I guess what                19 this in another way but just to be clear on it, other
20 I'm asking is you had indicated that everything in our         20 than reviewing these materials listed in your -- pages 1
21 subpoena was already previously produced.                      21 and 2 of your report, did you do any other work or
22          MR. GARDNER: Yes. I'm not sure about the              22 obtain any other information before reaching your
23 invoices.                                                      23 conclusions?
24    Q. BY MR. JACKSON: How many invoices have you               24     A. No.
25 submitted in this case?                                        25     Q. Were there any restrictions or limitations
                                                        Page 75                                                           Page 77
 1    A. I don't know the exact number.                            1 placed on you with respect to the work you performed?
 2    Q. What is your hourly rate for this case?                   2    A. No.
 3    A. It's roughly five hundred an hour.                        3    Q. Would there be any investigation testing or
 4    Q. You said roughly five hundred?                            4 other work you would like to perform in this case?
 5    A. Roughly.                                                  5    A. No.
 6    Q. Does that fluctuate depending on the task or?             6    Q. Unless you're called to testify again, is there
 7    A. Correct. Deposition is 650.                               7 any work you intend to do -- additional work you intend
 8    Q. Other than the deposition, what was the hourly            8 to do in this case?
 9 rate or rates that you employ --                                9    A. I don't intend to do any more now unless Dr. --
10    A. 500 an hour.                                             10 Mr. Gardner asks.
11    Q. So the only rate you employed for preparation            11           MR. GARDNER: I like doctor.
12 of your opinion was $500 an hour?                              12    Q. BY MR. JACKSON: So having reviewed this case
13    A. Correct.                                                 13 and reached your conclusions, is there anything you can
14    Q. Excluding today, is it fair to say you've thus           14 think of that would be beneficial to either test or
15 invoiced roughly $13,000?                                      15 corroborate your conclusions?
16    A. Minus today, correct.                                    16    A. No.
17    Q. In addition to the $13,000, is there any other           17    Q. Why is that?
18 minimum or retainer that you collect before you begin          18    A. He's already gone. There's nothing that has
19 work?                                                          19 not already been done. He's had the autopsy.
20    A. Yes.                                                     20    Q. Right. And you've read the autopsy report,
21    Q. What is that?                                            21 correct?
22    A. 3,000.                                                   22    A. Yes.
23    Q. And that goes towards the 13?                            23    Q. Would it have been beneficial to you to have
24    A. Correct.                                                 24 examined Mr. Wingo -- and I know you weren't retained to
25    Q. For this case other than the 13,000 or                   25 do so until well after the time to do so would have


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 22 ofPage
                                                                          48 21 (78 - 81)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 27 of 180
                                                       Page 78                                                         Page 80
 1 passed. But in a hypothetical world, would you have            1 to the hospital either by ambulance or by a friend or a
 2 been able to refine your opinions had you been able to         2 family member.
 3 examine the body?                                              3     A. Right.
 4    A. After he's passed?                                       4     Q. At the ER, there's a workup begun which would
 5    Q. Yes.                                                     5 typically lead to an X-ray. And if the X-ray, you know,
 6    A. No.                                                      6 sort of evaluating the X-ray indicating there was free
 7    Q. Why is that?                                             7 air, that would indicate a perforated bowel.
 8    A. The period in which I can provide benefit is             8     A. (Nodding yes.)
 9 when he's still alive, not after he's passed.                  9     Q. And you would call a general surgeon.
10    Q. Right. But you weren't retained to provide              10     A. (Nodding yes.)
11 benefit --                                                    11     Q. At that point what, does the general surgeon
12    A. No.                                                     12 do?
13    Q. You were retained to opine on what happened?            13     A. They respond. Come see the patient, do a quick
14    A. Right.                                                  14 physical, take a quick history, review the workup to
15    Q. Let me just ask it this way: Do you -- do you           15 that point. Typically, no further workup is needed and
16 have any experience in forensic examinations?                 16 the surgeon then mobilizes the OR to take the patient to
17    A. No.                                                     17 the OR for emergency surgery. It's all done very
18    Q. So you would -- you would agree with me that            18 expeditiously.
19 you would defer to the judgment of the medical examiner?      19     Q. Okay. So I'm just trying to time some of this
20    A. I would.                                                20 out. Driving to the hospital that varies patient to
21    Q. On page 3, you have a section entitled,                 21 patient, depends on where they are, right?
22 Surgical Management of Perforated Gastric Ulcers. And         22     A. Yes.
23 you begin in the operating room -- it says,"once in the       23     Q. Once you get to the ER, how long is that, the
24 operating room." Tell me everything that happens              24 typical scenario, does that initial workup take?
25 between the perforation of an ulcer and getting up to         25           MR. GARDNER: Object to form.
                                                       Page 79                                                         Page 81
 1 that point where you are in the operating room.   For the      1     THE WITNESS: I can only give my general
 2 typical patient?                                               2 impression as a surgeon from my experience.  I'm not an
 3    A. Well, obviously I can't tell you everything.       3 emergency room physician. But in my experience, as a
 4 But the typical scenario is, someone has a sudden onset  4 general surgeon, the patient is brought in via
 5 of abdominal pain that is severe in nature. As I         5 ambulance. There's no waiting in the waiting area.
 6 pointed out before, it's so sudden, so abrupt, most      6 They're put immediately into a room. Usually these
 7 people will be able to tell you what time it happened,   7 patients are in extreme pain and often times have vital
 8 down to the minute.                                      8 signs that are showing signs of sepsis. That prompts
 9          This is pain that is so severe that they        9 the emergency room staff to move things along faster.
10 will often have someone drive them to the hospital,     10           So my general impression is probably within
11 usually an ambulance. Upon presentation to the ER,      11 an hour, they'll have an answer. From the moment they
12 workup is begun by the emergency room staff and         12 walk through the door. It can be faster, it could be
13 physicians. And that can be very brief, as a simple     13 slower.
14 chest X-ray showing free air where that scenario tells  14      Q. BY MR. JACKSON: And what different
15 us already we have a perforated bowel. And that's when 15 circumstances would affect how fast or slow it went?
16 the general surgery is called to come see the patient.  16           MR. GARDNER: Object to form.
17 At which point then, an assessment is made,             17           THE WITNESS: Some patients are not as --
18 determination if the patient needs surgery and we go to 18 it's not as clinically obvious that they are that sick.
19 the operating room and operate. If you want, I can      19 Some patients are not as cooperative. Sometimes there's
20 break that down further.                                20 issues with consent. Sometimes there are issues getting
21    Q. Yes. We'll go through those. This is very         21 the X-rays you want and as fast as you want. The techs
22 basic sketched out?                                     22 are doing something else and another patient is having
23    A. (Nodding yes.)                                    23 an emergency. A lot of variables are involved.
24    Q. But the stages I have -- or from my               24      Q. BY MR. JACKSON: And those variables would
25 understanding is the ulcer perforates. They're driven   25 include tech availability. Availability of a room?


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Brian S. Myers, M.D., F.A.C.S.                                                3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 23 ofPage
                                                                          48 22 (82 - 85)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 28 of 180
                                                            Page 82                                                             Page 84
 1    A. Rooms are going to be available because someone               1    Q. So tell me how long does your exam -- physical
 2 is coming in by ambulance. What will happen is EMS will             2 exam, review of the work done, at that point, and review
 3 call ahead, we are bringing a patient in. And that ER               3 of the patient's history take?
 4 is not on diversion, meaning that they are telling you              4     A. Couple minutes.
 5 that the ER is full. There are no beds which means the              5     Q. Okay. Typically how long does it take you to
 6 ambulance will divert to the closest hospital where                 6 -- once you are summoned to see a patient to make the
 7 there is an open bed because this patient has to go. It             7 determination on whether or not you're going to perform
 8 can't go to a waiting area. He has to go right from the             8 a surgery on them?
 9 ambulance to a room because we have to start the workup             9            MR. GARDNER: Objection. Speculation.
10 immediately.                                                       10            THE WITNESS: With that scenario, my
11    Q. All right. Well, then I guess going back.                    11 ability to decide on surgery is a couple of minutes.
12 Before arriving at a hospital, there's one variable that           12     Q. BY MR. JACKSON: Okay. And then earlier you
13 could affect the time between the onset of the                     13 said this can be done within an hour, to --
14 perforation and getting on the table for operation. It             14     A. That's the emergency room workup.
15 would be whether or not the nearest hospital has                   15     Q. Okay.
16 available beds, right?                                             16     A. Not mine.
17    A. (Nodding yes.)                                               17     Q. But then your workup is just a couple of
18           MR. GARDNER: Object to speculation.                      18 minutes?
19    Q. BY MR. JACKSON: And then once they're at the                 19     A. A couple of minutes. That's all I need.
20 ER, one -- another variable would be whether or not                20     Q. And then once you have made the determination
21 there's a tech available to perform an X-ray?                      21 to perform surgery, how long is it before you've
22    A. Resources. You got to make sure all the                      22 actually -- before you actually do an incision and do
23 resources are available.                                           23 the surgery?
24    Q. Okay.                                                        24     A. The goal is right to the OR immediately. In
25    A. Sometimes it depends -- today's environment,                 25 reality, it's probably going to take you probably

                                                            Page 83                                                             Page 85
 1 we're stretched. But we prioritize based upon how sick              1 20 minutes or more.
 2 someone is. Someone in this scenario with a perforated              2    Q. Okay. You would agree with me that, again,
 3 ulcer, is very sick, so they get high priority.                     3 this is not in every case. There's various variables
 4     Q. So after you get your general surgeon -- well,               4 that would affect, you know, how long this whole process
 5 let me ask you, have you ever personally in the ER --               5 takes, correct?
 6 been in an ER where someone was brought in and you were             6    A. That's correct.
 7 asked to -- after you had the X-ray -- do that further              7    Q. Okay. But you've suggested, at least in a
 8 inspection before you take them into surgery?                       8 typical case, within an hour and twenty minutes you're
 9     A. I'm always going to inspect the patient before               9 under the knife?
10 I take them to surgery.                                            10    A. Yes.
11     Q. Of course. Of course. But I'm saying in this                11    Q. From getting to the hospital to getting the
12 particular context in an emergency room?                           12 surgery?
13     A. I'm not understanding your question.                        13    A. Yes. Although an ER physician might be able to
14     Q. Okay.                                                       14 opine more on how more common time frame is from through
15     A. I'm sorry.                                                  15 the doors to surgeon consult.
16     Q. I'm just trying to ask, you gave me these                   16    Q. Okay.
17 processes and one of them involved, you know, after the            17    A. That's just my general impression.
18 X-ray if there's indication of free air that would be --           18    Q. Have you ever -- do you have admitting
19 that would indicate that you had a perforated bowel                19 privileges at any WellStar facility?
20 that's when the general surgeon is called?                         20    A. I do not.
21     A. Yes.                                                        21    Q. Okay. And Mr. Wingo in this case was taken to
22     Q. And my understanding, you have experience being             22 WellStar Kennestone in Cobb County, correct?
23 that general surgeon that is being called in at that               23    A. Yes.
24 point, right?                                                      24    Q. Have you ever been to WellStar Kennestone?
25     A. Correct.                                                    25    A. Yes.

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 24 ofPage
                                                                          48 23 (86 - 89)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 29 of 180
                                                             Page 86                                                              Page 88
 1    Q. Have you ever treated individuals with                         1    A. That's dependent upon the individuals other
 2 perforated ulcer at WellStar Kennestone?                             2 comorbidities and their physiological response. But all
 3     A. No.                                                           3 comers in someone, like Mr. Wingo, who is otherwise
 4     Q. The process we just described of arriving in                  4 healthy he's got about a 90 percent mortality rate at
 5 ambulance and everything that has to take place before               5 that point. So 90 percent chance he's going to survive
 6 the general surgeon does the operation, have you ever --             6 if he get's proper care.
 7 personally have you ever done that process at Kennestone             7     Q. So that would be a ten percent mortality rate?
 8 WellStar?                                                            8     A. Yes. At that point. In his scenario as
 9     A. No.                                                           9 opposed to someone who is 80 who has COPD, conditional
10     Q. And if there were any -- you would agree with                10 heart failure, diabetes. They're going to start with a
11 me if there were any variables that were specific to the            11 higher percentage. But someone who's otherwise healthy,
12 Kennestone WellStar hospital that might shorten or                  12 it can be around ten percent at that point in time and
13 lengthen this general time frame; you wouldn't have any             13 then that number will grow.
14 knowledge or experience of those?                                   14     Q. You had mentioned earlier -- and I think you
15     A. I would not have any knowledge of those, no.                 15 mentioned in your report -- that cocaine use is at least
16     Q. All right. This isn't a medical term but when                16 a contributing cause or possible cause for gastric
17 is a patient out of the woods. Is it after you do your              17 ulcers. Would cocaine use have impacted the mortality
18 surgery or during -- the point during the surgery or                18 likelihood for any particular patient?
19 some point after surgery?                                           19     A. I don't believe so.
20           MR. GARDNER: Object to form.                              20     Q. Do you know if any academic literature speaks
21           THE WITNESS: That's really variable                       21 to the effect of cocaine use on mortality for perforated
22 because it depends on what point in the process I got               22 gastric ulcers?
23 ahold of the patient. Every hour that delays from the               23     A. I am not.
24 time of the perforation to the time I can get that hole             24     Q. Going back to the study that you are drawing on
25 sealed increases their morbidity and mortality and will             25 memory, stating that mortality goes up 2.5 percent every

                                                             Page 87                                                              Page 89
 1 increase they're length of stay. So out of the woods,                1 hour without treatment, do you know what journal that
 2 if that's implying when are they out of risk of dying,               2 might have been published in?
 3 it's gonna be usually about -- I'll know within a                    3     A. Unfortunately, I don't.
 4 couple of days, after the surgery.                                   4     Q. Do you know anything about the patient class
 5    Q. BY MR. JACKSON: Okay. So you mention every                     5 that was studied in that article?
 6 hour after perforation, the mortality rate is going up?              6     A. No. That's actually the only piece of
 7     A. Yes.                                                          7 information in that article I remember.
 8     Q. Are you aware of or do you know of any academic               8     Q. Do you have a copy of that article?
 9 literature that would put a time frame or a scale on the             9     A. No.
10 mortality in terms of hours or time post-perforation?               10     Q. Were you relying on that article or your
11     A. You're going to ask me to quote the document                 11 recollection of it when you formed your opinions in this
12 but I have a memory of a document that said around                  12 case?
13 2.5 percent for every hour, it goes up.                             13     A. No, I was not.
14     Q. So it goes up 2.5 percent every hour?                        14     Q. On page 4 of your opinion, you write, "if the
15     A. Every hour. And I don't remember that article.               15 gastric perforation is repaired before the physiological
16 I don't remember which one it was. This is just from my             16 response to the spilled gastric contents is too severe
17 memory.                                                             17 then the post-operative recovery is typically uneventful
18     Q. Was that an article that you read or consulted               18 and a person is sent home in five to seven days." What
19 in preparation of your report?                                      19 is too severe?
20     A. No. It's just in my memory.                                  20     A. That's a spectrum, I've had patients who felt a
21     Q. Do you know when you read that article?                      21 very severe response within hours after perforation.
22     A. No, I don't.                                                 22 I've had patients I've seen who have gone 12 or more
23     Q. So what would -- based on that baseline, what                23 hours without a severe reaction. But in this context, I
24 was the mortality percentage at the -- at T0, moment of             24 believe the best way to describe it would be in relation
25 perforation?                                                        25 to the vital signs. Once their blood pressure drops to


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 25 ofPage
                                                                          48 24 (90 - 93)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 30 of 180
                                                      Page 90                                                            Page 92
 1 the point where they are no longer able to profuse their      1    A. I didn't see any vital signs in there to base
 2 tissues, that is a severe reaction. That is septic            2 that on.
 3 shock. At that point, their mortality goes way up.            3    Q. Right. And on page 4, the last paragraph, "he
 4     Q. Okay. You said some words I didn't understand          4 was returned to the infirmary and placed in room eight.
 5 --                                                            5 There was one set of vital signs documented at
 6     A. Sorry.                                                 6 12:36 a.m. on September 29th, 2019 which were
 7     Q. So once their blood pressure drops to which            7 unremarkable."
 8 point?                                                        8            So are those the vital signs you're
 9     A. To where they can't profuse tissues. That's            9 referring to?
10 septic shock.                                                10    A. Yes. The one -- I say, "while the blood
11     Q. Profuse tissues, what does that mean?                 11 pressure at 12:36 was in the low normal range.    It was
12     A. Your pressure is so low you don't have enough         12 significantly lower than the baseline pressure he had
13 pressure to get your blood out to the tissues that you       13 demonstrated prior to his time in the CCADC.     And his
14 want to profuse.                                             14 heart rate was elevated compared to his baseline, as
15     Q. And profuse means just get blood out to a part        15 well, as documented in the previous records -- vital
16 of the body?                                                 16 sign records."   And I don't remember seeing any vital
17     A. Yes. There is blood profusing through my              17 signs after that --
18 fingertips right now. My heart is able to generate           18    Q. Okay.
19 enough pressure to get out through those capillaries and     19    A. -- documented.
20 back.                                                        20    Q. And without those vital signs you -- you're
21     Q. Okay.                                                 21 unable to say when he went septic?
22     A. As my pressure drops, blood can't quite reach         22    A. I am unable to say when he went in shock.
23 there and it's further and further and that happens on       23    Q. Okay.
24 the inside as well. That's why people who get                24    A. I only have observation of his behavior that
25 hypotensive drop their blood pressure, they faint,           25 would suggest that.

                                                      Page 91                                                            Page 93
 1 they're not getting their brain profused.                     1 Q. Did you observe any behavior to suggest that he
 2    Q. Okay. And you said if someone gets to that          2 was in shock?
 3 point where they're in septic shock, they're mortality    3     A. He appeared to be showing signs of confusion.
 4 goes up.                                                  4 Probably orthostatic hypotension meaning his pressure
 5    A. Obviously, it goes up.                              5 was dropping when he stood up, which again a sign that
 6    Q. Are you able to but a percentage on it?             6 you're not profusing your tissues well enough. So that
 7    A. I couldn't give you a number, unfortunately.        7 when you stand up your blood pressure drops. Usually
 8    Q. Were you able to determine -- and you might         8 your heart can keep up and keep pumping up to the brain.
 9 have this in here, I don't know -- were you able to       9 But if you stand up and the pressure drops and it can't
10 determine, from your review of the records, when or if   10 keep up, that's when you get dizzy, you fall and you
11 Mr. Wingo got -- or was suffering toxic shock -- or not  11 faint. And there was signs of him doing that in the
12 toxic -- septic shock?                                   12 infirmary down there. He was showing signs of fainting.
13    A. Septic shock.                                      13     Q. So the fainting in the infirmary -- is it your
14    Q. Yes.                                               14 opinion that that could be a possible indicator that he
15    A. There are a lot of signs, but without vital        15 was in shock at that point?
16 signs it's hard to say.                                  16          MR. GARDNER: Object to form.
17    Q. Okay. Based on your review of the record, when     17          THE WITNESS: Yes. I believe based upon
18 was the last his vitals were taken before he went, what  18 those symptoms he was going into shock at that point.
19 we call, code blue?                                      19 Yes.
20    A. It's not in my report, I can't remember,           20     Q. BY MR. JACKSON: Going back to the article you
21 independently, exactly when that was. But if my memory   21 were discussing where mortality increased by 2.5 percent
22 serves me, someone made a remark about his vital signs   22 an hour after perforation. Does that rate change once
23 being normal sometime when he was down in the infirmary. 23 the patient is in shock?
24 When exactly that was, I don't remember.                 24     A. I don't remember if that article stipulated
25    Q. Okay. So he was sent to the infirmary --           25 that or not. I just remember that number each hour. My


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 26 ofPage
                                                                          48 25 (94 - 97)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 31 of 180
                                                         Page 94                                                              Page 96
 1 personal experience is that the sicker you are -- I              1 the low normal range it was significantly lower than the
 2 don't -- I don't have data to say specifically, but my           2 baseline blood pressure he demonstrated prior to this
 3 general impression from my experience is, as you get             3 time in the CCADC." Do you recall what his baseline
 4 sicker that rate goes up more exponentially than it does         4 blood pressure was?
 5 linearly.                                                        5    A. I do not, at this time.
 6    Q. So to be clear, is there any peer reviewed                 6    Q. What, in your opinion, did that indicate that
 7 academic literature that you're aware of that would --           7 his blood pressure was lower than his baseline?
 8 that would quantify mortality of a perforated ulcer              8    A. Yes. All the normals that we quote are
 9 after -- well, what's the full term -- shock --                  9 basically over a population. So, you know, we are
10     A. After septic shock.                                      10 dealing with an individual here and his individual norm
11     Q. -- after septic shock had begun?                         11 may be higher than, say, what your norm or my norm would
12     A. Not that I'm aware of. No.                               12 be. So they have -- we have vital signs from when he
13     Q. But you're saying in your experience it                  13 was not ill. That's probably his baseline. That's
14 increases -- I think the word you used was exponentially        14 where he lives. His body is used to a certain pressure.
15 rather than linearly.                                           15 So while pressure is taken at 12:36, we're still within
16     A. Right.                                                   16 the population norm. The amount that they were lower
17     Q. Meaning that the longer you wait, the faster             17 than what he came in with suggests that for him, that
18 your mortality goes up?                                         18 was low.
19          MR. GARDNER: Object to form.                           19    Q. Okay. And if you had seen that -- if you had
20          THE WITNESS: That would be an accurate                 20 been the one to take those vitals, what conclusions
21 statement, I believe.                                           21 would you have drawn about him at that time?
22     Q. BY MR. JACKSON: Inaccurate or accurate?                  22          MR. GARDNER: Objection. Speculation.
23     A. Accurate.                                                23          THE WITNESS: Well , as a surgeon, I don't
24     Q. Okay. But again, there's -- you have no way to           24 make any decisions based upon, purely vital signs alone.
25 say with any degree of medical certainty what his               25    Q. BY MR. JACKSON: Right.
                                                         Page 95                                                              Page 97
 1 mortality would have been say at the point of -- at the          1    A. It's coupled with history and physical. So if
 2 onset of septic shock or an hour after or two hours              2 I have the history and physical that I would expect that
 3 after or three hours after?                                      3 I would have at that point, he would be going right to
 4    A. No. I cannot say that.                                     4 the OR right then.
 5    Q. I want to ask on -- well, let's go through                 5    Q. Okay. At 12:36 a.m.?
 6 here. Going back to the last paragraph on page 4.                6    A. Yes. I would probably not even be going into
 7 Well, actually let's go to the next -- the last                  7 X-ray on him. I suspect at that point he probably had
 8 paragraph on page 4. The last sentence you had                   8 what we call a surgical abdomen, we might get a chest
 9 there,"witnesses related Mr. Wingo said pain was his             9 X-ray on the way to the OR just to confirm free air.
10 ulcers and not withdrawal." Who did those witnesses             10 But based upon his history, as a surgeon in my
11 relate that to?                                                 11 experience, I'm pretty sure I can tell just by my exam
12    A. I don't remember.                                         12 and the history that he needs to go to the OR.
13    Q. Do you know if it was medical staff or jail               13    Q. Okay. And I believe in another section of your
14 staff?                                                          14 report, we'll call it Mr. Wingo's most likely
15    A. I don't remember.                                         15 experience, on page 5. And on the third paragraph down
16    Q. But you wrote, there are reports that he                  16 is when you relate going to the infirmary which is when
17 requested to be seen by a doctor and taken to the               17 he would have had his vital's taken. But before that,
18 emergency room. What reports are you referring to?              18 for 11:30 p.m. you write that his gastric ulcer
19    A. By reports, I mean to say that individuals in             19 perforates in the multipurpose room. And about halfway
20 these documents I reviewed, relayed that that's what he         20 through the paragraph you say a good physical exam, at
21 said.                                                           21 this point would most likely find a rigid abdomen and
22    Q. And then final paragraph on page 4, "he was               22 diffuse tenderness.
23 returned to the infirmary and placed in room eight." We         23          Can you tell me a little bit more about
24 already talked about. His vitals were taken and you             24 that and what is going on -- or would be going on in a
25 wrote, "while the blood pressure at 12:36 a.m. was in           25 typical patient with a perforated ulcer?


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 27 of 48 26 (98 - 101)
                                                                        Page
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 32 of 180
                                                          Page 98                                                           Page 100
 1    A. Rigid abdomen means they're very firm. You                  1 reason he was falling down in that jail cell that we
 2 should be able to push into someone's abdomen there's a           2 seen in the video there.
 3 certain laxity of the abdominal wall and abdominal                3
                                                                    Q. And today you said that would be the most
 4 contents.   Once you get that inflammatory response going 4 likely reason, and then I think on the second -- or next
 5 the -- whether you intend to or not your muscles           5 to last line of this report you said that that behavior
 6 contract and then the abdomen becomes very, very firm.     6 was consistent with orthostatic hypotension.
 7 And that's kind of what I would say the surgical           7            Why do you couch it in such terms that it
 8 abdomen, that's kind of what we're talking about here.     8 would be consistent -- or that you believe is the most
 9 This is an abdomen that is extremely tender in all         9 likely condition that his behavior reflects?
10 locations and pushing on it hurts. Not just like, oh,     10     A. There's no other indication or reason here for
11 it's a sore kind of pain this is a, they really hurt.     11 that behavior at this point. We know he's not detoxing,
12 And it also becomes very firm and that's what I'm         12 which was a concern at the time, and that's not how
13 referring to there.                                       13 people usually respond in detox in my experience. But
14      Q. Okay. Did you include this note about what a      14 this is a radical change in his behavior from when he
15 good physical exam would find at this point, because --   15 was in the regular population to this point. And that
16 would you have expected such an exam to be performed 16 fainting and confusion all fit with lack of blood flow
17 given his condition?                                      17 to the brain.
18      A. No, I wouldn't expect there to be a physician     18     Q. Can you diagnose orthostatic hypotension by
19 there examining this patient there at that point.         19 observing someone's behavior alone?
20           MR. GARDNER: Objection.                         20     A. No. You require vital signs for that.
21           THE WITNESS: I'm just pointing out that         21     Q. Okay. Did his vital signs that were taken at
22 that's what I expect to find at that point.               22 12:36 a.m. indicate he was going into or had orthostatic
23      Q. Would a nurse be qualified to perform this type   23 hypotension?
24 of exam?                                                  24     A. No. They were not taking -- you have to take
25           MR. GARDNER: Objection. Beyond the scope 25 two sets. You have to take one laying down and sitting
                                                          Page 99                                                           Page 101
 1 of his expertise for the purpose of this case.                    1 down and then take one immediately when they stand up.
 2          THE WITNESS: In my experience, a nurse can               2    Q. So is it fair to say that your statements
 3 certainly perform this exam. But you would have to ask            3 regarding orthostatic hypotension and that his behavior
 4 a nurse whether or not she would be able to make the              4 was consistent with -- that's not a -- that's -- you're
 5 conclusion of judgement that I would make. I don't                5 belief is that that is the perhaps most plausible
 6 believe she would.                                                6 explanation for his behavior but it's not -- it's not an
 7    Q. BY MR. JACKSON: Okay. So you don't -- okay.                 7 actual diagnosis that you were providing?
 8 All right. Going down on the final paragraph of that              8          MR. GARDNER: Object to form.
 9 page, and which describes a drop in blood pressure and            9          THE WITNESS: It is not diagnostic. That
10 this is -- you had already mentioned orthostatic                 10 is my opinion.
11 hypotension once before?                                         11    Q. BY MR. JACKSON: Okay. On page 6 of your
12    A. Yes.                                                       12 report, you mention that Mr. Wingo -- on the second
13    Q. And so if I understand your report correctly,              13 paragraph -- is given food that morning, which he ate --
14 orthostatic hypotensions, where you would -- blood               14 eats and drinks?
15 pressure would be normal lying down, but when you stood          15    A. I believe he also threw it on his head too.
16 up, couldn't get it to your head and cause you to faint?         16    Q. Excuse me?
17    A. (Nodding yes.)                                             17    A. I believe he also threw it on his head. I
18    Q. What conclusions did you draw with respect to              18 didn't put that in there, but I believe that is what he
19 Mr. Wingo based on observing him faint while in room             19 did as well.
20 eight at the infirmary?                                          20    Q. Threw the food on his head?
21    A. What conclusions did I draw?                               21    A. His drink on his head. He poured his drink on
22    Q. Well, I'm just -- how did -- why did you                   22 his head.
23 include a discussion of orthostatic hypotension in this          23    Q. But -- okay. So he poured the drink on his
24 portion of your report?                                          24 head --
25    A. I believe that was most -- the most likely                 25    A. (Nodding yes.)

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 28 Page
                                                                       of 4827 (102 - 105)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 33 of 180
                                                     Page 102                                                           Page 104
 1    Q. But it's true you agree that he ate the food he         1 A. Correct.
 2 was provided?                                                 2 Q. At what point would -- well, before I ask that
 3     A. Yes.                                               3 -- reasonable emergency medical care, in your opinion in
 4     Q. And you had indicated earlier in your report,      4 this case, is that he is taken to the ER?
 5 but also at this point, the eating has at least some      5     A. Yes.
 6 interaction with the symptoms of gastric ulcers?          6     Q. Okay. At what point during the night, after
 7     A. For a non-perforated ulcer, yes.                   7 his ulcer perforated, would have been the reasonable
 8     Q. All right.                                         8 time to take him to the ER?
 9     A. It can dilute the gastric contents enough so       9          MR. GARDNER: Object to form.
10 that the pain is less. So people with a gastric ulcer    10          THE WITNESS: In my opinion, right after he
11 will go and try to eat something or drink something      11 started complaining of pain. That's what a -- a person
12 because they get some relief of the pain. It's not       12 who is free to do so, will seek out emergency services
13 going to work for perforated ulcer, it's going to be the 13 immediately when that pain hits. It's that severe.
14 opposite.                                                14     Q. BY MR. JACKSON: But you understand -- and
15     Q. And you put in here,"that having lived with a     15 you're not opining that Mr. Wingo, as a person confined
16 non-perforated ulcer, Mr. Wingo probably noticed in the 16 in a detention center, should have been at liberty to go
17 past that eating and drinking reduced abdominal pain and 17 to an ER as soon as he said, I want to go to the ER; is
18 eats and drinks what is provided to stop the pain.       18 that your opinion?
19 However, now that the ulcer is perforated the eating and 19          MR. GARDNER: Object to form.
20 drinking does not help?                                  20          THE WITNESS: I am -- my use of the word
21     A. No. It makes it worse.                            21 reasonable is based upon what someone who has the access
22     Q. Okay. But it's your opinion that he may have      22 to emergency medical services would do. He had an extra
23 thought that eating would relieve some of his symptoms? 23 layer in between him and an emergency room. And I
24     A. That's my sub-position, yes. That -- it's not     24 believe, in my opinion, that it was reasonable for him
25 -- obviously, I can't tell what he was thinking but      25 to expect he would receive the care at the facility that

                                                     Page 103                                                           Page 105
 1 that's my belief that that was why he was doing it.           1 would recognize that it's beyond their ability to care
 2 Someone else was saying that they believed because he         2 for him and that he needs to go to the emergency room.
 3 was eating and drinking he was okay.   And I'm going to       3    Q. BY MR. JACKSON: Okay. Who would have
 4 say that it does not necessarily mean that he was okay.       4 recognized whether or not the care that he needed
 5    Q. Okay. And that's your opinion as a medical              5 exceeded what could be provided at the infirmary?
 6 physician, correct?                                           6            MR. GARDNER: Objection. Beyond the scope.
 7     A. Correct.                                               7    A. I would assume -- this is an assumption now --
 8     Q. Okay. So your conclusion, you say,"it's my             8 that every prison has medical staff on-call or in the
 9 professional opinion to a reasonable degree of medical        9 facility itself who can make that determination.
10 certainty that had Kevil Wingo been provided reasonable      10            MR. GARDNER: Also speculation.
11 emergency medical care, he would have most likely            11            THE WITNESS: Yes. That's why I said,
12 survived.                                                    12 assume.
13           Furthermore, it's my opinion the lack of           13    Q. BY MR. GARDNER: Okay. And you go on to say
14 appropriate emergency medical care, resulted in the loss     14 that if he had received reasonable emergency care, he
15 of Kevil Wingo's life." What are the -- or what are the      15 would most likely have survived. What do you mean by
16 basis for that opinion?                                      16 most likely?
17     A. Everything that I've outlined to this point.          17    A. Most probably.
18     Q. What do you mean when you say reasonable              18    Q. Okay.
19 emergency medical care?                                      19    A. If you get someone to me with vital signs, in
20     A. That would be being brought to the emergency          20 the ER, they are most likely going to survive. So if
21 room for evaluation by an emergency room physician.          21 you can get him to the emergency room with vital signs,
22 Anyone in the community, that's what's going to happen.      22 he's most likely going to survive.
23     Q. And Mr. Wingo was in different parts of the           23    Q. But most likely, you know, that -- you would
24 jail, and seen by different people throughout the night,     24 agree with me that that denotes a certain probability,
25 after his ulcer perforated , correct?                        25 correct?


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 29 Page
                                                                       of 4828 (106 - 109)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 34 of 180
                                                          Page 106                                                          Page 108
 1    A. Yes.                                                         1 care, that opinion doesn't apply to analyzing what his
 2    Q. Is that quantifiable?                                        2 likelihood of surviving would have been at 7:45 a.m.?
 3    A. I'm just going to have to stick with most                    3           MR. GARDNER: Object to form.
 4 probably he would survive because that's just my                   4           THE WITNESS: My statement doesn't bring
 5 experience.                                                        5 into the issue of time, so I stand by what I said here.
 6    Q. Would most probable mean greater than --                     6 If you want to have me opine on whether or not, at 7:45,
 7    A. Greater than 50 percent.                                     7 if that was reasonable medical care or if he would have
 8    Q. All right. So mortality lower than 50 percent?               8 survived at that point, I can't say because I don't know
 9           MR. GARDNER: Object to form.                             9 what his vitals were at that point.
10    Q. BY MR. JACKSON: No, no, no -- yes. Because if               10     Q. BY JACKSON: And that's the point I'm wondering
11 he has a greater --                                               11 is, you've said if he were provided reasonable medical
12    A. Yes.                                                        12 care, he would have most likely survived. So my
13    Q. Okay. So lower than 50 percent mortality. But               13 question to you -- or my point, you would agree with me
14 we have discussed earlier that the percentage risk of             14 that the decision to provide reasonable medical care
15 mortality, whether you can quantify that or not, it               15 which you've opined as going to the ER, that decision
16 increases with each passing hour, correct?                        16 could have been made at any point after the ulcer
17    A. Correct.                                                    17 perforated?
18    Q. Okay. Are you able to say if he ever passed                 18     A. Yes.
19 the most likely to survive to most likely would not have          19     Q. And I understand that you might not, you know,
20 survived line, at any point during -- or after his ulcer          20 agree that waiting too long would be reasonable, I
21 perforated, but while he was still at the Adult                   21 understand that, but as a practical matter, you'd agree
22 Detention Center?                                                 22 that someone can pick up the phone and call an ambulance
23    A. All I can say is, the literature says that he               23 at any point after the ulcer was perforated, correct?
24 probably started at around ten percent mortality. When            24     A. That's correct.
25 the vital signs reached the point where he's not going            25     Q. Okay. And your opinion is --
                                                          Page 107                                                          Page 109
 1 to likely survive, I don't know because they are not               1      A. Well, I would assume so.
 2 recorded.                                                          2      Q. Right. But at some point, is it your opinion
 3    Q. And you have no way of putting a time on that                3 that if you -- if you wait too long to call the
 4 based on your review of the record of 16 items listed in           4 ambulance at some point the medical care becomes
 5 Exhibit 1?                                                         5 reasonable. If you wait too long to make that call?
 6     A. Not without more vital signs, no.                           6      A. I don't think medical care is unreasonable. I
 7     Q. When was Mr. Wingo's precise time of death?                 7 think it may be futile.
 8     A. I'd have to look at the records, but I believe              8      Q. Okay.
 9 it was 9:50 in the morning they declared him in the ER.            9      A. Once you lose the vital signs, as you saw in
10 I didn't put it in my records, in my report.                      10 the emergency room, you're not going to bring him back.
11     Q. So without vitals taken after 12:36 a.m. -- you            11      Q. Okay. Well, the point I'm trying to make -- or
12 understand he was moved from the infirmary to a solitary          12 the point I'm wondering what you think is, the statement
13 room around 7:45 a.m., correct?                                   13 that he would have most likely survived. That statement
14     A. Correct.                                                   14 is not equally as true at 11:30 when his ulcer
15     Q. Without vitals being taken at that time, are               15 perforated as much as it is at 7:45 a.m. or later; is
16 you able to say with any degree of medical certainty              16 it?
17 what his survivability would have been at that point if           17            MR. GARDNER: Objection. Mischaracterizes
18 someone called 911?                                               18 his testimony.
19     A. I cannot.                                                  19            THE WITNESS: My statement is true as it
20           MR. GARDNER: Object to form.                            20 is. If you want to change my statement, then we can
21           THE WITNESS: I can't.                                   21 bring that into the new question. But as I've stated
22     Q. BY MR. JACKSON: Okay. And if you cannot say                22 it's true. It doesn't become less truthful. If we want
23 his survivability at that point, would you agree with me          23 to change how -- how I've defined reasonable, then we
24 that your opinion that he would have most likely                  24 can talk about that but as I've stated it, no, that's a
25 survived if he had been provided reasonable medical               25 true statement. You get him to me with vital signs,


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 30 Page
                                                                       of 4829 (110 - 113)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 35 of 180
                                                        Page 110                                                             Page 112
 1 he's mostly going to survive. That's my experience.              1 Saturday and Sundays, as well. Which may mean I also
 2    Q. BY MR. JACKSON: But based on the record, you               2 work during the evenings, during the week, when I'm on
 3 can't say --                                                     3 call. That's kind of the general picture.
 4     A. I don't know when the vital signs stopped.                4    Q. And are those surgeries that you perform on
 5     Q. Right. And you can't say whether or not he                5 Monday through Friday typically scheduled?
 6 would have survived if someone would have called at              6    A. The Monday through Friday ones are typically
 7 7:45 a.m.?                                                       7 elective. The emergency ones can happen at any time.
 8     A. I can not say that.                                       8    Q. But the elective ones are typically scheduled
 9     Q. Right. What about at 6:45 a.m.?                           9 for some point Monday through Friday.
10     A. I don't know what the vitals are.                        10    A. Correct.
11     Q. All right. What about --                                 11    Q. And how far in advance are those typically
12     A. He was still moving though so he had some.               12 scheduled?
13     Q. What about 5:45 a.m.?                                    13    A. Sometimes up to over a month.
14     A. Again, still moving but I don't know what the            14    Q. Why does it take so long to get the surgery --
15 vitals are.                                                     15 why does it take so long to schedule it for a month out?
16     Q. Okay. So without the vitals and if we're                 16    A. There's a lot of factors involved. Let's say
17 trying to understand what his survivability would had of        17 someone comes to see me for something as simple as what
18 been had the emergency room been called at any point            18 we call biliary colic. Biliary colic is where sometimes
19 during that time frame; without the vitals you're unable        19 gal stones, very common problem and it's an elective
20 to say?                                                         20 procedure. They'll see me in the office assuming they
21     A. Yes. I can just say at this point --                     21 have insurance, we then are then -- once they've --
22           MR. GARDNER: Object to form. Go ahead.                22 we've had our in office discussion about what the
23           THE WITNESS: At 11:30 at night his                    23 problem is and what we are going to recommend. And they
24 survivability was probably -- was mostly likely ten             24 decide they want to proceed with surgery. Then my
25 percent. His survival in the ER is 100 percent -- or            25 office staff has to take that information then and get

                                                        Page 111                                                             Page 113
 1 his mortality in the ER is 100 percent.   How that               1 what's called a precertification from the insurance
 2 percentage moved along time if we were to graph it out,          2 carrier.   That's usually a three to four hour long phone
 3 I don't know.                                                    3 call where they're on hold most of that time, assuming
 4     Q. BY MR. JACKSON: Okay.                                     4 they don't get hung up on and have to call back again.
 5     A. Not without vitals.                                       5 Then once we have that precertification, assuming the
 6     Q. In the course of our conversation today, I may            6 person doesn't need what's called clearance, where they
 7 have asked some questions that allowed you to examine            7 have medical issues that need to be approved upon and
 8 the situation from a different perspective or probably           8 optimized by a cardiologist or a pulmonologist.        Once we
 9 make you think about -- possibly make you think about            9 have both the clearance and the precertification, then
10 the case in a different way. In light of our                    10 my staff then has to find an opening in the OR schedule
11 conversation today, is there anything in Exhibit 1, your        11 where this patient can be fit in there.     And this
12 report, that you would change or amend?                         12 particular procedure needs an assistant so we have to
13     A. Other than the typos, no.                                13 coordinate the assistant's schedule with my schedule
14     Q. Okay. Well, those are my questions for you,              14 along with the availability in the OR.      And that could
15 Dr. Myers. Mr. Gardner might have some for you.                 15 take up to a month sometimes.
16           MR. GARDNER: I do. Thanks.                            16    Q. So are there a lot of moving parts in order to
17                 EXAMINATION                                     17 get someone scheduled for an elective surgery?
18     Q. BY MR. GARDNER:                                          18     A. For an elective procedure, yes.
19     Q. Dr. Myers, I just want to talk to you a little           19     Q. So is it difficult to cancel a surgery at the
20 bit about your schedule on a weekly basis. What is your         20 last minute?
21 schedule?                                                       21     A. It's easy to cancel but it could be
22     A. It's very fluid, so it's hard to say.                    22 catastrophic for the patient.
23 Generally Mondays through Fridays, I do elective                23     Q. And when you say, it can be catastrophic for
24 surgeries. There's one day in there that I do office,           24 the patient. What do you mean by that?
25 depending on what my call schedule is I may be working          25     A. Let's say I'm operating on someone who has

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Brian S. Myers, M.D., F.A.C.S.                                                  3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 31 Page
                                                                       of 4830 (114 - 117)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 36 of 180
                                                          Page 114                                                       Page 116
 1 colon cancer, they've mobilized friends and family to             1 to me.
 2 come from all across the country to be there while                2          MR. GARDNER: Yes, e-mailed them to you as
 3 they're in the hospital and while they are recovering.            3 well.
 4 And if I suddenly at the last minute have to cancel               4  (Exhibit 4 marked for identification.)
 5 their surgery, first of all, all those people who                 5
                                                                  Q. BY MR. JACKSON: All right. I only have one
 6 mobilized to be there are going to be out that expense,   6 copy. Time, is this in minutes?
 7 and when you're operating on someone with cancer they're  7    A. Yes.
 8 living every moment from the moment of diagnosis --       8    Q. All right.
 9 probably before that, the concern they have cancer.       9    A. I guess I should make that clear.
10 They're going to die from this cancer, it's growing,     10    Q. So you reviewed these documents in January of
11 it's getting bigger, it's causing more problems. And     11 2020.
12 they know the longer you wait to remove the cancer the   12    A. I started reviewing them in January 2020 -- or
13 higher the risk of mortality from the cancer is the      13 June.
14 spreading. And so they have to live every minute and     14    Q. Yes. And this invoice is from July 7th, 2020,
15 every day with that, so does their family. So if I have  15 page 1 of Exhibit 4.
16 to cancel at the last minute and postpone their surgery, 16    A. (Witness examining document.)
17 it's really a terrible thing.                            17    Q. This exhibit is from --
18      Q. Would it be catastrophic for you to be called    18    A. Yes. I didn't know it was a question.
19 into court -- would it be catastrophic to a patient if   19    Q. What -- on July 3rd, 2020, you wrote that you
20 you were called into court to have to testify at the     20 were writing. What were you writing for 60 minutes?
21 last minute and have to cancel your surgery?             21    A. I don't remember, specifically.
22      A. Yes.                                             22    Q. Was it anything that you produced or anything
23      Q. Are you typically unavailable to go into court   23 contained in your report in this case?
24 Monday through Friday because your performing surgeries? 24    A. I'm going to assume it's this report.
25      A. If I -- if I'm given enough notice I can take    25    Q. Okay. And then conversation for video
                                                          Page 115                                                       Page 117
 1 that time off as vacation is what I generally do. If              1 30 minutes, on July 3rd.   Is that the YouTube video that
 2 I'm not given enough notice that's a problem.                     2 we were discussing earlier where you were interviewed
 3          MR. GARDNER: That's all the questions I                  3 via Zoom?
 4 have.                                                             4    A. No. I wouldn't be charging Mr. Gardner for
 5                EXAMINATION                              5 that. That would be probably them talking to me about
 6     Q. BY MR. JACKSON:                                  6 the case and that they wanted me to -- well, that
 7     Q. How much notice would you need to testify in     7 someone wanted to interview me for a video. That would
 8 court?                                                  8 be my -- the best of my recollection.
 9     A. At least the month.                              9     Q. And then on July 6th, 2020, it just says video,
10     Q. Okay, those are my questions.                   10 would that be reviewing videos or preparing for the
11           MR. GARDNER: All right. Thanks. We're        11 video that you appeared in or something else?
12 all done. Before we go off the record, I will stay on  12     A. I don't remember exactly now. Maybe I did bill
13 the record.                                            13 you for that video. And that's a lot longer than I
14           Wes, I e-mailed you a copy of his invoices   14 thought it was if that's 80 minutes or a lot longer than
15 just in case you doesn't have them.                    15 I remember.
16           MR. JACKSON: Can I see them real quick?      16     Q. BY MR. JACKSON: So I have, for these three
17           MR. GARDNER: I just wanted to give you a     17 invoices, a $3,000 retainer, $6,350 in charges less than
18 copy, as well, here at the deposition. It's just three 18 the retainer. So the total amount charged as of
19 pages.                                                 19 July 7th was $9,350, correct?
20           MR. JACKSON: I've got a few dozens more      20     A. Correct.
21 questions. Are we on the record?                       21     Q. An extra 500 on June 2021, which brings us to
22           MR. GARDNER: Yes.                            22 9850. And then on January 2023, 3125, which would be
23     Q. BY MR. JACKSON: Well, we will make these as an 23 $12,975?
24 exhibit?                                               24     A. Yes.
25           MR. JACKSON: Fair enough you e-mailed them 25       Q. Okay.

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 32 Page
                                                                       of 4831 (118 - 121)
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 37 of 180
                                                         Page 118                                                      Page 120
 1     A. It sounds about right, yes.                                1            COURT REPORTER DISCLOSURE
 2     Q. But that's the January invoice. Do you know if             2         Pursuant to Article 10.B of the Rules and
 3 there's a February invoice?                                       3 Regulations of the Board of Court Reporting of the
 4     A. There will be -- there is a small amount still             4 Judicial Council of Georgia which states: "Each court
 5 due -- a couple hundred bucks, I think. From before               5 reporter shall tender a disclosure form at the time of
 6 this, yes.                                                        6 the taking of the deposition stating the arrangements
 7     Q. All right. Those are my questions.                         7 made for the reporting services of the certified court
 8           MR. GARDNER: Nothing further.                           8 reporter, by the court reporter's employer, or the
 9           MR. JACKSON: Do you have the payment?                   9 referral source for the deposition, with any party to
10           MR. GARDNER: We FedEx'd him the payment.               10 the litigation, counsel to the parties or other entity.
11           THE WITNESS: They sent it already.                     11 Such form shall be attached to the deposition
12           MR. GARDNER: We paid for four hours so                 12 transcript." I make the following disclosure:
13 we're good, right?                                               13            I am a Georgia Certified Court Reporter.
14           THE WITNESS: Yes. That's the minimum.                  14 I am here as a representative of
15 I've had a couple depositions go longer than four but            15 Trustpointe.One/Alderson. Trustpointe.One/Alderson
16 not usually.                                                     16 contacted to provide court reporting services for the
17           MR. GARDNER: Yes. Okay. Hey, I                         17 deposition. Trustpointe.One/Alderson will not be taking
18 appreciate your time. Thank you very much for coming.            18 this deposition under any contract that is prohibited by
19           THE WITNESS: My pleasure.                              19 O.C.G.A. 91128(c).
20              (Off the record.)                                   20            Trustpointe.One/Alderson as no
21     (The proceeding were concluded at 1:36 p.m.)                 21 contract/agreement to provide court reporting services
22                                                                  22 with any party to the case, any counsel in the case, or
23                                                                  23 any reporter or reporting agency from whom a referral
24                                                                  24 might have been made to cover this deposition.
25                                                                  25 Trustpointe.One/Alderson will charge its usual and

                                                         Page 119                                                      Page 121
 1               -   -    -                                          1
                                                                       customary rates to all parties in the case, and a
 2               CERTIFICATE OF REPORTER                             2
                                                                       financial discount will not be given to any party to
 3                                                                   3
                                                                       this litigation.
 4   STATE OF GEORGIA)                                               4
                                                                                    Tamika M. Burnette, RPR, CCR2870
 5          )                                                        5
 6   COUNTY OF DEKALB)                                               6
 7                                                                   7
 8            I, TAMIKA M. BURNETTE, hereby certify                  8
 9 that the foregoing proceedings were taken before me at            9
10 the time and place therein designated; that a review of          10
11 the transcript was requested, and that the foregoing             11
12 pages numbered 1 through 118 are a true and correct              12
13 record of the aforesaid proceedings.                             13
14        I further certify that I am not a relative,               14
15 employee, attorney or counsel of any of the parties, nor         15
16 am I a relative or employee of any of the parties'               16
17 attorneys or counsel connected with the action, nor am I         17
18 financially interested in the action.                            18
19                                                                  19
20          DATED this 27th day of March, 2023                      20
21                                                                  21
22                                                                  22
23          __________________________________                      23
24              TAMIKA M. BURNETTE                                  24
25          CERTIFIED COURT REPORTER, RPR, CSR-2870                 25


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 33 of 48   Page 32
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 38 of 180


           Notice Date: 03/27/2023

           Deposition Date: 3/13/2023

           Deponent: Brian S. Myers, M.D., F.A.C.S.

           Case Name: Tiffany Wingo, et al.,
                      v. Major Branson Harris, et al.

           Page:Line             Now Reads                 Should Read

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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 34 of 48   Page 33
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 39 of 180



                             CERTIFICATE OF DEPONENT

           I hereby certify that I have read and examined the

           foregoing transcript, and the same is a true and

           accurate record of the testimony given by me.

           Any additions or corrections that I feel are

           necessary, I will attach on a separate sheet of

           paper to the original transcript.



                                _________________________

                                Signature of Deponent

           I hereby certify that the individual representing

           himself/herself to be the above-named individual,

           appeared before me this _____ day of ____________,

           20__, and executed the above certificate in my

           presence.



                             ________________________


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 35 of 48    Page 1
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 40 of 180
      WORD INDEX            2007 13:21                 7th 116:14 117:19         administration 54:10, 17
                            2014 37:7, 8                                          55:1
 <$>                        2016 37:4 46:16            <8>                       administrative 21:16
 $12,975 117:23             2018 46:13 47:1            80 88:9 117:14            Administrator 1:5
 $13,000 75:15, 17 76:1     2019 46:15 65:8 92:6       818-0000 3:19             admission 53:23
 $3,000 117:17              2020 116:11, 12, 14, 19                              admitted 42:22
 $500 75:12                  117:9                     <9>                       admitting 15:24 85:18
 $6,350 117:17              2021 117:21                9/22/2022 15:16           adopting 22:16
 $9,350 117:19              2022 59:11                 9:50 107:9                Adult 28:9 63:25 66:20
                            2023 2:4 5:1 117:22        90 11:7 88:4, 5            106:21
 <1>                         119:20                    91 50:16                  advance 71:11 112:11
 1 4:14 10:13, 14, 16       23rd 59:11 63:3            911 107:18                advertised 46:11
  17:13 34:4 44:11 58:10    25 56:7                    91128(c 120:19            advice 46:9
  60:4, 5 65:3, 10 73:10    26 73:15                   92 50:16                  affect 81:15 82:13 85:4
  76:20 107:5 111:11        26B4C 68:22 70:22          95 13:21                  affiliations 39:20
  116:15 119:12             27th 119:20                97 21:14                  aforesaid 119:13
 1:20-CV-03662-VMC          29th 92:6                  98 21:14                  age 13:6
  1:15                                                 9850 117:22               agency 24:21 41:20
 1:36 2:8 118:21            <3>                                                   120:23
 10 4:14                    3 4:16 15:15 43:20, 21,    <A>                       aggressive 29:4
 10.B 120:2                 22 44:11 46:14 47:5, 13    a.m 2:8 5:2 92:6 95:25    ago 5:19 63:1 69:20
 10:00 2:8 5:2               56:11 78:21                97:5 100:22 107:11, 13   agree 78:18 85:2 86:10
 100 3:15 110:25 111:1      3,000 75:22                 108:2 109:15 110:7, 9,    102:1 105:24 107:23
 11:30 97:18 109:14         30 117:1                   13                         108:13, 20, 21
  110:23                    30281 11:7                 abdomen 23:18, 22 97:8,   agreed 65:12
 1-10 1:21                  30339 2:7 3:8, 17          21 98:1, 2, 6, 8, 9       agreement 5:11
 111 4:7                    3100 2:5 3:6               abdominal 19:17 32:14,    ahead 29:11, 16 82:3
 115 4:8                    3125 117:22                24 79:5 98:3 102:17        110:22
 116 4:17                   3rd 116:19 117:1           ability 84:11 105:1       ahold 86:23
 118 119:12                                            able 24:23 25:1 28:2      air 38:12 79:14 80:7
 12 89:22                   <4>                         50:14 62:18, 19 78:2      83:18 97:9
 12:36 92:6, 11 95:25       4 4:17 44:11 89:14          79:7 85:13 90:1, 18      alive 78:9
  96:15 97:5 100:22          92:3 95:6, 8, 22 116:4,    91:6, 8, 9 98:2 99:4     allow 24:23 68:23
  107:11                    15                          106:18 107:16            allowed 24:5 71:18
 13 2:4 5:1 75:23           4:32 33:2                  abrupt 79:6                111:7
 13,000 75:25               40 48:1 55:24 56:4         absence 9:4, 7, 12        allows 27:18
 1470 2:6 3:7               43 4:16                    Abstracts 41:5            ambulance 79:11 80:1
 15 4:15                                               academic 20:24, 25 21:2    81:5 82:2, 6, 9 86:5
 16 60:4 65:3, 11 68:1      <5>                         87:8 88:20 94:7           108:22 109:4
  107:4                     5 4:6 44:11 97:15          access 104:21             amend 111:12
 1600 3:16                  5/1/65 11:11               accomplish 33:13          American 24:18 25:5
 18 13:6                    5:45 110:13                accreditation 24:22        37:17, 18 39:22 40:3, 16
 1983 58:5                  50 106:7, 8, 13            accrediting 24:21 41:20    42:6, 20, 25 43:3, 7, 9, 10
 1987 16:3                  500 75:10 117:21           accurate 69:23, 25        amount 73:16 74:8, 11
 1988 50:12                                             94:20, 22, 23             76:2 96:16 117:18
 1992 17:5, 24 18:13        <6>                        achieved 17:1              118:4
  50:12                     6 44:11 101:11             acid 31:8, 12             analyzing 108:1
 1993 18:13                 6:45 110:9                 acronym 40:1, 11, 14      ANGEL 1:8
 1997 42:22                 60 116:20                   46:3                     Angela 56:14
 1998 17:5, 23, 24 41:2     650 75:7                   acting 66:12              annual 45:16
 1999 12:24 37:6, 10        693-8202 3:9               ACTION 1:14 119:17,       answer 5:13 10:23
  38:1 41:6                 6th 117:9                  18                         42:21 81:11
                                                       activities 38:5           answered 31:15
 <2>                        <7>                        actual 101:7              answers 6:2
 2 4:15 15:7, 8, 10 44:11   7 44:12                    acute 30:21               anymore 24:8 54:15
  60:5 65:3 76:21           7,500 76:6                 add 51:7                  apologize 20:19 45:22
 2,000 76:6                 7:45 107:13 108:2, 6       added 59:20               appear 15:15 44:18
 2.5 87:13, 14 88:25         109:15 110:7              addition 75:17            APPEARANCES 3:1
  93:21                     75 56:6                    additional 60:5 77:7      appeared 93:3 117:11
 20 85:1                    770 3:9, 19                address 11:6, 8           applied 41:16 42:15
                                                       addressing 43:17


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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 36 of 48    Page 2
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 41 of 180
 apply 108:1                 available 30:25 38:7           bit 24:1 36:13 53:12         calls 49:13
 appreciate 118:18            67:2 82:1, 16, 21, 23          97:23 111:20                camera 23:17
 approach 23:24              aware 70:7 71:20, 22           bladders 20:2                cancel 113:19, 21 114:4,
 appropriate 103:14           87:8 94:7, 12                 bloating 32:14               16, 21
 approved 41:19 113:7                                       blood 8:23 9:1 29:5, 8,      cancer 114:1, 7, 9, 10, 12,
 approximate 56:1, 3         <B>                            23 89:25 90:7, 13, 15, 17,   13
  60:12                      bachelor 16:5, 8               22, 25 92:10 93:7 95:25      capacity 14:18, 23 34:11
 approximately 55:23         back 7:10, 15 16:16             96:2, 4, 7 99:9, 14          46:9, 17 47:22, 24
  76:1                        18:9 25:13 33:3, 5             100:16                      capillaries 90:19
 area 13:7 19:23 20:7         52:11 58:9 82:11 88:24        blue 8:7 9:7, 18 91:19       cardiologist 113:8
  27:1, 5 29:9 33:7 35:24     90:20 93:20 95:6              BMAC 18:6                    care 45:7 48:16, 20
  47:9 48:6, 8 56:25          109:10 113:4                  board 24:17, 18, 21 25:5      49:3, 23 50:3 52:18
  58:16 81:5 82:8            backup 19:25                    33:16, 17, 19 35:14          53:2 54:18, 20, 24 57:19
 areas 14:20 26:23 29:6      Bacteria 30:7                   37:16, 17, 18 39:6 42:8      58:22 61:24 62:1, 2
  33:10 35:3, 13 38:5, 18    barrier 27:25                   43:1 120:3                   63:19, 21 71:17 88:6
  43:17 47:9                 base 34:5 92:1                 board's 33:15                 103:11, 14, 19 104:3, 25
 arrangements 120:6          Based 43:15 72:24 83:1         body 55:1 78:3 90:16          105:1, 4, 14 108:1, 7, 12,
 arriving 82:12 86:4          87:23 91:17 93:17              96:14                       14 109:4, 6
 article 87:15, 18, 21        96:24 97:10 99:19             Bollig 44:3                  career 19:3
  89:5, 7, 8, 10 93:20, 24    104:21 107:4 110:2            born 11:12                   carrier 113:2
  120:2                      baseline 87:23 92:12, 14       Boulevard 2:5 3:6            case 16:9 20:5, 11
 articles 38:7, 19 73:5       96:2, 3, 7, 13                bowel 79:15 80:7 83:19        21:21 22:3, 25 26:23
 Aside 21:8                  basic 34:5 79:22               brain 91:1 93:8 100:17        28:6 43:18 44:2, 4, 15,
 asked 35:6 39:13 43:13      basically 35:25 41:19          branch 13:18                 17 46:15, 16 48:8 53:10
  45:18 46:4 52:12 57:22      96:9                          BRANSON 1:16                  55:15 56:19 57:10, 11,
  58:4 61:1, 2 62:19, 20     basis 16:10 27:14 64:7         break 6:6 27:17 38:12,       16, 18, 22, 25 58:2, 4, 6, 7,
  67:1 70:17 71:6 76:18       103:16 111:20                 17 72:10 79:20               11, 14 60:1, 6, 9, 22
  83:7 111:7                 bear 16:9 53:9                 breaking 27:25                61:13, 14, 17, 20 62:24
 asking 14:23 30:16          bearing 16:23                  breast 35:14                  63:10 65:7 69:6 72:5,
  32:1 64:15 66:5 69:11      bed 82:7                       BRIAN 2:3 4:4, 14 5:5,       20 74:2, 25 75:2, 25
  73:3 74:20                 beds 82:5, 16                  10, 17                        77:4, 8, 12 85:3, 8, 21
 asks 77:10                  beginning 22:16                brief 79:13                   89:12 99:1 104:4
 aspect 54:15                begun 79:12 80:4 94:11         bring 19:25 53:9 108:4        111:10 115:15 116:23
 assessed 33:18              behaving 66:12                  109:10, 21                   117:6 120:22 121:1
 assessment 79:17            behavior 92:24 93:1            bringing 27:7 82:3           cases 43:24 44:12, 24
 assignment 61:19             100:5, 9, 11, 14, 19 101:3,   brings 117:21                 45:1, 2, 4, 7, 12 46:25
 assistant 113:12            6                              BRITTON 1:19                  47:17 48:2 55:10, 11, 24
 assistant's 113:13          beholden 54:25                 brought 5:20 8:4, 12          56:4, 10, 18, 19 57:13
 associate 48:12             belief 101:5 103:1              16:9 49:7, 10, 19 81:4      catastrophic 113:22, 23
 associations 39:20          believe 11:21 12:1              83:6 103:20                  114:18, 19
 assume 16:7 21:17, 25        13:15 39:13 46:13             bucks 118:5                  category 21:7 36:17
  24:14 42:12 44:22, 23       51:22 55:22 57:10             building 34:5                cause 28:3, 17, 20 29:19
  45:6 105:7, 12 109:1        68:17 71:8 88:19 89:24        built 23:2                    30:4, 5, 22 88:16 99:16
  116:24                      93:17 94:21 97:13 99:6,       BURNETTE 2:12 119:8,         caused 28:6 30:1
 assuming 112:20 113:3,      25 100:8 101:15, 17, 18        24 121:4                     causes 27:20
 5                            104:24 107:8                  business 34:17 46:6, 7       causing 114:11
 assumption 105:7            believed 103:2                                              CCADC 92:13 96:3
 ate 101:13 102:1            beneficial 22:19 77:14,        <C>                          CCR2870 121:4
 ATLANTA 1:3 2:7 3:8,        23                             C02 23:18                    CCTV 11:2
 17 13:7                     benefit 78:8, 11               call 14:5 17:17 49:15,       cell 8:4, 12 9:7, 18
 attached 4:11 120:11        best 32:1 43:5 89:24           16 80:9 82:3 91:19            100:1
 attacks 29:7                 117:8                          97:8, 14 108:22 109:3, 5    Center 28:9 38:25 53:7
 attend 12:17                better 31:15 51:8               111:25 112:3, 18 113:3,      63:25 66:20 104:16
 attorney 52:22 68:24        beyond 29:1 98:25              4                             106:22
  119:15                      105:1, 6                      called 8:7 21:22 45:17       centers 44:20
 ATTORNEYS 3:4 5:19          bigger 114:11                   77:6 79:16 83:20, 23        CEO 34:10, 15, 22 37:3,
  47:3 74:3 119:17           biliary 112:18                  107:18 110:6, 18 113:1,     8, 12
 audio 65:14, 15 66:6        bill 117:12                    6 114:18, 20                 certain 33:10 96:14
 autopsy 77:19, 20           biological 62:14               calling 48:13                 98:3 105:24
 availability 81:25 113:14   biology 16:11                  CALLOWAY 1:8                 certainly 99:3
                             birth 11:10


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          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 37 of 48    Page 3
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 42 of 180
 certainty 31:19, 22            colleague 73:3              35:12 70:23                    112:10 117:19, 20
  94:25 103:10 107:16           colleagues 41:9, 15        consistent 100:6, 8 101:4       119:12
 CERTIFICATE 119:2              collect 75:18              constrict 29:23                correction 6:15 20:8
 certification 25:4, 5          College 17:2, 15 39:22     constriction 29:18, 21, 22      49:21
  33:17, 20                      42:6, 25 43:3, 7, 9, 10   constrictor 29:4               correctional 59:1 62:3
 certified 24:17 35:14          colon 114:1                consult 58:4 72:22 73:1,       corrections 45:8 48:17,
  39:6 42:8 119:25 120:7,       Columbus 17:2              2 85:15                        25 49:3, 18 57:19
 13                             com 46:2                   consulted 55:23 87:18          correctly 6:20 99:13
 certify 119:8, 14              come 25:13 33:1, 3         consulting 47:24 62:25         correspondence 68:15
 certifying 43:1                 66:12 79:16 80:13         contact 60:19 71:9             corroborate 77:15
 chair 54:3, 13, 14              114:2                     contacted 60:8, 14, 16         costs 76:7
 chairman 53:18, 20             comers 88:3                 120:16                        couch 100:7
 chance 8:14, 18, 20 9:2,       comes 74:4 112:17          contained 116:23               cough 50:21
 22 38:11 88:5                  coming 82:2 118:18         contains 58:10                 Council 120:4
 change 93:22 100:14            command 14:6               contents 19:19 23:19           counsel 5:11 53:19
  109:20, 23 111:12             Commander 14:1              27:18 89:16 98:4 102:9         54:5, 7, 14 65:1 67:11
 changed 59:19, 20              common 28:1 30:9           context 37:21 48:17, 25         68:15 76:2 119:15, 17
 changes 33:14, 21 69:3          40:13 52:16 85:14          49:3 52:24 57:19 62:3          120:10, 22
 charge 120:25                   112:19                     83:12 89:23                   counsels 54:1
 charged 15:4 117:18            commonly 21:21 27:22       continue 71:4, 5               country 114:2
 charges 117:17                 communicated 68:17         CONTINUED 2:1 31:4             County 5:20 12:20
 charging 117:4                 communications 68:23       continuing 17:18                28:9 63:25 65:16, 17
 CHARLES 1:17                    70:21                     continuous 31:20                66:20 85:22 119:6
 Charleston 12:10, 18           community 103:22           contract 29:8 49:23            Couple 84:4, 11, 17, 19
 check 38:12                    comorbidities 88:2          52:17 98:6 120:18              87:4 118:5, 15
 checked 50:18                  compared 92:14             contract/agreement             coupled 97:1
 checking 30:3 51:24            compensation 70:23          120:21                        course 21:10 22:6 23:5
 chest 79:14 97:8               complaining 104:11         contracted 30:8                 31:13 83:11 111:6
 chief 21:13, 23                complaint 10:21            contradicted 7:18              courses 33:9 46:8
 child 1:7, 10, 12              complete 66:13 71:19       contribute 29:2                coursework 16:7 17:11
 childhood 12:15                completing 33:6            contributes 29:14 30:13         34:2, 3
 children 13:2                  complex 52:6               contributing 88:16             COURT 1:1 6:1 57:4,
 church 13:10                   complicated 50:20 51:24    convenient 7:2                 25 114:19, 20, 23 115:8
 circumstances 81:15            concern 45:4, 7 100:12     conversation 7:12 111:6,        119:25 120:1, 3, 4, 7, 8,
 cities 12:14                    114:9                     11 116:25                      13, 16, 21
 civic 13:9                     concerning 60:22           conveyed 60:19                 cover 12:14 120:24
 CIVIL 1:14 60:24               concerns 20:5              cooperative 81:19              covers 12:14
  68:22                         concluded 118:21           coordinate 113:13              created 69:18
 Clarification 9:16             conclusion 9:9, 13 99:5    COPD 88:9                      credit 41:15, 16, 23
 clarify 27:13                   103:8                     copy 71:18 74:6 89:8           credits 41:24
 class 89:4                     conclusions 76:23 77:13,    115:14, 18 116:6              criminal 15:2, 4 39:10
 clean 23:19                    15 96:20 99:18, 21         Corp 13:19                     CSR-2870 2:12 119:25
 clear 18:22 48:15 61:25        condition 65:6 98:17       Correct 6:5 8:8, 25            Cumberland 2:5 3:6
  76:19 94:6 116:9               100:9                      10:10, 11 12:16 14:10         current 11:6 25:21
 clearance 113:6, 9             conditional 88:9            15:17, 25 16:3, 6, 13, 14      38:5, 17
 clinic 62:8, 10                conditioner 38:13           17:3 20:5, 6 21:24 22:5,      currently 12:20 34:7
 clinical 21:16 38:23           conditions 18:24 19:17,    7, 8, 10 24:7, 16, 19 25:3,     38:8 55:7
 clinically 81:18               18 32:22 52:2 66:11        24, 25 26:2, 3, 18, 21         CURRICULUM 4:15
 Close 9:3                      conference 40:19            27:11 32:6 33:19 36:10         41:19
 closed 23:20                   conferences 47:2            39:16, 19 41:3, 10, 17        customary 121:1
 closest 82:6                   confined 53:3 104:15        43:19, 25 44:1, 13, 16, 18,   CV 12:2 15:12, 18 33:5
 CME 33:9, 12 34:2, 3           confining 49:11            20, 25 45:6, 9 47:7, 15,        37:5, 7 43:15 50:11
  38:4 41:11, 12, 13, 15, 16,   confirm 7:17 10:2 97:9     16, 19 49:12 50:13
 25                             confusion 93:3 100:16       55:15, 25 56:9, 15, 17        <D>
 Cobb 5:19 28:9 63:25           connected 119:17            58:11, 19, 24 59:2 62:15      data 70:23 94:2
  65:16, 17 66:20 85:22         consent 81:20               64:10 65:4 73:11 75:7,        DATE 2:4 11:10 47:5,
 cocaine 27:24 28:23            consider 19:9 26:13        13, 16, 24 77:21 83:25         6 60:10 69:20 74:9
  29:2, 13 88:15, 17, 21         28:16                      85:5, 6, 22 103:6, 7, 25      dated 46:15 59:11
 code 8:7 9:6, 18 91:19         consideration 23:11         104:1 105:25 106:16, 17        119:20
 colic 112:18                   considered 17:25 18:2       107:13, 14 108:23, 24         day 74:13 76:6 111:24



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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 38 of 48    Page 4
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 43 of 180
  114:15 119:20              determine 8:13 91:8, 10     documentary 70:7, 10        elevated 92:14
 days 11:3 87:4 89:18        determining 28:16            71:19, 21 72:2             e-mail 60:15 68:17
 dealing 52:7 96:10          detox 100:13                documentation 47:2          e-mailed 115:14, 25
 deals 18:23                 detoxing 100:11             documented 63:20 92:5,       116:2
 death 11:4 107:7            develop 30:1 72:23          15, 19                      emergency 79:12 80:17
 December 33:24 59:11        develops 30:10              documents 7:14, 15, 21       81:3, 9, 23 83:12 84:14
  63:3                       diabetes 88:10               65:10 70:4 72:17 74:10      95:18 103:11, 14, 19, 20,
 decide 84:11 112:24         diagnose 100:18              95:20 116:10               21 104:3, 12, 22, 23
 decided 58:3                diagnosis 101:7 114:8       doing 21:3 25:23 43:5        105:2, 14, 21 109:10
 decision 108:14, 15         diagnostic 29:25 32:17       65:19 74:13 81:22           110:18 112:7
 decisions 96:24              101:9                       93:11 103:1                employ 75:9
 declared 107:9              die 114:10                  domain 71:2                 employed 23:16 34:7, 25
 deem 22:22                  died 63:12                  door 51:10 81:12             54:22, 25 75:11
 DEFENDANT 3:12              difference 56:24            doors 85:15                 employee 119:15, 16
  56:8, 12, 21, 22           differences 18:16           dot 46:2                    employer 120:8
 Defendants 1:22             different 18:16 25:11       dozens 115:20               employment 53:14
 Defendant's 10:15 57:2       42:24 52:21, 23 66:21      Dr 5:10, 15 71:3 77:9       EMS 82:2
 defense 61:9, 13             81:14 103:23, 24 111:8,     111:15, 19                 encompasses 35:25
 defer 78:19                 10                          drafting 68:16 73:8, 9       47:13
 define 11:15                differently 42:25           drafts 67:17                endocrine 19:18 35:16
 defined 109:23              difficult 113:19            draw 99:18, 21              Endoscopic 40:4, 6, 9, 16
 degree 16:5 31:22           diffuse 97:22               drawing 88:24               English 16:20
  94:25 103:9 107:16         dilute 102:9                drawn 96:21                 entail 19:15
 DEKALB 119:6                directory 45:15, 17         drink 101:21, 23 102:11     entails 21:15
 delays 86:23                 46:10                      drinking 102:17, 20         enterologist 20:16
 deleted 59:20               discharged 14:11             103:3                      entire 18:2
 demonstrated 92:13 96:2     discipline 37:22            drinks 101:14 102:18        entities 43:1 54:23 55:8
 denotes 105:24              disciplined 37:15           drive 79:10                 entitled 78:21
 Department 53:21 54:3,      disclosure 65:25 120:1,     driven 79:25                entity 120:10
 11, 14                      5, 12                       Driving 80:20               environment 82:25
 departmental 54:12          discount 121:2              drop 90:25 99:9             equally 109:14
 dependent 88:1              discoverable 68:25          dropping 93:5               ER 28:12 62:10 79:11
 depending 33:14 36:21       discovery 5:12 15:14        drops 89:25 90:7, 22         80:4, 23 82:3, 5, 20 83:5,
  75:6 111:25                 43:23                       93:7, 9                    6 85:13 104:4, 8, 17
 depends 11:15 20:9          discreet 30:22              due 118:5                    105:20 107:9 108:15
  80:21 82:25 86:22          discuss 24:1                duly 5:7                     110:25 111:1
 DEPOSITION 2:3 5:10,        discussed 6:10 12:14        duodenum 35:22 36:16,       ERIKA 1:9
 22 6:19 7:9 10:1, 20         58:20 61:5, 9, 16 106:14   18, 19, 20, 21              eroding 27:19
  44:12 47:21 48:13          discussing 71:14 93:21      duties 14:2, 6              errata 6:15
  65:20 66:6 73:14, 18, 19    117:2                      dying 87:2                  escapes 17:17
  75:7, 8 76:4 115:18        discussion 99:23 112:22                                 Esophagus 35:22 36:16,
  120:6, 9, 11, 17, 18, 24   discussions 43:15 72:1, 4   <E>                         18
 depositions 5:25 7:1        disease 30:20 36:3          earlier 84:12 88:14         Esquire 3:5, 14
  118:15                      61:21 63:17                 102:4 106:14 117:2         establish 30:1 32:18, 20
 deputies 5:20               disorders 21:4              easy 45:18 113:21           established 32:19
 DEPUTY 1:18, 19, 20         distinct 11:1               eat 102:11                  Estate 1:6 44:3
 derived 55:20               distinction 16:6, 8         eating 32:15 102:5, 17,     estimate 25:10
 describe 66:7 89:24         DISTRICT 1:1, 2             19, 23 103:3                evaluating 80:6
 described 74:18 86:4        diversion 82:4              eats 101:14 102:18          evaluation 103:21
 describes 99:9              divert 82:6                 education 16:2 17:18        evasive 40:12
 DESCRIPTION 4:13            divided 54:17                43:2 46:8                  evenings 112:2
 designated 119:10           DIVISION 1:3                effect 88:21                events 8:5 65:7
 destroy 68:7, 10            dizzy 93:10                 eight 12:13 47:21 92:4      eventually 12:2
 destroyed 68:13             Doctor 15:9 38:16 51:4       95:23 99:20                evidence 27:24
 detail 16:16                 77:11 95:17                Either 23:20 25:8 36:5      exact 75:1
 details 10:2                doctorate 17:1               47:24 53:5 55:23 60:17     exactly 7:24 32:18 63:2
 Detention 28:9 63:25        doctors 14:6 41:15           65:22 67:1 77:14 80:1       65:13 91:21, 24 117:12
  66:20 104:16 106:22         44:19                      elective 111:23 112:7, 8,   exam 84:1, 2 97:11, 20
 determination 8:16          document 10:13 15:7,        19 113:17, 18                98:15, 16, 24 99:3
  79:18 84:7, 20 105:9       20 43:22 44:5 87:11, 12     electronic 68:24            EXAMINATION 4:6, 7,
                              116:16                                                 8 5:14 111:17 115:5


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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 39 of 48    Page 5
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 44 of 180
 examinations 49:17          facility 49:11, 21 62:4     fluctuate 75:6               58:2, 6 60:17, 25 61:6,
  50:4, 5, 7 78:16            85:19 104:25 105:9         fluid 111:22                16, 20 62:12 65:24 66:2,
 examine 78:3 111:7          FACS 2:3 4:4                focus 17:7 25:23 43:3       4 68:21 69:18 70:14, 19
 examined 5:7 77:24          fact 16:10 50:2 64:11,      focused 19:19                71:5 72:11 74:16, 22
 examiner 78:19              22                          follow 45:20                 76:15 77:10, 11 80:25
 examining 15:20 44:5        factors 28:20, 22, 24       followed 27:22               81:16 82:18 84:9 86:20
  50:9 98:19 116:16           30:17 112:16               following 120:12             93:16 94:19 96:22
 exceeded 105:5              facts 70:23 72:24           follows 5:8                  98:20, 25 101:8 104:9,
 Excel 73:22                 failed 42:16                food 101:13, 20 102:1       19 105:6, 10, 13 106:9
 excluded 67:15              failure 88:10               foregoing 119:9, 11          107:20 108:3 109:17
 Excluding 75:14             faint 90:25 93:11 99:16,    foregut 35:19, 21, 23        110:22 111:15, 16, 18
 excuse 31:18 101:16         19                           36:8, 9, 11, 12, 14         115:3, 11, 17, 22 116:2
 Executive 54:4, 7           fainting 93:12, 13 100:16   forensic 78:16               117:4 118:8, 10, 12, 17
 EXHIBIT 4:14, 15, 16,       fair 62:11 73:7 75:14       form 5:13 9:15 16:9         Gardner's 71:8
 17 10:13, 14, 16 15:7, 8,    101:2 115:25                26:9, 23 27:3 28:18        GARY 3:13
 10 17:13 34:4 43:20, 21,    fall 20:8, 14 21:5 36:10     60:25 65:1 66:8, 12        gastric 20:5, 8, 15, 16
 22 46:14 47:5, 13 56:11      93:10                       70:24 72:17 80:25           21:5 23:19 24:2 25:9,
  58:10 73:10 107:5          falling 100:1                81:16 86:20 93:16          14 26:5, 8, 15 27:16, 17,
  111:11 115:24 116:4, 15,   falls 20:12 21:7 54:12       94:19 101:8 104:9, 19      18, 21 29:3, 12 30:2, 5,
 17                          family 5:21 12:4 80:2        106:9 107:20 108:3         12, 18, 24 31:3, 7, 18
 EXHIBITS 4:10, 11, 13        114:1, 15                   110:22 120:5, 11            32:3, 8, 18, 20 36:4 45:4
 exist 67:2                  far 112:11                  formal 33:7 39:1 42:10       78:22 88:16, 22 89:15,
 existed 9:8                 fashioned 49:17             formally 41:7               16 97:18 102:6, 9, 10
 exists 23:21                fast 81:15, 21              format 65:22                Gastroenterologist 26:16,
 exits 36:25                 faster 81:9, 12 94:17       formation 29:14             17 27:11 31:16
 expect 63:5 97:2 98:18,     fat 23:21                   formed 26:22 27:2           gastroenterology 17:8
 22 104:25                   FATIMA 1:11                  89:11                       21:11 26:20 27:8
 expected 98:16              February 118:3              forming 16:15 58:16         Gastroesophageal 36:3
 expeditiously 80:18         Federal 68:22                73:8                       gastrointestinal 20:20
 expense 114:6               FedEx'd 118:10              forth 20:2 33:11 43:6        21:4, 6, 9 40:3, 6, 16, 18
 experience 22:2, 6, 9, 24   fee 45:16                   forty 72:9                  gastrologist 27:14
  49:2 52:19 53:9 78:16      feel 61:4 68:4              found 37:1 57:4             general 18:11, 24 19:5,
  81:2, 3 83:22 86:14        fellow 20:21 21:9 38:22     foundational 16:13          10, 13, 14, 20 20:1, 12, 17
  94:1, 3, 13 97:11, 15       43:7                       four 63:7 113:2 118:12,      21:7, 15, 18, 21, 23 23:24
  99:2 100:13 106:5          fellowship 22:11, 13, 20,   15                           24:17, 18, 21 25:5 26:25
  110:1                      25 23:4 33:6 35:11          frame 85:14 86:13 87:9       27:5, 14 33:16 35:5, 7,
 experienced 61:23 62:13     felt 89:20                   110:19                     15, 16 36:15, 16 37:16
 experiences 53:5, 9         field 17:12 19:1 21:6       free 79:14 80:6 83:18        39:4 47:10 48:5, 10, 11,
 expert 14:24 26:4, 7, 13,   figure 9:21 32:2 48:14       97:9 104:12                18 50:8 51:21 52:3, 5
 19 27:7 45:10 46:9, 12,     FILE 1:14 58:3              FREEMAN 3:13                 57:3, 21 58:17 74:8
 18, 22, 24 47:23, 24, 25    filed 46:16 57:25           Friday 112:5, 6, 9 114:24    79:16 80:9, 11 81:1, 4,
  48:6 53:2, 16, 17 55:20    files 65:14, 15             Fridays 111:23              10 83:4, 20, 23 85:17
  57:5 60:9, 21 68:23        final 21:22 95:22 99:8      friend 1:9, 11 80:1          86:6, 13 94:3 112:3
 expertise 14:19, 20         financial 121:2             friends 114:1               generally 20:3 21:13
  26:12, 15, 23 27:1, 5      financially 119:18          full 5:16 82:5 94:9          25:19 62:6 66:8 111:23
  38:6, 18 47:9 48:6, 8      find 7:16, 18 8:10          function 46:8                115:1
  56:25 58:17 99:1            24:23 63:2 66:11 97:21     functions 35:17 55:3        generate 90:18
 experts 72:2, 5              98:15, 22 113:10           further 17:25 35:7          George 12:18
 expire 24:6                 fine 18:16 32:3, 5 45:20     79:20 80:15 83:7 90:23     GEORGIA 1:2 2:7 3:8,
 explanation 61:21 101:6     fingertips 90:18             118:8 119:14               17 11:7 24:10, 12 119:4
 exponentially 94:4, 14      finished 68:11              Furthermore 103:13           120:4, 13
 extended 54:20              firm 61:17 98:1, 6, 12      futile 109:7                germane 68:4
 extent 49:24 68:22          first 5:6 18:20 36:24                                   get's 88:6
  70:25                       46:15, 17, 21 47:3 56:13   <G>                         getting 41:18 78:25
 extra 18:3 33:10 43:4        60:8 62:23 114:5           gal 112:19                   81:20 82:14 85:11 91:1
  76:6 104:22 117:21         fit 40:14 100:16 113:11     Galleria 3:15                114:11
 extreme 81:7                five 11:17 35:2, 3 75:3,    gaps 24:11                  GI 40:8
 extremely 26:10 98:9        4 89:18                     GARDNER 3:4, 5 4:7          give 40:19 42:12 47:18
                             fix 23:8                     6:11 7:6, 12 9:15 26:9      57:13, 15 62:16 68:18
 <F>                         flow 29:24 100:16            27:3 28:18 29:10, 16        81:1 91:7 115:17
 facilities 49:18, 24 59:1                                38:11 55:14, 17 57:9


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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 40 of 48    Page 6
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 45 of 180
 given 5:22 14:20, 24        hall 73:3                     hours 11:4 33:12 73:15,    indication 83:18 100:10
  43:24 47:14 65:5 71:11,    handful 52:22                 21 87:10 89:21, 23 95:2,   indicator 93:14
 18 98:17 101:13 114:25      hands 23:13 26:2              3 118:12                   individual 61:22 96:10
  115:2 121:2                handwritten 67:24, 25         Huddleston 44:3            individually 1:16, 17, 18,
 giving 53:16, 17 62:24      happen 82:2 103:22            Hudson 11:24, 25 12:9      19, 20
 glad 52:13                   112:7                        hundred 75:3, 4 118:5      individuals 54:25 86:1
 go 11:18, 22 12:8 16:1      happened 78:13 79:7           hung 113:4                  88:1 95:19
  25:13 29:11, 16 37:7       happens 52:17 78:24           hurt 98:11                 infirmary 65:16 91:23,
  40:5 49:17 51:9 70:12       90:23                        hurts 98:10                25 92:4 93:12, 13 95:23
  71:24 72:15 79:18, 21      happy 6:7                     hypotension 93:4 99:11,     97:16 99:20 105:5
  82:7, 8 95:5, 7 97:12      hard 9:20 91:16 111:22        23 100:6, 18, 23 101:3      107:12
  102:11 104:16, 17 105:2,   HARRIS 1:16                   hypotensions 99:14         inflammatory 98:4
 13 110:22 114:23            head 50:21 99:16              hypotensive 90:25          inform 22:25 34:3
  115:12 118:15               101:15, 17, 20, 21, 22, 24   hypothetical 78:1          informal 22:5
 goal 84:24                  Health 18:6 22:12 33:6                                   information 8:1, 2 10:1
 goes 75:23 87:13, 14         38:24                        <I>                         44:8 64:25 65:6 66:10
  88:25 90:3 91:4, 5 94:4,   healthy 88:4, 11              idea 41:25                  67:5, 10 68:6, 9 69:6, 12
 18                          hear 57:14                    identification 10:14        76:22 89:7 112:25
 going 10:13 15:2, 7         Heart 8:23 9:1 29:7            15:8 43:21 116:4          informed 17:12 22:1
  16:1 18:9 25:1 27:10        88:10 90:18 92:14 93:8       identified 65:24            23:4
  31:22 32:4 33:3, 5         held 43:11 51:19 65:21        identify 7:24 30:4         initial 60:19 68:18
  44:17 48:13 52:20 53:6,    help 8:13 18:22 22:21         identifying 68:8            80:24
 7 58:9 61:23 62:15, 16       55:2 65:1 66:8 72:23         ignorance 20:20            injury 30:21
  67:22 68:21 70:19 71:3      102:20                       ignored 32:25              inmates 49:10 50:18
  82:1, 11 83:9 84:7, 25     helped 8:15 66:23             ill 96:13                   58:23
  87:6, 11 88:5, 10, 24      helpful 6:13                  immediately 81:6 82:10     inpatient 53:7
  93:18, 20 95:6 97:3, 6,    Henry 12:22 53:19, 20,         84:24 101:1 104:13        inpatients 51:14 52:1, 6
 16, 24 98:4 99:8 100:22     21 54:8                       impacted 88:17             inside 11:3 51:10 90:24
  102:13 103:3, 22 105:20,   here,"that 102:15             implying 87:2              inspect 83:9
 22 106:3, 25 108:15         hereto 4:11                   impression 81:2, 10        inspection 83:8
  109:10 110:1 112:23        hernias 50:10, 18 51:25        85:17 94:3                instance 19:25 27:7
  114:6, 10 116:24           hesitation 60:21              impressions 68:19           35:14 54:11 73:4
 gonna 87:3                  Hey 58:2 118:17               improved 32:15             instantly 72:21
 good 40:19, 20 42:8, 10     high 12:12, 17, 18 83:3       Inaccurate 94:22           institution 49:8
  54:24 97:20 98:15          higher 88:11 96:11            incident 10:6 30:22        instructor 38:23, 24
  118:13                      114:13                        67:8 70:5, 8              instruments 23:18
 GORDON 1:17                 Historically 19:20            incision 84:22             insulate 23:18
 gotten 25:17 41:14          history 15:2 16:20            incisions 23:17            insurance 112:21 113:1
 Governance 53:19             32:19, 20 63:16 64:1, 9,     include 34:22 48:2         intend 77:7, 9 98:5
 graduated 16:2              12, 18 66:22 80:14 84:3        73:19 76:10 81:25         interaction 102:6
 grandchildren 13:4           97:1, 2, 10, 12               98:14 99:23               interest 17:8, 9 19:23
 grant 43:6                  hits 104:13                   included 76:11              35:13, 19
 graph 69:16, 21 111:2       hold 51:13 113:3              includes 73:17             interested 22:18 119:18
 greater 106:6, 7, 11        hole 23:20 86:24              including 56:18            interesting 52:14, 15
 grew 11:14, 15              home 89:18                    inclusive 76:8             interests 35:18 36:5
 group 13:10 35:17           honorably 14:11               income 55:19               intern 18:11
  37:22 54:24                hopefully 54:23               incorrectly 44:23          internal 21:20 37:22
 grow 12:3 88:13             hospital 24:23 51:8, 13,      increase 41:25 87:1        internally 62:15
 growing 31:21 114:10        19 53:8, 19, 20, 21, 24       increased 93:21            Internet 45:14 67:8
 guess 14:23 16:12            54:8, 11, 16, 17, 18, 22     increases 86:25 94:14      internship 18:18, 24
  18:11 30:15 37:17           55:1, 4 79:10 80:1, 20        106:16                    interview 70:9, 20 72:7
  40:22, 24 42:4 43:1, 4      82:6, 12, 15 85:11 86:12     increasing 42:2             117:7
  47:21 49:16 60:13           114:3                        independent 67:7           interviewed 70:10 72:8
  61:12 73:17 74:19          hospitals 25:2 54:16          independently 91:21         117:2
  82:11 116:9                hour 75:3, 10, 12 81:11       INDEX 4:1                  interviewing 43:5
                              84:13 85:8 86:23 87:6,       indicate 80:7 83:19        interviews 10:4 42:11
 <H>                         13, 14, 15 89:1 93:22, 25      96:6 100:22                65:15, 18, 19
 hair 33:4                    95:2 106:16 113:2            indicated 10:9 74:20       intra-abdominal 19:19
 half 50:16 54:19            hourly 75:2, 8                 102:4                     intractable 32:25
 halfway 97:19                                             indicating 80:6            invasive 22:16, 20 23:10,



                                              Scheduling@TP.One                                 800.FOR.DEPO
                                                 www.TP.One                                      (800.367.3376)
Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 41 of 48    Page 7
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 46 of 180
 15 29:4 35:11 40:7, 17         19                          leadership 43:11           longer 14:9 29:24 54:2
 invasively 22:23 23:9          June 116:13 117:21          leading 11:4                90:1 94:17 114:12
 investigating 58:3             jury 13:14                  learn 62:23                 117:13, 14 118:15
 investigation 77:3                                         learned 16:7, 17 22:22     look 7:15, 21 20:19
 invoice 74:3 76:7              <K>                          23:5                       44:7 45:18 60:10 63:1
  116:14 118:2, 3               keep 68:2, 3 76:8 93:8,     leave 32:3 43:13            69:23 107:8
 invoiced 75:15 76:1            10                          Lee 11:7                   looked 7:16
 INVOICES 4:17 74:7,            Kennestone 28:12 85:22,     left 19:13, 21             looking 8:2 9:13, 25
 23, 24 76:16 115:14            24 86:2, 7, 12              legal 10:21 44:21 55:11     40:21 50:11 57:23
  117:17                        KEVIL 1:6, 7, 10, 12, 13     60:22, 23                 looks 46:15
 involve 57:18 70:22             103:10, 15                 length 87:1                lose 29:5, 6, 8 109:9
 involved 25:16 48:18           kidneys 20:2                lengthen 86:13             loss 103:14
  70:14 81:23 83:17             KIEARA 1:6                  level 29:5 43:4 54:9       lot 12:6 81:23 91:15
  112:16                        kind 7:2 19:1, 3 39:9       liability 61:7, 10, 13      112:16 113:16 117:13,
 involves 19:16                  72:10 74:9 98:7, 8, 11     liberty 104:16             14
 isolation 8:4                   112:3                      license 24:5, 10, 11       low 90:12 92:11 96:1,
 issue 6:22, 24 57:22           knew 63:25 71:16 72:21      licensed 51:4              18
  65:7 108:5                    knife 85:9                  licenses 39:13             lower 92:12 96:1, 7, 16
 issued 68:19                   know 5:24 6:7, 24 8:11      LIEUTENANT 1:17             106:8, 13
 issues 19:19 43:18 52:8         9:6, 23, 24 13:13, 14      life 8:14 103:15           lung 19:20
  56:20, 25 57:3 81:20           14:5 17:10 20:18 25:11     light 111:10               lying 99:15
  113:7                          30:8 32:1 33:23 37:20      liked 66:18                LYNDA 1:20
 itemized 74:7                   41:18 42:3, 21 50:14, 23   likelihood 88:18 108:2
 items 65:5 66:8 68:1            52:14 56:1 57:1, 18, 25    limitations 76:25          <M>
  107:4                          60:12 63:8 64:5, 11, 20,   limited 56:18              M.D 2:3
 its 120:25                     22 65:19, 21 66:16          line 21:2 100:5 106:20     maids 65:16
                                 70:11 71:13 74:17 75:1     linearly 94:5, 15          main 43:3
 <J>                             76:18 77:24 80:5 83:17     lines 22:14 39:9           mainstay 31:11
 Jackson 3:14 4:6, 8 5:9,        85:4 87:3, 8, 21 88:20     lining 27:17               maintain 33:19 39:21
 15, 18 6:9, 17 7:7, 8           89:1, 4 91:9 95:13 96:9    list 40:21 43:24 46:14     55:2
  9:17 10:15 15:9 26:14          100:11 105:23 107:1         47:9                      MAJOR 1:16
  27:6 28:21 29:12, 20           108:8, 19 110:4, 10, 14    listed 40:22 44:11 47:5    malpractice 39:11 44:24
  38:14, 16 43:22 55:16,         111:3 114:12 116:18         56:10 60:4 65:2, 10, 14   45:1, 2, 3, 12 55:9, 14
 18, 19 58:5, 8, 9 61:5          118:2                       66:24 74:8 76:20 107:4    60:23
  66:1, 3, 5, 7 69:1, 2 71:1,   knowing 9:19                listening 41:13, 15, 16    malpractices 55:11
 6 72:12, 15 74:14, 19, 24      knowledge 16:11, 13         literature 16:21 87:9      manage 34:16, 22
  76:17, 18 77:12 81:14,         22:2 23:2 27:14 30:17       88:20 94:7 106:23         management 59:1 78:22
 24 82:19 84:12 87:5             31:17 34:5 42:1 48:11      litigation 45:11 47:25     March 2:4 5:1 119:20
  93:20 94:22 96:25 99:7         64:12, 13, 16, 18 70:16     120:10 121:3              mark 10:13 15:7 43:20
  101:11 104:14 105:3            86:14, 15                  little 22:13 24:1 33:4     marked 10:14 15:8
  106:10 107:22 108:10          knowledgeable 26:11          36:13 53:12 73:22         43:21 116:4
  110:2 111:4 115:6, 16,        known 23:5 27:20             97:23 111:19              market 45:10, 13 47:8
 20, 23, 25 116:5 117:16         30:24 63:12, 14, 15, 18,   live 11:20, 25 12:11, 20   married 12:25
  118:9                         19 64:7, 8                   114:14                    MARSHALL 1:20
 jail 10:4 11:3 49:13                                       lived 12:23 102:15         materials 64:25 66:14
  50:25 51:2, 8, 11 52:20       <L>                         lives 11:8 96:14           67:4, 10 69:6, 12, 15
  53:6 58:23 64:11 65:18        lab 21:3                    living 114:8               70:4 72:20, 21 76:20
  95:13 100:1 103:24            lack 51:8 100:16 103:13     LLP 3:13                   MATHIS 3:13
 JANE 1:21                      laparoscopic 40:13          LOCATION 2:5 13:24         matter 10:18 71:13
 January 116:10, 12             lapse 39:17 45:22            51:12 65:21               72:17 76:2 108:21
  117:22 118:2                  lapsed 24:10 25:4           locations 13:24 98:10      matters 14:19 52:14
 Jesus 56:14                    late 65:8                   log 23:18                  MCPHEE 1:19
 job 50:19                      lawsuit 5:20 14:16, 21,     logic 42:4                 MD 17:18
 JOHN 1:21                      24 58:3                     long 8:17 11:16, 20, 25    mean 8:22 15:1 24:20
 journal 40:20 73:5 89:1        lawsuits 44:19               12:11, 23 17:22 46:11     39:10 49:16 50:23
 JR 1:12                        laxity 98:3                  65:12 72:7 73:12 80:23    53:16 55:14 63:14
 judgement 59:8 99:5            layer 23:21 104:23           84:1, 5, 21 85:4 108:20   90:11 95:19 103:4, 18
 judgment 59:4 78:19            laying 100:25                109:3, 5 112:14, 15       105:15 106:6 112:1
 Judicial 120:4                 layperson 59:4, 7            113:2                     113:24
 July 116:14, 19 117:1, 9,      lead 30:18 80:5                                        Meaning 6:17 18:17
                                                                                       82:4 93:4 94:17


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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 42 of 48    Page 8
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 47 of 180
 means 22:20 24:14             mobilized 114:1, 6          nonmedical 64:16            25
  82:5 90:15 98:1              mobilizes 80:16             non-perforated 102:7, 16    officers 64:17 65:16, 17
 MEC 54:6, 9, 12, 13           moment 5:18 71:23           nonsteroidal 27:22          Oftentimes 57:13
 mechanism 29:13 37:21          81:11 87:24 114:8          norm 96:10, 11, 16          oh 98:10
 med 58:6                      Monday 2:4 5:1 112:5,       normal 91:23 92:11          Ohio 11:24, 25 12:9
 medical 10:5 13:19            6, 9 114:24                 96:1 99:15                   16:3 17:1, 2, 15 49:22
  14:7, 19 16:13 17:1, 11      Mondays 111:23              normals 96:8                 51:7 52:17 53:6
  18:17, 19 20:7 28:8          money 76:2                  NORTHERN 1:2                okay 7:5, 7 9:4 10:8, 12
  31:3, 6, 9, 17, 22 37:15,    monitored 31:4              nose 29:6                    12:6, 8 13:12, 16 16:19
 20 38:25 44:19, 21, 23        month 25:10 63:1            notarized 6:23               17:10, 15, 20 18:5, 21
  45:1, 2, 3, 7 46:9 48:16,     112:13, 15 113:15 115:9    notary 6:14                  19:6, 8, 11, 24 20:7, 10,
 20 49:3, 22, 25 50:1, 2, 9,   Months 69:20                note 98:14                  13, 18 21:5, 8, 17, 19, 24
 17 51:4, 22 52:2, 7, 10,      morbidity 86:25             noted 64:9, 12               22:24 23:3, 14 24:10
 11, 16 53:2, 6, 8 54:4, 7,    morning 101:13 107:9        notes 67:20, 22, 25 68:12    25:4, 17 27:12, 16 28:5,
 9, 10, 16, 19 55:3, 14        mortality 86:25 87:6, 10,   notice 5:11 114:25          21 29:22 30:21 31:17
  56:20 57:19 58:22 59:4,      24 88:4, 7, 17, 21, 25      115:2, 7                     33:3 34:2 36:2, 7, 9, 13
 7 60:23 61:2, 3, 24 62:1,      90:3 91:3 93:21 94:8,      noticed 59:16 102:16         37:1, 3, 5, 8, 25 39:3
 3 63:16 64:1, 9, 12, 18       18 95:1 106:8, 13, 15, 24   noting 64:18                 40:15 41:1 42:12 44:2
  66:11, 18, 21, 24 71:17       111:1 114:13               nuanced 19:1                 45:3 46:14, 20, 23 47:8,
  73:5 78:19 86:16 94:25       mother 1:8, 11              number 34:1 56:2            17 48:2, 19 49:9, 20
  95:13 103:5, 9, 11, 14, 19   move 81:9                   65:15 75:1 88:13 91:7        51:6, 15, 24 52:3, 9 53:5
  104:3, 22 105:8 107:16,      moved 11:22 12:6            93:25                        54:1, 4 55:5, 11, 17 56:4
 25 108:7, 11, 14 109:4, 6      107:12 111:2               numbered 119:12              57:4 59:17 61:5 62:18
  113:7                        moving 21:1 110:12, 14      numbers 65:3                 63:9 64:21 65:23 66:7
 medications 31:8, 13           113:16                     nurse 48:22 59:4, 8          69:1, 14, 17 70:10 71:9
 Medicine 17:2, 16 21:20       multiple 23:17              98:23 99:2, 4                72:12 73:2, 20 74:5, 12
 meet 33:20                    multipurpose 97:19          nurses 65:17                 76:14, 17 80:19 82:24
 member 54:14 80:2             muscles 98:5                nursing 48:21 54:18          83:14 84:5, 12, 15 85:2,
 membership 42:5, 15, 19       MYERS 2:3 4:4, 14                                       7, 16, 21 87:5 90:4, 21
 memorable 52:19, 23            5:10, 15, 17 71:2, 3       <O>                          91:2, 17, 25 92:18, 23
 memory 45:22 87:12, 17,        111:15, 19                 O.C.G.A 120:19               94:24 96:19 97:5, 13
 20 88:25 91:21                                            Object 9:15 26:9 27:3        98:14 99:7 100:21
 memos 67:23                   <N>                          68:21 70:19, 25 71:5        101:11, 23 102:22 103:3,
 mention 87:5 101:12           name 5:16, 18 44:17          80:25 81:16 82:18          4, 5, 8 104:6 105:3, 13,
 mentioned 38:18 54:2          46:4                         86:20 93:16 94:19          18 106:13, 18 107:22
  55:22 71:9 88:14, 15         names 70:11                  101:8 104:9, 19 106:9       108:25 109:8, 11 110:16
  99:10                        nature 68:19 79:5            107:20 108:3 110:22         111:4, 14 115:10 116:25
 merely 62:25                  Nausea 32:14                objected 29:10               117:25 118:17
 met 5:18                      Navy 13:19, 20              Objection 28:18 29:16       old 49:16
 method 73:20                  nearest 82:15                60:25 84:9 96:22 98:20,    oldest 40:22
 Metro 13:7                    necessarily 42:1 54:22      25 105:6 109:17             omentopexy 23:21
 MEYERS 5:5                    103:4                       objections 5:12             on-call 105:8
 microscopic 29:5              neck 19:18                  obligations 48:24           Once 8:18 25:10 30:12
 mileage 76:10                 need 6:2, 6 24:25 55:1      observation 92:24            80:23 82:19 84:6, 20
 military 12:3, 4 13:16        72:10 84:19 113:6, 7        observe 93:1                 89:25 90:7 93:22 98:4
 mind 66:25                    115:7                       observing 99:19 100:19       99:11 109:9 112:21
 mine 84:16                    needed 59:19, 20 68:6       obtain 76:22                 113:5, 8
 minimally 22:16, 20, 23       80:15 105:4                 obtained 67:4               ones 7:24, 25 20:1 28:1
  23:9, 10, 15 35:11 40:7,     needs 79:18 97:12           obvious 40:9 81:18           29:1 31:24, 25 56:12
 12, 17                        105:2 113:12                Obviously 6:1 72:19          65:2 112:6, 7, 8
 minimum 75:18 118:14          neurology 19:25              79:3 91:5 102:25           online 45:15, 23
 Minor 1:10, 12                never 6:24 24:14 39:14      occurred 7:1                onset 32:24 79:4 82:13
 Minus 75:16                   57:14 66:25                 occurrence 62:14             95:2
 minute 32:23 79:8             new 33:15 109:21            offend 15:1                 open 57:12 82:7
  113:20 114:4, 14, 16, 21     nice 6:16 7:2               offense 15:5 39:10          opening 113:10
 minutes 72:9 73:25            night 59:14, 18 103:24      offer 48:9                  operate 20:1 42:25
  84:4, 11, 18, 19 85:1, 8     104:6 110:23                offering 59:6                79:19
  116:6, 20 117:1, 14          Nodding 17:21 24:4          offers 71:3                 operating 36:15 78:23,
 Mischaracterizes 109:17       50:6 79:23 80:8, 10         Office 5:20 61:6 62:7, 9    24 79:1, 19 113:25
 misnomer 19:12                82:17 99:17 101:25           71:8 111:24 112:20, 22,     114:7
                                                                                       operation 82:14 86:6


                                              Scheduling@TP.One                                  800.FOR.DEPO
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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 43 of 48    Page 9
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 48 of 180
 opine 14:18 57:22              13                            perforate 26:15 31:19,      plaintiff 56:5
  62:20 78:13 85:14             paper 41:2                    23, 25 32:5                 Plaintiffs 1:14 3:3
  108:6                         papers 40:24                  perforated 20:12 23:12,     plaintiff's 56:16 57:1
 opined 108:15                  paragraph 92:3 95:6, 8,       16 25:16, 20, 22 26:1        61:6
 opining 56:20 104:15           22 97:15, 20 99:8              36:10 69:24 78:22          plausible 101:5
 opinion 16:23 23:4              101:13                        79:15 80:7 83:2, 19        playing 60:24
  26:24 27:2 28:5 30:15,        Parkway 3:15                   86:2 88:21 94:8 97:25      pleadings 10:21
 16 48:9, 16, 19 57:14, 15      part 13:9 18:13, 15            102:13, 19 103:25 104:7    please 5:15 9:11 14:22
  58:21, 25 60:9, 22 62:11,      34:21 52:5 90:15              106:21 108:17, 23           44:18 59:5
 16, 20 63:24 64:4, 21          participate 70:17 71:6         109:15                     pleasure 118:19
  65:1 66:9, 13 70:24           participated 69:14 70:3       perforates 79:25 97:19      point 6:6 8:14, 24, 25
  73:8 75:12 89:14 93:14        particular 13:24 19:23        perforating 30:18            9:10, 14, 16, 17, 20, 21
  96:6 101:10 102:22             27:15, 23 33:23 35:13,       perforation 20:13 24:3       28:4, 25 29:23 31:20
  103:5, 9, 13, 16 104:3, 10,   19 50:10 51:9 76:7             25:9 30:13 63:11, 13        34:1 44:9 68:5 73:14
 18, 24 107:24 108:1, 25         83:12 88:18 113:12            64:7 78:25 82:14 86:24      79:1, 17 80:11, 15 83:24
  109:2                         parties 119:15, 16             87:6, 25 89:15, 21 93:22    84:2 86:18, 19, 22 88:5,
 opinions 16:9, 15 17:12         120:10 121:1                 perform 35:17 36:9          8, 12 90:1, 3, 8 91:3
  22:3, 25 26:22 27:8, 9        parts 103:23 113:16            50:25 77:4 82:21 84:7,      93:15, 18 95:1 97:3, 7,
  34:4 53:10 58:11, 13, 16      party 14:16 120:9, 22         21 98:23 99:3 112:4         21 98:15, 19, 22 100:11,
  59:3, 6 61:2 62:19 63:9        121:2                        performed 77:1 98:16        15 102:5 103:17 104:2,
  67:14 70:8 71:3 72:17,        passed 78:1, 4, 9 106:18      performing 14:4 114:24      6 106:20, 25 107:17, 23
 21, 24 78:2 89:11              passing 106:16                period 17:24 18:2, 3         108:8, 9, 10, 13, 16, 23
 opposed 57:2 62:25             patch 23:22                    22:4, 15 78:8               109:2, 4, 11, 12 110:18,
  88:9                          patient 30:1, 12, 24          periodically 74:3           21 112:9
 opposite 102:14                 31:12 33:1 54:24 61:3,       periods 38:1                pointed 79:6
 optimized 113:8                22 62:6 79:2, 16, 18          Perioperative 53:19         pointing 98:21
 options 30:25 31:1              80:13, 16, 20, 21 81:4, 22   person 89:18 104:11, 15     population 96:9, 16
 oral 68:24                      82:3, 7 83:9 84:6 86:17,      113:6                       100:15
 order 27:23 55:2               23 88:18 89:4 93:23           personal 94:1               portion 36:24 99:24
  113:16                         97:25 98:19 113:11, 22,      personally 61:3 83:5        Portland 18:6, 7 38:25
 Oregon 18:6, 7 22:11,          24 114:19                      86:7                       portray 27:10
 12 24:6 33:6 38:24             patients 22:19 25:8, 13,      personnel 64:17             portrayal 69:23, 25
 organization 13:9 42:16        19, 22 34:14 48:24            persons 53:3 55:7           position 21:14 34:9
 organs 36:1                     51:16, 23 62:9 81:7, 17,     perspective 111:8            70:20
 original 40:24 41:1            19 89:20, 22                  pertain 60:23               positions 37:13 38:19,
 orthostatic 93:4 99:10,        patient's 84:3                pertaining 60:6             21 39:1 43:11
 14, 23 100:6, 18, 22           PAUL 1:18                     Philadelphia 11:13, 16      possible 88:16 93:14
  101:3                         pay 45:15                      17:16                      possibly 111:9
 outlined 103:17                payment 118:9, 10             phone 60:15 108:22          post-operative 89:17
 outside 14:23 18:3 49:8        PC 34:8                        113:2                      post-perforation 26:5
 overlap 27:13                  peeled 19:22                  phrase 46:23                 87:10
 overnight 76:6                 peer 94:6                     physical 80:14 84:1         postpone 114:16
 oversee 14:6 54:15             peers 42:9, 11 43:6            97:1, 2, 20 98:15          post-rupture 23:14
 oversees 54:10                 pending 57:11                 physically 66:12            poured 101:21, 23
 oversight 43:4                 Pennsylvania 24:6             physician 18:23 81:3        practical 5:25 108:21
 Oxford 16:20                   people 20:25 21:1 29:6,        85:13 98:18 103:6, 21      practice 19:15 20:7
                                7 30:9 42:3 50:9 54:21        physicians 34:18 46:8        24:8, 11, 25 25:18 33:8
 <P>                             63:19, 21, 23, 24 64:2, 3     54:20 79:13                 37:22 49:25 53:12
 p.m 2:8 97:18 118:21            79:7 90:24 100:13            physiological 88:2 89:15    practiced 39:3
 PAGE 2:1 4:3, 13                102:10 103:24 114:5          pick 108:22                 practices 34:16
 10:12 15:15 78:21              peptic 24:2 25:9 63:12,       picture 70:2 112:3          practicing 51:3
 89:14 92:3 95:6, 8, 22         14, 16 64:7, 8, 19, 23        pictures 69:16, 21          practitioner 22:7 23:7
 97:15 99:9 101:11              percent 8:20 9:2 55:19,       piece 89:6                  precertification 113:1, 5,
 116:15                         21 56:6, 7 87:13, 14          Piedmont 53:20, 21 54:8     9
 pages 60:5 65:3 76:20           88:4, 5, 7, 12, 25 93:21     pinpoint 32:23              precise 107:7
 115:19 119:12                   106:7, 8, 13, 24 110:25      Pittsburgh 11:19, 20, 23    predate 18:14
 paid 118:12                     111:1                        place 55:1 65:7 66:22       predating 66:19
 pain 32:14, 24 33:1            percentage 56:4 87:24          86:5 119:10                predict 31:24
 79:5, 9 81:7 95:9 98:11         88:11 91:6 106:14            placed 77:1 92:4 95:23      preparation 10:6, 20, 25
 102:10, 12, 17, 18 104:11,      111:2                        places 53:13                 11:1, 2 28:9 67:20
                                Perez 56:14, 19


                                                Scheduling@TP.One                                   800.FOR.DEPO
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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 44 of 48   Page 10
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 49 of 180
  69:14 73:17 75:11             produced 15:14 74:15,                                      records 28:8, 13, 15, 19
  87:19                         21 116:22                     <Q>                           60:4, 5 63:2, 20 64:2, 14
 prepare 7:8                    producing 70:12               qualified 57:5 61:4           65:12 66:19, 24, 25
 prepared 10:1 59:23            production 70:3, 14, 17       98:23                         68:10 73:9, 12 91:10
  60:1 63:5 69:5, 11, 13        productive 21:1               qualify 42:17 49:6            92:15, 16 107:8, 10
 preparing 73:13 117:10         profession 42:9               quantifiable 106:2           recovering 114:3
 pre-perforation 26:8           professional 39:20            quantify 94:8 106:15         recovery 89:17
  32:7                           42:16 103:9                  question 5:13 29:11          reduced 102:17
 present 62:7, 9, 10            professions 26:12, 14         32:2 52:12 83:13             reestablished 15:22
 presentation 41:8 79:11        profuse 90:1, 9, 11, 14, 15   108:13 109:21 116:18         refer 40:10
 Presentations 41:4             profused 91:1                 questions 15:2 39:10         referenced 35:18
  43:16, 17                     profusing 90:17 93:6          69:22 71:11 111:7, 14        references 42:12
 presented 41:5                 program 20:25                 115:3, 10, 21 118:7          referral 120:9, 23
 presenting 26:19 41:12,        progression 30:19             quick 38:12 80:13, 14        referring 92:9 95:18
 23 53:1                        prohibited 120:18             115:16                        98:13
 pressure 8:23 9:1              prompts 81:8                  quite 7:23 90:22             refine 78:2
  89:25 90:7, 12, 13, 19, 22,   pronounce 36:22               quote 87:11 96:8             reflects 100:9
 25 92:11, 12 93:4, 7, 9        proper 55:2 88:6                                           reflux 35:20, 25 36:3
  95:25 96:2, 4, 7, 14, 15      provide 25:12 34:14           <R>                          Regan 44:3
  99:9, 15                       43:2, 4 46:10 49:23          radical 100:14               regarding 101:3
 prestige 43:8                   50:2, 7 51:18 54:24          range 19:17 92:11 96:1       regards 27:15
 pretty 12:15 97:11              61:1, 2, 21 78:8, 10         rank 13:25 28:2, 4           Regional 15:23
 prevent 31:2                    108:14 120:16, 21            rate 8:23 9:1 75:2, 9,       regular 100:15
 previous 92:15                 provided 23:8 48:21           11 76:4, 5 87:6 88:4, 7      regulate 55:2
 previously 53:18 55:22          64:25 65:10 66:15 70:8        92:14 93:22 94:4            Regulations 120:3
  74:15, 21                      72:25 73:9 102:2, 18         rates 75:9 121:1             relate 95:11 97:16
 print 76:15                     103:10 105:5 107:25          reach 62:18, 20 90:22        related 95:9
 prior 67:17 73:14               108:11                       reached 77:13 106:25         relates 21:11
  92:13 96:2                    providers 54:21               reaching 16:16 76:22         relation 89:24
 prioritize 83:1                provides 16:10 54:19          reaction 89:23 90:2          relative 119:14, 16
 priority 83:3                  providing 14:15 19:16         read 7:6 38:7, 18 77:20      relatives 13:6
 prison 49:14, 23, 25            22:18 46:7, 9 58:21, 25       87:18, 21                   relayed 95:20
  63:23 105:8                    60:9, 21 101:7               reading 6:10 64:2            relegated 20:3
 prisoners 49:7 51:14           provision 45:7 53:2           real 115:16                  relevant 28:16 67:14
  52:18                          57:19 58:22 62:3             reality 84:25                relied 22:9 70:24
 privileged 70:21, 25           provisional 49:3              really 52:13 61:12           relief 102:12
 privileges 15:22, 24           public 71:2                    86:21 98:11 114:17          relieve 102:23
  24:24 39:14, 17 53:23         publication 40:21             reason 100:1, 4, 10          relying 58:17 59:4, 7
  85:19                         publications 43:16, 17        reasonable 31:22 48:16,       89:10
 probability 105:24              45:14                        20 103:9, 10, 18 104:3, 7,   remain 6:13
 probable 106:6                 published 38:9, 10 41:1       21, 24 105:14 107:25         remaining 56:7
 probably 7:5 29:15, 17,         89:2                          108:7, 11, 14, 20 109:5,    remark 91:22
 18 48:1 81:10 84:25            publishing 21:1               23                           remember 28:25 40:1
  93:4 96:13 97:6, 7            pulmonologist 113:8           reasonableness 48:20          44:6, 9 57:12, 17, 23
  102:16 105:17 106:4, 24       pumping 93:8                   59:3, 7                      60:10, 20 65:13 69:20
  110:24 111:8 114:9            pure 60:13                    recall 34:3 96:3              87:15, 16 89:7 91:20, 24
  117:5                         purely 96:24                  receive 104:25                92:16 93:24, 25 95:12,
 problem 23:9 27:15             purpose 99:1                  received 43:23 105:14        15 116:21 117:12, 15
  45:23 112:19, 23 115:2        purposes 5:11 18:18           recertify 33:25              remove 114:12
 problems 52:2, 6 114:11         26:22 45:11 56:21 72:8       recognize 10:15 15:9         rendered 10:18 53:10
 Procedure 68:22 112:20         pursuant 5:10 120:2            105:1                       rendering 48:15, 19
  113:12, 18                    pursue 58:4                   recognized 105:4              64:21
 procedures 22:17, 21           purview 49:8                  recollection 89:11 117:8     repair 23:20
 proceed 112:24                 push 98:2                     recommend 112:23             repaired 89:15
 proceeding 118:21              pushing 98:10                 record 5:16 7:3 9:8, 12      rephrase 14:22 25:18
 proceedings 119:9, 13          put 64:13 68:8 73:23,          38:15 71:1 72:14, 24        REPORT 4:14 7:10, 13,
 process 24:2 41:18             24 81:6 87:9 101:18            91:17 107:4 110:2           16, 17, 19 10:2, 7, 9, 10,
  43:5 72:16, 18 73:7            102:15 107:10                 115:12, 13, 21 118:20       18 11:1 24:1 27:9
  85:4 86:4, 7, 22              putting 107:3                  119:13                       28:10 58:10 59:10, 15,
 processes 61:22 83:17          Pylori 30:3, 4, 6, 10         recorded 8:4, 7, 12          21, 24 60:2, 6 63:3, 5
                                                               71:15 107:2                  65:2 67:11, 13, 15, 18, 21


                                                 Scheduling@TP.One                                   800.FOR.DEPO
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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 45 of 48   Page 11
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 50 of 180
  68:5, 11, 16, 20 69:3, 7   returned 92:4 95:23          SAGES 39:22, 23 40:2        serves 91:22
  70:4 73:9, 13 76:21        reveal 28:19, 20              42:20, 22 43:7             service 14:13 51:22
  77:20 87:19 88:15          revealed 28:22               Saturday 112:1              services 19:16 33:6
  91:20 97:14 99:13, 24      review 6:17 7:13, 22         saving 8:14                  34:14 51:1 54:18
  100:5 101:12 102:4          10:21 59:13 65:12           saw 12:2 28:24 109:9         104:12, 22 120:7, 16, 21
  107:10 111:12 116:23,       66:15 67:1, 25 71:19        say,"it's 103:8             set 92:5
 24                           72:16, 20 73:4 80:14        saying 8:24, 25 29:20       sets 100:25
 REPORTED 2:12 11:3           84:2 91:10, 17 107:4         40:15 41:14 49:6 64:8      setting 45:8 49:14 58:23
 reporter 6:1 119:2, 25       119:10                       73:4 83:11 94:13 103:2     settlement 70:21
  120:1, 5, 8, 13, 23        reviewed 28:8, 12 47:2       says 15:16 106:23 117:9     seven 12:13 47:20 89:18
 reporter's 120:8             59:10 60:5 66:6 67:4        says,"once 78:23            severe 32:24 79:5, 9
 Reporting 120:3, 7, 16,      68:12 72:21 77:12 94:6      scale 87:9                   89:16, 19, 21, 23 90:2
 21, 23                       95:20 116:10                scanned 7:24                 104:13
 reports 59:23 60:1          reviewing 59:18 73:8,        scenario 8:19 79:4, 14      sew 23:20
  95:16, 18, 19              12, 23, 24 74:10 76:20        80:24 83:2 84:10 88:8      sheet 74:1
 representative 120:14        116:12 117:10               schedule 111:20, 21, 25     Sheriff's 5:20
 representatives 60:18       revoked 24:15 39:14           112:15 113:10, 13          shock 90:3, 10 91:3, 11,
 represented 56:12           right 5:9, 24 6:4, 8 12:8    scheduled 112:5, 8, 12      12, 13 92:22 93:2, 15, 18,
 representing 5:19            16:12 20:16, 22, 23          113:17                     23 94:9, 10, 11 95:2
 requested 69:2 74:17         21:17 23:23 27:6 32:12      school 12:12, 17, 18        short 16:20
  95:17 119:11                33:24 37:9, 11 41:21         50:17                      shorten 86:12
 require 100:20               43:20 48:11 50:23 51:3      schools 52:16               showing 79:14 81:8
 required 33:12               52:13 57:15 58:9 62:18      science 16:5, 8              93:3, 12
 requirements 33:18, 20       64:15 65:20 66:1, 5         Sciences 18:6 22:12         shown 69:16, 21 70:2
  38:4 42:5, 19               72:10 74:18, 19 77:20        38:25                      sick 81:18 83:1, 3
 research 20:20 21:3, 6,      78:10, 14 80:3, 21 82:8,    scope 40:10 46:5 98:25      sicker 94:1, 4
 9 67:7 72:23                11, 16 83:24 84:24            105:6                      side 52:7 57:2
 reserved 5:12                86:16 90:18 92:3 94:16      SEAK 45:24, 25 46:2,        sift 66:10
 reserves 13:23 14:9          96:25 97:3, 4 99:8          12 47:8                     sign 92:16 93:5
 reservist 14:8               102:8 104:10 106:8          S-E-A-K 46:1, 3             significantly 92:12 96:1
 Residency 17:19, 20, 25      109:2 110:5, 9, 11          SEAK's 46:5                 signing 6:10
  18:1, 2, 14, 15, 20, 25     115:11 116:5, 8 118:1, 7,   sealed 86:25                signs 8:3 9:19, 21 81:8
  22:22                      13                           second 7:22 50:16            89:25 91:15, 16, 22 92:1,
 resident 18:10 19:3         rights 60:24                  100:4 101:12               5, 8, 17, 20 93:3, 11, 12
  21:13 38:22 50:17          rigid 97:21 98:1             section 41:4 78:21           96:12, 24 100:20, 21
 Resources 82:22, 23         risk 28:19, 21, 24 87:2       97:13                       105:19, 21 106:25 107:6
 respect 9:9, 13 10:5         106:14 114:13               secure 53:7                  109:9, 25 110:4
  22:2 27:8 48:23 55:3       Road 11:7                    secured 51:12               similar 20:19 41:11
  58:21 60:8 63:9 65:17      robotic 33:11                security 48:24 51:10, 19    simple 76:9 79:13
  68:16 69:3, 6 70:5, 20     room 78:23, 24 79:1, 12,      64:17                       112:17
  72:2, 5 77:1 99:18         19 81:3, 6, 9, 25 82:9       see 7:16 8:3, 6 12:12       Simply 36:15
 respiration 9:2              83:12 84:14 92:4 95:18,      28:15 51:23 56:24          sit 73:23
 respirations 8:23           23 97:19 99:19 103:21         59:18 66:24 79:16          sitting 100:25
 respond 80:13 100:13         104:23 105:2, 21 107:13      80:13 84:6 92:1 112:17,    situation 52:16 61:3
 response 88:2 89:16, 21      109:10 110:18               20 115:16                    111:8
  98:4                       Rooms 82:1                   seeing 92:16                six 12:1
 responsibilities 21:16      rotation 50:8                seek 104:12                 sketched 79:22
  34:11, 12, 15, 21          rotations 51:20              seen 7:1 66:18 89:22        skills 22:21, 22
 responsible 27:25           Roughly 37:4 75:3, 4, 5,      95:17 96:19 100:2          slow 81:15
 responsiveness 5:13         15                            103:24                     slower 81:13
 rest 56:16                  RPR 2:12 119:25 121:4        send 74:6                   small 23:17 29:23
 restrictions 76:25          Rule 70:22                   senior 33:18 54:9            36:24 118:4
 result 57:14                rules 5:25 33:15 68:22       sense 16:12                 smoking 27:23
 resulted 103:14              120:2                       sent 89:18 91:25 118:11     snort 29:6
 resume 15:18                rupture 30:22 31:2           sentence 95:8               social 13:10
 retained 46:24 47:1, 18,    ruptures 32:18, 21           sepsis 81:8                 societies 43:2
 23 48:9 56:5, 22 57:1       rupturing 62:14              September 65:8 92:6         society 39:24 40:3, 15,
  77:24 78:10, 13                                         septic 90:2, 10 91:3, 12,   17 42:16, 20, 24 43:9
 retainer 55:7, 9, 12        <S>                          13 92:21 94:10, 11 95:2     soft 19:17
  75:18 117:17, 18           safe 41:5 44:22              served 13:16                solitary 107:12



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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 46 of 48   Page 12
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 51 of 180
 Somebody 64:13               state 5:16 16:3 17:2, 15   summoned 84:6                  symptoms 32:4, 7, 9, 11,
 someone's 98:2 100:19         20:9 31:20 49:22, 23      Sundays 112:1                  13, 16 62:7 93:18 102:6,
 soon 104:17                   51:7 52:17, 18 53:6       supervision 51:4               23
 sore 98:11                    119:4                     supplemental 59:23
 Sorry 30:14 44:6 48:12       stated 109:21, 24          supplied 67:10                 <T>
  76:4 83:15 90:6             statement 94:21 108:4      supply 29:5, 8                 T0 87:24
 sort 5:24 6:3 8:19 80:6       109:12, 13, 19, 20, 25    suppression 31:8, 12           table 82:14
 sorts 22:17                  statements 71:14 101:2     sure 5:24 6:3, 19 7:4          take 6:6 16:19 17:11
 sounds 19:12 118:1           STATES 1:1 41:22            13:12 38:14 52:19              19:2 22:21 24:8, 25
 source 67:5 120:9             120:4                      65:22 72:13 74:16, 17,         33:9 38:12 52:18 53:23
 sources 72:22 73:1, 2        stating 37:5 88:25         22 82:22 97:11                  59:10 67:20, 22 72:7
 South 34:8, 19 35:1           120:6                     surgeon 20:17 25:23             80:14, 16, 24 83:8, 10
  37:1, 6, 13, 23 53:13, 14   stationed 13:22             27:15 34:10, 13 35:7           84:3, 5, 25 86:5 96:20
 Southern 15:23               status 43:6                 36:15 37:6, 10, 12 40:6,       100:24, 25 101:1 104:8
 speaks 88:20                 stay 11:16 31:20 38:5,     7 58:18 80:9, 11, 16            112:14, 15, 25 113:15
 specialist 19:21             17 87:1 115:12              81:2, 4 83:4, 20, 23           114:25
 specialization 19:23         step 19:3                   85:15 86:6 96:23 97:10        taken 5:10 9:5, 7, 17
 specialize 35:7              stick 106:3                surgeons 19:20 20:1             31:2 65:18 85:21 91:18
 specialized 35:10            stipulated 93:24            24:22 34:23, 25 35:4, 5        95:17, 24 96:15 97:17
 specialties 42:8             Stockbridge 11:7 12:20      39:22 40:4, 16, 17 42:6        100:21 104:4 107:11, 15
 specialty 19:4, 7, 9, 21     stomach 27:18 35:22         43:1, 10 48:18                 119:9
  35:3 39:4, 7                 36:16, 18, 25             surgerable 25:21               takes 85:5
 specific 7:21 16:16          stones 112:19              surgeries 14:4 25:1            talk 6:3 7:3 23:25
  17:11 21:10 29:12 34:3      stood 93:5 99:15            111:24 112:4 114:24            41:19 45:21 49:9 62:12
  37:22 48:16 58:22 66:2,     stop 102:18                Surgery 14:3, 19 17:8           109:24 111:19
 3 74:1 86:11                 stopped 110:4               18:11, 12, 24 19:5, 10, 13,   talked 47:2 53:12 95:24
 specifically 37:16 50:14     strategies 61:13           14 20:12 21:15, 18, 21,        talking 8:6 21:20 38:17
  63:18 94:2 116:21           stress 27:24               23 22:15, 19 24:17, 18,         62:1, 2, 6 73:3 98:8
 specifics 44:7, 10 57:23     stretched 83:1             24 25:1, 5, 6, 24 26:25         117:5
  60:20                       stricken 57:7               27:5 33:11, 16 34:8, 19,      TAMIKA 2:12 119:8,
 spectrum 89:20               student 49:22, 25 50:1,    25 35:8, 12, 15, 16, 17, 20    24 121:4
 speculation 82:18 84:9       2, 9 52:10, 11 53:6, 8      36:8, 9, 10, 11, 12, 14       task 75:6
  96:22 105:10                studied 89:5                37:1, 6, 13, 16, 18, 23       teaching 38:19, 21 39:1
 spend 73:12                  studies 21:10               38:23, 24 39:4 40:18           42:1
 spent 73:17 74:13            study 17:25 18:3 22:1,      47:10 48:5, 10, 11 50:8       tech 81:25 82:21
 spilled 23:19 89:16          24 23:6 38:5 88:24          51:21 52:3, 5 53:13, 14,      technically 6:14
 spreading 114:14             studying 16:20             21 54:12 57:3 79:16, 18        technique 23:15 40:12
 spreadsheet 73:22            stuff 67:24                 80:17 83:8, 10 84:8, 11,      techniques 22:17 23:8,
 SR 1:6, 8, 10, 13            subject 71:13              21, 23 85:12 86:18, 19         10
 staff 10:4, 5 14:7 34:16,    subjects 62:20              87:4 112:14, 24 113:17,       techs 81:21
 22 37:6, 10, 12 48:21, 24    submitted 74:25            19 114:5, 16, 21               tell 5:7 20:23 22:12
  54:10, 16, 19 55:3 79:12    subpoena 74:21             surgical 19:16, 21 34:14        36:13 57:21 72:16
  81:9 95:13, 14 105:8        sub-position 102:24         42:7 61:24 78:22 97:8          78:24 79:3, 7 84:1
  112:25 113:10               subsequent 23:6             98:7                           97:11, 23 102:25
 stage 25:14                  subsequently 63:12         survivability 9:9, 14          telling 42:3 82:4
 stages 22:16 25:12           subspecialization 35:12     107:17, 23 110:17, 24         tells 79:14
  79:24                       subspecialty 19:22         survival 110:25                Temple 17:16, 22 18:1,
 stand 93:7, 9 101:1           35:14, 15, 16             survive 8:18, 20 88:5          3, 5, 9 20:21 21:9, 24
  108:5                       successive 19:3             105:20, 22 106:4, 19           23:6 38:24
 standard 61:23 62:1, 2       sudden 32:24 79:4, 6        107:1 110:1                   ten 43:18 55:21 88:7,
 standing 42:8, 10            suddenly 114:4             survived 103:12 105:15         12 106:24 110:24
 start 16:2 18:12 19:8        sued 39:11                  106:20 107:25 108:8, 12       tender 98:9 120:5
  27:19 31:8 34:12 73:23      suffered 63:11, 13 64:6     109:13 110:6                  tenderness 97:22
  82:9 88:10                  suffering 91:11            surviving 1:7, 9, 12 9:2       term 16:20 17:17 86:16
 started 18:10 31:4 33:1      suffice 53:1                108:2                          94:9
  37:10 46:13 104:11          suggest 92:25 93:1         suspect 97:7                   terminated 39:15
  106:24 116:12               suggested 85:7             suspended 24:15 39:14          terms 18:16 19:13
 starting 18:25 40:24         suggests 96:17             suture 23:21                    57:21 62:13 87:10
  44:2                        Suite 2:6 3:7, 16          sworn 5:4, 7 6:14, 21           100:7
 starts 17:9                  summer 16:20               symbiotically 54:23            terrible 114:17
                                                                                        test 30:4 77:14


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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 47 of 48   Page 13
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 52 of 180
 testified 5:8 44:15          today 10:6, 7, 9, 25 11:2                                 118:16
  46:17, 21 47:4, 22 48:3      19:9 23:1 27:2 70:24       <U>
  55:23 56:11                  75:14, 16 100:3 111:6,     ubiquitous 30:9               <V>
 testify 57:5 77:6 114:20     11                          ulcer 20:5, 9, 11 21:5        VA 38:25
  115:7                       today's 7:9 10:1, 20         23:12, 16 24:2 25:9, 15,     vacation 115:1
 testifying 63:6               73:17, 19 82:25            20 26:1 27:16 28:6, 17        valid 59:15
 testimonies 47:21            told 52:13 58:7 67:1         29:14 30:2, 11, 12, 13, 25   value 61:17
 testimony 14:15, 20, 24      top 16:2 23:22               31:7, 18 32:3, 8, 10, 11,    variable 82:12, 20 86:21
  43:24 44:12 46:24 47:6,     Total 48:1 73:16 117:18     16, 18, 21 36:10 62:13        variables 81:23, 24 85:3
 15, 18 53:16, 17 57:7        Townsend 56:14, 19           63:12, 14, 16 64:7, 9, 19,    86:11
  62:24 76:5 109:18           toxic 91:11, 12             23 69:24 78:25 79:25          varies 80:20
 testing 29:25 32:17 77:3     trachea 19:18                83:3 86:2 94:8 97:18,        variety 52:2
 Thank 14:13 55:18            tracking 73:21              25 102:7, 10, 13, 16, 19      various 33:10 85:3
  76:17 118:18                tract 40:8                   103:25 104:7 106:20          vaso 29:18, 20, 21, 22
 Thanks 111:16 115:11         training 18:17, 19 21:10     108:16, 23 109:14            verbal 6:2
 theories 60:22 61:7, 9,       22:1, 5 33:7, 10 48:23     ulcers 20:8 24:2 25:9,        verify 34:1
 12, 13                        49:5                       14, 22 26:5, 8, 15 27:21      versus 44:3 56:14, 19
 therapies 31:6, 9            transcript 119:11 120:12     29:3, 12 30:5 31:3 36:4      vessels 29:7, 23
 therapy 31:3                 transcription 6:19           45:4 78:22 88:17, 22         video 65:14, 15 66:6
 there,"witnesses 95:9        trash 68:8                   95:10 102:6                   70:12, 15, 18, 21 71:2, 7
 thing 6:4 114:17             trauma 20:4                 umbrella 36:11                 72:8 100:2 116:25
 things 22:14 42:13           travel 76:10                unable 92:21, 22 110:19        117:1, 7, 9, 11, 13
  70:23 81:9                  treat 23:16 25:8, 19        unavailable 114:23            videos 11:3 66:16
 think 30:4 38:16 52:14        49:7, 10 51:15             uncommon 32:25                 117:10
  72:9, 22 73:4, 15 77:14     treated 31:18 86:1          undergrad 16:19               view 20:13
  88:14 94:14 100:4           Treating 26:1               underlying 27:19 30:19        violation 60:24
  109:6, 7, 12 111:9 118:5    treatment 20:8 23:11        underneath 54:12              Virginia 12:10, 19
 thinking 102:25               25:12, 21 26:5, 8 30:25    understand 33:21 90:4         VITAE 4:15
 third 97:15                   31:1, 14 36:4 44:20         99:13 104:14 107:12          vital 8:3 9:19, 21 81:7
 Thirty 72:9                   51:18 53:7 89:1             108:19, 21 110:17             89:25 91:15, 22 92:1, 5,
 THOMAS 1:11                  TRIAL 3:4 44:15             understanding 46:5            8, 15, 16, 20 96:12, 24
 thought 7:25 22:18            47:21 56:13 76:5            61:19 62:12 79:25             100:20, 21 105:19, 21
  45:18 59:19 67:14           tried 39:6                   83:13, 22                     106:25 107:6 109:9, 25
  102:23 117:14               tries 43:3                  Understood 58:8                110:4
 three 95:3 113:2             true 102:1 109:14, 19,      undertook 21:25               vitals 8:6, 11, 15, 17, 18,
  115:18 117:16               22, 25 119:12               unemployment 38:2             21 9:5 91:18 95:24
 threw 101:15, 17, 20                                     uneventful 89:17               96:20 107:11, 15 108:9
 TIFFANY 1:5                  Trustpointe.One/Alderson    unfortunately 60:20            110:10, 15, 16, 19 111:5
 TIME 2:8 15:19 17:7           120:15, 17, 20, 25          89:3 91:7                    vital's 97:17
  21:24 22:15 28:4 33:25      truth 5:7                   unique 23:3                   voluminous 7:23
  34:1 44:9 46:17, 21         truthful 109:22             UNITED 1:1                    voluntary 39:18
  47:3, 14 50:10 52:9         try 66:11 76:8 102:11       University 16:3 17:2, 16      Vs 1:15
  59:5 63:20, 22 66:19        trying 9:20 32:2 56:24       18:6 22:12 49:22
  68:2 69:10 73:14, 16, 23,    80:19 83:16 109:11         unreasonable 109:6            <W>
 24 74:1, 4, 8, 9, 11 76:10    110:17                     unremarkable 92:7             wait 94:17 109:3, 5
  77:25 79:7 80:19 82:13      turn 50:20                  untreated 32:3                114:12
  85:14 86:13, 24 87:9, 10    twenty 85:8                 update 15:21                  waiting 81:5 82:8
  88:12 92:13 96:3, 5, 21     Two 11:21 36:5 54:2,        updated 15:16                 108:20
  100:12 104:8 107:3, 7,      22 59:16 63:1 95:2          updates 15:18                 walk 81:12
 15 108:5 110:19 111:2         100:25                     upper 32:14                   wall 19:17 98:3
  112:7 113:3 115:1           type 44:4 50:7 98:23        urologic 18:23                Walter 44:3
  116:6 118:18 119:10         types 56:19, 20, 25         urologist 18:23               want 6:11, 17 8:11
  120:5                       typical 23:14 25:12         urologists 20:3               13:12 27:6 33:19 36:21
 times 33:10 47:22, 23         31:13 32:15 62:8 79:2,     urology 18:25                 38:11, 12 61:25 79:19
  52:23 81:7                  4 80:24 85:8 97:25          use 27:22, 24 28:23           81:21 90:14 95:5
 Timothy 3:5 74:14            typically 25:14 30:8         29:2, 13 40:12 88:15, 17,    104:17 108:6 109:20, 22
 tissues 19:17 27:19           80:5, 15 84:5 89:17        21 104:20                     111:19 112:24
  90:2, 9, 11, 13 93:6         112:5, 6, 8, 11 114:23     usual 120:25                  wanted 8:3, 6 20:25
 TITLE 2:1                    typo 59:16                  usually 79:11 81:6 87:3       66:15 68:5 71:16
 TJG@gardentrialattorney      typos 59:17, 19 111:13       93:7 100:13 113:2            115:17 117:6, 7
 s.com 3:10


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Brian S. Myers, M.D., F.A.C.S.                                               3/13/2023
          Case 1:20-cv-03662-VMC Document 211-2 Filed 08/31/23 Page 48 of 48   Page 14
  USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 53 of 180
 Washington 12:18              110:23 116:16 118:11,
 watch 10:4 11:2 71:24        14, 19
 watched 10:8 71:21           witnesses 95:10
 way 31:24 37:21 46:23        Wjackson@fmglaw.com
  52:11 64:15, 22 72:19        3:18
  76:19 78:15 89:24 90:3      wondering 108:10
  94:24 97:9 107:3             109:12
  111:10                      woods 86:17 87:1
 week 112:2                   word 40:11, 13 43:5
 weekly 111:20                 51:8 94:14 104:20
 welcome 14:14                words 19:1 20:19 90:4
 well 8:24 18:18 20:2         work 34:18 40:11
  22:9 32:4 34:12 37:17        41:23 54:23 55:20
  44:11 46:21 51:23            56:16 73:21 75:19 76:2,
  53:20 57:18 58:7 61:23      21 77:1, 4, 7 84:2
  63:3 71:1, 24 72:19          102:13 112:2
  74:19 77:25 79:3 82:11      worked 21:3 48:6 57:9
  83:4 90:24 92:15 93:6       working 31:5 111:25
  94:9 95:5, 7 96:23          works 17:11 37:20 40:7
  99:22 101:19 104:2          workup 79:12 80:4, 14,
  109:1, 11 111:14 112:1      15, 24 82:9 84:14, 17
  115:18, 23 116:3 117:6      world 78:1
 WellStar 28:12 85:19,        worse 102:21
 22, 24 86:2, 8, 12           worth 41:24
 went 7:10 12:3 17:16         write 59:17 68:4 89:14
  18:5 33:4 50:1, 19, 25       97:18
  51:2, 10, 20, 23 61:3       writing 116:20
  81:15 91:18 92:21, 22       written 67:11 68:24
 we're 10:12 18:9 19:13       wrong 8:25 16:6 21:25
  33:3 65:19 83:1 96:15        44:18 45:6
  98:8 110:16 115:11          wrote 95:16, 25 116:19
  118:13
 Wes 5:18 58:2 115:14         <X>
 Wesley 3:14                  x'd 68:5
 West 12:10, 19               X-ray 79:14 80:5, 6
 we've 58:20 112:22            82:21 83:7, 18 97:7, 9
 whatsoever 49:2              X-rays 81:21
 whittles 19:4
 wide 52:1                    <Y>
 WILKERSON 1:18               year 18:20 20:24 21:2,
 WINGO 1:5, 6, 7, 8, 9, 10,   8, 22 33:13, 14, 21, 22, 23
 12, 13 23:11 62:13            60:12
  63:11 64:6, 18 66:19        years 11:21 12:1, 13
  77:24 85:21 88:3 91:11       13:20 22:6 23:6 43:18
  95:9 99:19 101:12            63:7
  102:16 103:10, 23           you-all 6:9
  104:15                      YouTube 71:24 117:1
 WINGO004192 4:16
 Wingo's 5:21 11:4 28:6,      <Z>
 8 63:25 65:6 97:14           zero 8:19 9:2, 3
  103:15 107:7                zoology 16:6, 8
 withdrawal 95:10             Zoom 70:13 117:3
 WITNESS 4:3 5:4, 6
  6:13 15:20 26:10 27:4
  28:19 29:17 44:5 61:1
  81:1, 17 84:10 86:21
  93:17 94:20 96:23
  98:21 99:2 101:9
  104:10, 20 105:11
  107:21 108:4 109:19



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USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 54 of 180




                  DOCKET 211-3
       Case 1:20-cv-03662-VMC Document 211-3 Filed 08/31/23 Page 1 of 101
 Tiffany Wingo, et al. vs Major Branson Harris, et al.
USCA11    Case:Visser
 Nurse Annaleen   24-10933 Document: 31-3Date Filed: 06/11/2024 Page:
                                                                   May5516,of2023
                                                                              180

                                                                                                                    Page 2
 · · · · · IN THE UNITED STATES DISTRICT COURT                 ·1· · · · · · · · · APPEARANCES OF COUNSEL:
 · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA                 ·2· On behalf of the Plaintiffs:
 · · · · · · · · · ·ATLANTA DIVISION                           ·3· · · ·TIMOTHY J. GARDNER, Esquire
 TIFFANY WINGO as Administrator                                · · · · ·Gardner Trial Attorneys, LLC
 of the Estate of KEVIL WINGO,                                 ·4· · · ·3100 Cumberland Boulevard
 SR., KIEARA WINGO, as surviving                               · · · · ·Suite 1470
 child of KEVIL WINGO, SR.,                                    ·5· · · ·Atlanta, Georgia 30339
 ANGEL CALLOWAY, as mother and                                 · · · · ·(770) 693-8202
 next friend of ERIKA WINGO,                                   ·6· · · ·(404) 393-9838 - (facsimile)
 surviving minor child of KEVIL                                · · · · ·tjg@gardnertrialattorneys.com
 WINGO, SR., and FATIMA THOMAS,                                ·7
 as mother and next friend of                                  ·8
 KEVIL WINGO, JR., surviving                                   ·9· On behalf of the Defendants:
 minor child of KEVIL WINGO, SR.,                              10· · · ·WESLEY C. JACKSON, Esquire
 · · · · · Plaintiffs,                                         · · · · ·Freeman Mathis & Gary, LLP
 · · · · · · · · · · · · · · · · ·CIVIL ACTION                 11· · · ·100 Galleria Parkway
 · · ·vs.· · · · · · · · · · · · ·FILE NO.
                                                               · · · · ·Suite 1600
 · · · · · · · · · · · · · · · · ·1:20-CV-03662-VMC
                                                               12· · · ·Atlanta, Georgia 30339
 MAJOR BRANSON HARRIS,
                                                               · · · · ·(770) 818-0000
 individually, LIEUTENANT
                                                               13· · · ·(833) 330-3669 - (facsimile)
 CHARLES GORDON, individually,
                                                               · · · · ·wjackson@fmglaw.com
 DEPUTY PAUL WILKERSON,
                                                               14
 individually, DEPUTY BRITTON
 MCPHEE, individually, DEPUTY                                  15
 LYNDA MARSHALL, individually,                                 16· On behalf of Annaleen Visser, RN:
 JOHN DOES 1-10, and JANE DOES                                 17· · · ·JACQUELYN SMITH CLARKE, Esquire
 1-10,                                                         · · · · ·Hall Booth Smith, P.C.
 · · · · · Defendants.                                         18· · · ·191 Peachtree Street NE
 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     · · · · ·Suite 2900
 · · · · · · · ·VIDEOTAPED DEPOSITION OF                       19· · · ·Atlanta, Georgia 30303
 · · · · · · · · ·NURSE ANNALEEN VISSER                        · · · · ·(404) 954-5000
 · · · · · · · · · · ·May 16, 2023                             20· · · ·jclarke@hallboothsmith.com
 · · · · · · · · · · · 12:56 p.m.                              21
 · · · · · · · · ·191 Peachtree Street                         22· Also Present:
 · · · · · · · · · · · Suite 2900                              23· · · ·Tony Wicks - Videographer
 · · · · · · · · · ·Atlanta, Georgia                           24· · · · · · · · · · · ·-· -· -· - -
 · · Nicole Limoncelli, RPR, CCR-5799-5142-5014-9888           25



                                                      Page 3                                                        Page 4
 ·1· · · · · · · · · ·INDEX OF EXAMINATION                     ·1· · · · · · · · · · ·INDEX OF EXHIBITS
 ·2· WITNESS:· NURSE ANNALEEN VISSER                           ·2
 ·3                                                            · · DEFENDANTS'

 ·4· CROSS-EXAMINATION· · · · · · · · · · · · · · · · · PAGE   ·3· EXHIBITS· · · · · ·DESCRIPTION· · · · · · · · · · ·PAGE
                                                               ·4· Exhibit D1· · · · ·Kevil Deandre Wingo's jail· · · 69
 ·5· · · ·By Mr. Jackson· · · · · · · · · · · · · · · · 6
                                                               ·5· · · · · · · · · · ·medical records
 ·6
                                                               ·6
 ·7· CROSS-EXAMINATION
                                                               ·7
 ·8· · · ·By Mr. Gardner· · · · · · · · · · · · · · · · 104
                                                               ·8
 ·9
                                                               ·9
 10· RECROSS-EXAMINATION                                       · · PLAINTIFFS'
 11· · · ·By Mr. Jackson· · · · · · · · · · · · · · · · 299    10· EXHIBITS· · · · · ·DESCRIPTION· · · · · · · · · · ·PAGE
 12                                                            11· Exhibit P1· · · · ·Six videos· · · · · · · · · · · 163
 13· RECROSS-EXAMINATION                                       12
 14· · · ·By Mr. Gardner· · · · · · · · · · · · · · · · 302    13
 15                                                            14
 16· · · · · · · · · · · ·-· -· -· -   -                       15· (Original Defendants' Exhibit D1 has been attached to

 17                                                            16· the original transcript.)
                                                               17· (Original Plaintiffs' Exhibit P1 has been attached to
 18
                                                               18· the original transcript.)
 19
                                                               19
 20
                                                               20· · · · · · · · · · · ·-· -· -· -   -
 21
                                                               21
 22
                                                               22
 23                                                            23
 24                                                            24
 25                                                            25



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       Case 1:20-cv-03662-VMC Document 211-3 Filed 08/31/23 Page 60 of 101
 Tiffany Wingo, et al. vs Major Branson Harris, et al.
USCA11    Case:Visser
 Nurse Annaleen   24-10933 Document: 31-3Date Filed: 06/11/2024 Page:
                                                                    May56
                                                                        16,of2023
                                                                              180

                                                     Page 237                                                       Page 238
 ·1· detoxing, moving from the situation, calm the whole        ·1· him?
 ·2· place down.· And when he goes to close obs, he can go      ·2· · · ·A.· ·Probably not because he was yelling.
 ·3· there, and when he's calm, bring him back and we can       ·3· · · ·Q.· ·Okay.
 ·4· do his vitals, no problem.                                 ·4· · · ·A.· ·You can breath -- you can't not breath and
 ·5· · · ·Q.· ·And that's because he was still acting right     ·5· yell.
 ·6· now?                                                       ·6· · · ·Q.· ·Mm-hmm.
 ·7· · · ·A.· ·That is because?                                 ·7· · · · · · So if you -- if Deputy Marshall had told you
 ·8· · · ·Q.· ·He was -- he's still acting right now?           ·8· that she heard Mr. Wingo say I can't breath, that
 ·9· · · ·A.· ·To me he was still in his acting mode, yes.      ·9· wouldn't have impact your assessment of him?
 10· · · ·Q.· ·Okay.· Did Deputy Marshall ever tell you         10· · · ·A.· ·No, because he was yelling.· He was yelling
 11· that she heard Mr. Wingo say that he couldn't breathe      11· and acting out, no.
 12· while he was laying on the floor?                          12· · · ·Q.· ·Can someone have difficulty breathing and
 13· · · ·A.· ·No, I never heard.                               13· still talk?
 14· · · ·Q.· ·Okay.· Would that --                             14· · · ·A.· ·Difficulty breathing, yeah, but it won't be
 15· · · ·A.· ·I don't know where I was with that -- when       15· a yell.· It won't be a yell, and he was yelling.
 16· that was because he was shouting.                          16· · · ·Q.· ·Okay.· So when Mr. Wingo was lying on the
 17· · · ·Q.· ·Mm-hmm.                                          17· floor there, he was yelling?
 18· · · · · · Did you ever hear him shout that he couldn't     18· · · ·A.· ·He was yelling all the time.
 19· breath?                                                    19· · · ·Q.· ·Okay.· So when he was laying on the floor
 20· · · ·A.· ·No.                                              20· there, he was yelling?
 21· · · ·Q.· ·Okay.· If Deputy Marshall had heard him say      21· · · ·A.· ·Yes.
 22· I can't breath, is that something that you would've        22· · · ·Q.· ·Okay.· Would you consider Mr. Wingo a
 23· liked to have know as a medical provider?                  23· medical patient at that time?
 24· · · ·A.· ·Sure, yes.                                       24· · · ·A.· ·Sure.· He was detoxing.
 25· · · ·Q.· ·Would that have affected your assessment of      25· · · ·Q.· ·Should medical patients be moved to the


                                                     Page 239                                                       Page 240
 ·1· extension?                                                 ·1· · · · · · (The video was played.)
 ·2· · · ·A.· ·In his situation, yes.· Yes, because he was      ·2· BY MR. GARDNER:
 ·3· acting out.· He was causing a disruption in the            ·3· · · ·Q.· ·Do you see Sergeant Gordon in that -- in
 ·4· infirmary.· And that's not good for heart patients,        ·4· this video here?
 ·5· pregnant ladies.· No, not good at all.· You move him       ·5· · · ·A.· ·Yes, he's standing there (perusing).
 ·6· away from the situation.· You have to.                     ·6· · · ·Q.· ·And Deputy Marshall?
 ·7· · · ·Q.· ·If you were to had examined Mr. Wingo at         ·7· · · ·A.· ·Yes (perusing).
 ·8· that time, how long would it have taken?                   ·8· · · ·Q.· ·Can you see Mr. Wingo?
 ·9· · · ·A.· ·If he was calm, he wouldn't have been moved.     ·9· · · ·A.· ·Yes (perusing).
 10· · · ·Q.· ·Mm-hmm.                                          10· · · ·Q.· ·Okay.
 11· · · · · · How long would it have taken to examine him      11· · · ·A.· ·Mm-hmm.
 12· though if you wanted to do it?                             12· · · ·Q.· ·Do you see him go into the chair there?
 13· · · ·A.· ·The machine does the vitals.· Maybe              13· · · ·A.· ·Yes, I do.
 14· 5 minutes.                                                 14· · · ·Q.· ·Okay.· Was he handcuffed at that time?
 15· · · ·Q.· ·Okay.· I'm going to play it from 7:40:11.        15· · · · · · I'll stop it at 7:40:30.
 16· So this is about 9 minutes after Mr. Wingo was outside     16· · · · · · Was he --
 17· of his cell.· Would you agree with that?                   17· · · ·A.· ·I think he's handcuffed, yes.
 18· · · ·A.· ·(Perusing.)                                      18· · · ·Q.· ·Okay.· He was handcuffed to you right there?
 19· · · · · · Sorry?                                           19· · · ·A.· ·Yeah.
 20· · · ·Q.· ·I was going to play it from 7:40:11.· That's     20· · · ·Q.· ·Okay.· I'm just going to go back 10 seconds
 21· about 9 minutes after Mr. Wingo was outside his cell.      21· and play it again for you.
 22· · · ·A.· ·Okay.                                            22· · · · · · (The video was played.)
 23· · · ·Q.· ·Would you agree with that?                       23· · · · · · THE WITNESS:· Oh, no, he's not handcuffed.
 24· · · ·A.· ·Yes.                                             24· BY MR. GARDNER:
 25· · · ·Q.· ·Okay.                                            25· · · ·Q.· ·Okay.


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USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 57 of 180




                    DOCKET 211-6
        Case 1:20-cv-03662-VMC Document 211-6 Filed 08/31/23 Page 1 of 40
 Tiffany Wingo, et al. vs Major Branson Harris, et al.
USCA11    Case: 24-10933 Document: 31-3
 Tiffany Womack                          Date Filed: 06/11/2024 Page:
                                                                    May58
                                                                        24,of2023
                                                                              180

                                                                                                                   Page 2
 · · · · · ·IN THE UNITED STATES DISTRICT COURT                  ·1· · · · · · · · ·APPEARANCES OF COUNSEL
 · · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA                 ·2· On behalf of the Plaintiffs:
 · · · · · · · · · · ATLANTA DIVISION                            ·3· · · TIMOTHY J. GARDNER, Esquire
 TIFFANY WINGO as Administrator                                  · · · · Gardner Trial Attorneys, LLC
 of the Estate of KEVIL WINGO,                                   ·4· · · 3100 Cumberland Boulevard
 SR., KIEARA WINGO, as surviving                                 · · · · Suite 1470
 child of KEVIL WINGO, SR.,                                      ·5· · · Atlanta, Georgia 30339-5939
 ANGEL CALLOWAY, as mother and                                   · · · · (770) 693-8202
 next friend of ERIKA WINGO,                                     ·6· · · tjg@gardnertrialattorneys.com
 surviving minor child of KEVIL                                  ·7· On behalf of the Defendants Major Branson Harris,
 WINGO, SR., and FATIMA THOMAS,                                  · · Lieutenant Charles Gordon, Deputy Paul Wilkerson,
 as mother and next friend of                                    ·8· Deputy Britton McPhee, Deputy Lynda Marshall:
 KEVIL WINGO, JR., surviving                                     ·9· · · WESLEY C. JACKSON, Esquire
 minor child of KEVIL WINGO, Sr.,
                                                                 · · · · Freeman Mathis & Gary, LLP
 · · · · · Plaintiffs,· · · · · · · · · CIVIL ACTION FILE
                                                                 10· · · 100 Galleria Parkway
 · · · ·vs.· · · · · · · · · · · · · · ·NO. 1:20-CV-03662-VMC
                                                                 · · · · Suite 1600
 MAJOR BRANSON HARRIS, individually,
                                                                 11· · · Atlanta, Georgia 30339
 LIEUTENANT· CHARLES GORDON,
                                                                 · · · · (770) 818-0000
 individually, DEPUTY PAUL WILKERSON,
                                                                 12· · · wjackson@fmglaw.com
 individually, DEPUTY BRITTON MCPHEE,
                                                                 13
 individually, DEPUTY LYNDA MARSHALL,
                                                                 14
 individually, JOHN DOES 1-10, and JANE
 DOES 1-10,                                                      15
 · · · · · Defendants.                                           16
 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     17
 · · · · · · · · · · · DEPOSITION OF                             18
 · · · · · · · · · · · TIFFANY WOMACK                            19
 · · · · · · · · · · · ·May 24, 2023                             20
 · · · · · · · · · · · · 10:03 a.m.                              21
 · · · · · · · · · ·100 Galleria Parkway                         22
 · · · · · · · · · · · · Suite 1600                              23
 · · · · · · · · · · ·Atlanta, Georgia                           24
 · · · · · · · · · Joel P. Moyer, CCR 2745                       25



                                                        Page 3                                                     Page 4
 ·1· · · · · · · · INDEX TO EXAMINATIONS                         ·1· · · · · · ·Deposition of Tiffany Womack
 ·2· WITNESS:· TIFFANY WOMACK
                                                                 ·2· · · · · · · · · · ·May 24, 2023
 ·3· EXAMINATION· · · · · · · · · · · · · · · · · · PAGE
 ·4· By Mr. Jackson· · · · · · · · · · · · · · · · · · 4         ·3· · · · (Whereupon the witness was sworn.)
 · · By Mr. Gardner· · · · · · · · · · · · · · · · · ·84         ·4· · · · · · · MR. JACKSON:· This will be the
 ·5                                                              ·5· deposition of Tiffany Womack taken pursuant to
 ·6
 · · · · · · · · · · · · · - - -
                                                                 ·6· notice and agreement of counsel for all purposes
 ·7                                                              ·7· allowed under the Federal Rules of Civil Procedure.
 ·8· · · · · · · · · INDEX TO EXHIBITS                           ·8· All objections are reserved except to the form of
 ·9· EXHIBITS· · · · · · · · · · · · · · · · · · · ·PAGE
                                                                 ·9· the question or responsiveness of the answer.
 10· Exhibit 1· Medical records, Kevil Deandre· · · · 63
 · · · · · · · ·Wingo                                            10· · · · · · · · · ·TIFFANY WOMACK,
 11                                                              11· having been first duly sworn, was examined and
 · · Exhibit 2· Audio Recording 191006_002· · · · · · 70         12· testified as follows:
 12
                                                                 13· · · · · · · · · · ·EXAMINATION
 13
 14                                                              14· BY MR. JACKSON:
 · · (Original Exhibit 1 has been attached to the                15· · · · Q· · · Ms. Womack, could you please state your
 15                                                              16· full name for the record.
 · · original transcript.· Exhibit 2 has been retained by
 16
                                                                 17· · · · A· · · Tiffany Leigh Womack.
 · · counsel and may be attached at a later date.)               18· · · · Q· · · And I've seen in some documents related
 17                                                              19· to this case that you may also go by Proctor or you
 18
                                                                 20· did before?
 19
 20                                                              21· · · · A· · · That was my maiden name.
 21                                                              22· · · · Q· · · Well, we met a moment ago.· My name's
 22                                                              23· Wes Jackson.· I'm an attorney representing five
 23
                                                                 24· Cobb County Sheriff's deputies with respect to a
 24
 25                                                              25· lawsuit concerning the death of an inmate at the


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       Case 1:20-cv-03662-VMC Document 211-6 Filed 08/31/23 Page 22 of 40
 Tiffany Wingo, et al. vs Major Branson Harris, et al.
USCA11    Case: 24-10933 Document: 31-3
 Tiffany Womack                          Date Filed: 06/11/2024 Page:
                                                                   May5924,of2023
                                                                              180

                                                   Page 85                                                     Page 86
 ·1· where the deputy has overrode the nurse's decision      ·1· and sweating and showing signs of nausea and the
 ·2· in the infirmary.· And I think you responded you        ·2· medical staff not responding?
 ·3· hadn't seen that in the year that you had been          ·3· · · · A· · · Yes, Mr. Wingo.
 ·4· there.                                                  ·4· · · · Q· · · Outside of Mr. Wingo --
 ·5· · · · A· · · No, sir.· Not as far as a medical          ·5· · · · A· · · Oh.
 ·6· emergency, no.                                          ·6· · · · Q· · · -- have you ever seen that situation
 ·7· · · · Q· · · Had you ever seen a situation in the       ·7· before?
 ·8· year that you had been there where someone was          ·8· · · · A· · · No, sir.· I mean, people do ask for
 ·9· passed out, you know, or lying on the floor in the      ·9· help and beg, but not to the extent of him, no.
 10· infirmary and none of the medical providers were        10· · · · Q· · · Okay.· Have you ever seen a situation
 11· attending to the person on the floor?                   11· outside of Mr. Wingo where you thought that the
 12· · · · A· · · No, sir, not -- no.                        12· detainee was having a serious medical issue and
 13· · · · Q· · · Okay.· Had you ever seen a situation in    13· medical staff didn't respond?
 14· the infirmary where someone had fainted numerous        14· · · · A· · · No, sir.
 15· times or fell to the ground numerous times and what     15· · · · Q· · · Okay.· Now, you say that when you saw
 16· appeared to be involuntarily and no medical             16· Mr. Wingo that was early in the morning when you
 17· providers had ever -- had responded?                    17· first got there.
 18· · · · · · · MR. JACKSON:· Object to form.               18· · · · A· · · Yes.
 19· · · · A· · · Other than Mr. Wingo, no.                  19· · · · Q· · · Correct?
 20· BY MR. GARDNER:                                         20· · · · · · · ·And you got there around 6:00 a.m. or
 21· · · · Q· · · Okay.· Had you ever had a situation in     21· so?
 22· the year that you had been there at the Cobb County     22· · · · A· · · Correct.
 23· Adult Detention Center where you had a detainee         23· · · · Q· · · And as soon as you got there, you say
 24· inside one of the infirmary cells asking to go to       24· you heard -- you heard Mr. Wingo?
 25· the hospital and saying that he could not breathe       25· · · · A· · · Correct.


                                                   Page 87                                                     Page 88
 ·1· · · · Q· · · And you could hear him saying that he      ·1· Detention Center.· I see the cells kind of along
 ·2· couldn't breathe?                                       ·2· the wall.· And then there's the nurses station.
 ·3· · · · A· · · Absolutely.                                ·3· And then where the secretary sits at the counter
 ·4· · · · Q· · · And you knew when you got there that he    ·4· there, that's almost directly across Cell Number 8;
 ·5· was having some type of issue?                          ·5· correct?
 ·6· · · · A· · · Correct.                                   ·6· · · · A· · · Yes.
 ·7· · · · Q· · · When you first got there, were you able    ·7· · · · Q· · · And then to the left of that secretary,
 ·8· to appreciate the seriousness of his issue?             ·8· the charge nurse's desk?
 ·9· · · · A· · · What do you mean?· I'm sorry.              ·9· · · · A· · · Correct.
 10· · · · Q· · · Like I guess did he appear to get worse    10· · · · Q· · · And then right across from that is the
 11· as you were there?                                      11· security personnel's desk?
 12· · · · A· · · To me, he did, yes.                        12· · · · A· · · Correct.
 13· · · · Q· · · Okay.· And when you say he got worse,      13· · · · Q· · · And that's where Deputy Lyn Marshall
 14· that's the sweating that you saw?                       14· would have sat?
 15· · · · A· · · Yes, and the falling on the ground.        15· · · · A· · · Correct.
 16· · · · Q· · · Okay.· And the falling on the ground?      16· · · · Q· · · Right.· When you got there on September
 17· · · · A· · · Correct.                                   17· 29th that morning, Deputy Marshall was in the
 18· · · · Q· · · And then the yelling that "I can't         18· infirmary?
 19· breathe"?                                               19· · · · A· · · Yes, sir.
 20· · · · A· · · Correct.                                   20· · · · Q· · · And when you heard Mr. Wingo yelling
 21· · · · Q· · · And that appeared to be a serious          21· that he couldn't breathe, was that something that
 22· medical issue to you?                                   22· only you could hear, or do you believe that
 23· · · · A· · · Yes.                                       23· everyone inside that infirmary could possibly hear?
 24· · · · Q· · · Now, I've seen the nurses station.· In     24· · · · A· · · I believe everyone inside there could
 25· fact, I've been out to the Cobb County Adult            25· hear.


                                                                         www.GeorgiaReporting.com/Schedule
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       Case 1:20-cv-03662-VMC Document 211-6 Filed 08/31/23 Page 27 of 40
 Tiffany Wingo, et al. vs Major Branson Harris, et al.
USCA11    Case: 24-10933 Document: 31-3
 Tiffany Womack                          Date Filed: 06/11/2024 Page:
                                                                   May6024,of2023
                                                                              180

                                                  Page 105                                                      Page 106
 ·1· back and forth with the times, but he would have        ·1· or the infirmary?
 ·2· been making a round later on that day, and that's       ·2· · · · A· · · The infirmary.
 ·3· when he -- everyone would have been brought on out      ·3· · · · Q· · · Okay.
 ·4· to do vitals and to see the doctor.                     ·4· · · · A· · · That's the medical unit, and that's
 ·5· · · · · · · ·And so they wouldn't have seen him in      ·5· where the doctor will do rounds as if in a
 ·6· the extension, and so I don't -- again, I don't         ·6· hospital.
 ·7· know why he was moved.                                  ·7· · · · Q· · · So up until the time that you left to
 ·8· · · · Q· · · Okay.· Have you ever seen the nurses       ·8· go and do your rounds, did Mr. Wingo appear to be
 ·9· do -- provide medical care in the extension?            ·9· in serious medical distress?
 10· · · · A· · · Yes.                                       10· · · · A· · · Absolutely.
 11· · · · Q· · · Okay.· Do they do more medical care in     11· · · · Q· · · Did he appear to have some type of
 12· the infirmary as opposed to the extension?              12· serious medical condition?
 13· · · · A· · · Absolutely.                                13· · · · A· · · He did to me, yes.
 14· · · · Q· · · Okay.                                      14· · · · Q· · · Okay.· And is that just because you
 15· · · · A· · · Just like that little thing that she       15· were trained as an EMT, or do you think a layperson
 16· has there, that's the pill cart.· And those nurses      16· would have been able to recognize that level of
 17· will go out and give meds, administer meds to           17· serious medical distress?
 18· anybody, no matter where they are.                      18· · · · A· · · Yes.· I believe anybody without medical
 19· · · · Q· · · Okay.                                      19· training could tell that he was clearly in
 20· · · · A· · · Including the extension.                   20· distress.
 21· · · · Q· · · So no matter -- anywhere they are in       21· · · · · · · MR. GARDNER:· Okay.· I don't have
 22· the jail, they will give them their medicine?           22· anything else.
 23· · · · A· · · Correct.                                   23· · · · · · · MR. JACKSON:· Me neither.
 24· · · · Q· · · But if someone's having ongoing medical    24· · · · · · · MR. GARDNER:· All right.· We're done.
 25· issues, are they normally placed in the extension       25· · · · · · · THE COURT REPORTER:· I'll explain


                                                  Page 107                                                      Page 108
 ·1· reading and signing.                                    ·1· STATE OF GEORGIA:

 ·2· · · · (Whereupon off-the-record discussions             ·2· COUNTY OF FULTON:

 ·3· · · · ensued.)                                          ·3

 ·4· · · · · · · THE WITNESS:· I'll waive.                   ·4· · · · I hereby certify that the foregoing

 ·5· · · · (Deposition concluded at 12:05 p.m.)              ·5· · · · transcript was reported, as stated in the

 ·6· · · · (Pursuant to Rule 30(e) of the Federal Rules      ·6· · · · caption, and the questions and answers

 ·7· · · · of Civil Procedure and/or O.C.G.A.                ·7· · · · thereto were reduced to typewriting under my

 ·8· · · · 9-11-30(e), signature of the witness has been     ·8· · · · direction; that the foregoing pages represent

 ·9· · · · waived.)                                          ·9· · · · a true, complete and correct transcript of
 10                                                          10· · · · the evidence given upon said hearing, and I

 11                                                          11· · · · further certify that I am not of kin or

 12                                                          12· · · · counsel to the parties in the case; am not in

 13                                                          13· · · · the employ of counsel for any of said

 14                                                          14· · · · parties; nor am I in any way interested in

 15                                                          15· · · · the result of said case.

 16                                                          16

 17                                                          17

 18                                                          18

 19                                                          19

 20                                                          20

 21                                                          21

 22                                                          22· · · · · · · · · ·___________________________

 23                                                          23· · · · · · · · · ·Joel P. Moyer, CCR 2745

 24                                                          24

 25                                                          25



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USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 61 of 180




                    DOCKET 212
      Case 1:20-cv-03662-VMC Document 212 Filed 09/01/23 Page 1 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 62 of 180




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
                                                                   FILED INW:r<i'i 'SOFFICE
                                                                       U.S.D.C. · Atlanta

 TIFF ANY WINGO as Administrator of the Estate of
 KEVIL WINGO, SR., KIEARA WINGO, as surviving                          EP O1 2023
 child of KEVIL WINGO, SR., ERIKA WINGO,
 surviving child of KEVIL WINGO, SR., and TERI
 FIELDS, ESQ., Conservator of KEVIL WINGO, JR.,
 surviving minor child of KEVIL WINGO, Sr.

              Plaintiffs,
 V.

 MAJOR     BRANSON     HARRIS,  individually,
 LIEUTENTANT CHARLES GORDON, individually,
                                                            CIVIL ACTION NO.
 DEPUTY PAUL WILKERSON, individually,
                                                            1 :20-CV-03662-VMC
 DEPUTY LYNDA MARSHALL, individually, JOHN
 DOES 1-10, and JANE DOES 1-10,


              Defendants.


        PLAINTIFFS' NOTICE OF FILING ELECTRONIC MEDIA
  EXHIBITS FOR PLAINTIFFS' ADDITIONAL FACTS IN OPPOSITION
     TO DEFENDANTS' MOTION FOR SUMMARY JUDGMENT

       COME NOW, Tiffany Wingo as Administrator of the Estate of Kevil Wingo,

 Sr., Kieara Wingo, as surviving child of Kevil Wingo, Sr., Erika Wingo, surviving

minor child of Kevil Wingo, Sr., and Teri Fields, Esq., Conservator of Kevil Wingo,

Jr., surviving minor child of Kevil Wingo, Sr. by and through their undersigned

counsels of record and manually file the following exhibits that are electronic media
      Case 1:20-cv-03662-VMC Document 212 Filed 09/01/23 Page 2 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 63 of 180



 via USB which are referenced in Plaintiffs' Additional Facts in Opposition to

 Defendants' Motion for Summary Judgment (Doc. 209-1 ):

       1. Exhibit 7: Infirmary Video View 1

      2. Exhibit 8: Marshall Internal Affairs Interview Audio

      3. Exhibit 9: Infirmary Video View 2

      4. Exhibit 11: Lynda Marshall and Paul Wilkerson Internal Phone Call

      5. Exhibit 12: Lynda Marshall and Branson Harris Internal Phone Call

      6. Exhibit 18: Corridor Video

      7. Exhibit 19: Outside Padded Cell Video

      8. Exhibit 20: Inside Padded Cell Video

      9. Exhibit 22: V anderbogart Internal Affairs Video Interview

       10.Exhibit 34: Paul Wilkerson Internal Affairs Video Interview


      This 31 st   day of August, 2023.




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      Case 1:20-cv-03662-VMC Document 212 Filed 09/01/23 Page 3 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 64 of 180




                                    Respectfully submitted,

                                    GARDNER TRIAL ATTORNEYS, LLC


                                    /s/ Timothy J. Gardner
                                    TIMOTHY J. GARDNER
                                    Georgia Bar No. 115430
                                    HENRIETTA G. BROWN
                                    Georgia Bar No. 253547

                                    Attorneys for Plaintiffs

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      Case 1:20-cv-03662-VMC Document 212 Filed 09/01/23 Page 4 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 65 of 180




                      CERTIFICATE OF COMPLIANCE

Pursuant to LR 7 .1 (D ), the undersigned hereby certifies that the foregoing document

has been prepared in Times New Roman 14, a font and type selection approved by

the Northern District of Georgia in LR 5.l(B) and LR 5.l(C).

      This 31 st day of August, 2023.


                                        GARDNER TRIAL ATTORNEYS, LLC


                                        /s/ Timothy J. Gardner
                                        TIMOTHY J. GARDNER
                                        Georgia Bar No. 115430
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      Case 1:20-cv-03662-VMC Document 212 Filed 09/01/23 Page 5 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 66 of 180




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 TIFF ANY WINGO as Administrator of the Estate of
 KEVIL WINGO, SR., KIEARA WINGO, as surviving
 child of KEVIL WINGO, SR., ERIKA WINGO,
 surviving child of KEVIL WINGO, SR., and TERI
 FIELDS, ESQ. , Conservator of KEVIL WINGO, JR.,
 surviving minor child of KEVIL WINGO, Sr.

               Plaintiffs,
  V.

 MAJOR     BRANSON     HARRIS,  individually,
 LIEUTENTANT CHARLES GORDON, individually,
                                                         CIVIL ACTION NO.
 DEPUTY PAUL WILKERSON, individually,
                                                         1 :20-CV-03662-VMC
 DEPUTY LYNDA MARSHALL, individually, JOHN
 DOES 1-10, and JANE DOES 1-10,


               Defendants.


                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted PLAINTIFFS'

NOTICE        OF     FILING      ELECTRONIC       MEDIA      EXHIBITS       FOR

PLAINTIFFS' ADDITIONAL FACTS IN OPPOSITION TO DEFENDANTS'

MOTION FOR SUMMARY JUDGMENT to the Clerk of Court using the

CM/ECF system which will automatically send electronic mail notification of such

 filing to the following counsel of record:
      Case 1:20-cv-03662-VMC Document 212 Filed 09/01/23 Page 6 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 67 of 180



 Sun S. Choy, Esq.                          H. William Rowling, Jr., Esq.
 Wesley C. Jackson, Esq.                    Lauren S. Bruce, Esq.
 Marisa M. Beller, Esq.                     Cobb County Attorney's Office
 Freeman Mathis & Gary, LLP                 100 Cherokee Street, Suite 350
 100 Galleria Pkwy, Suite 1600              Marietta, GA 30090
 Atlanta, GA 30339-5948


      This 31 st day of August, 2023.


                                        Respectfully submitted,

                                        GARDNER TRIAL ATTORNEYS, LLC



                                        /s/ Timothy J. Gardner
                                        TIMOTHY J. GARDNER
                                        Georgia Bar No. 115430
                                        HENRIETTA G. BROWN
                                        Georgia Bar No. 253547

                                        Attorneys for Plaintiffs

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      Case 1:20-cv-03662-VMC Document 212 Filed 09/01/23 Page 7 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 68 of 180
USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 69 of 180




                    DOCKET 213
      Case 1:20-cv-03662-VMC Document 213 Filed 09/01/23 Page 1 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 70 of 180




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                                                      FILED IN CLERK'SOFFICE
 TIFF ANY WINGO as Administrator of the Estate of                         u.s.o.c .. Atlanta
 KEVIL WINGO, SR., KIEARA WINGO, as surviving
 child of KEVIL WINGO, SR., ERIKA WINGO,                                SEP O1 2023
 surviving child of KEVIL WINGO, SR., and TERI
 FIELDS, ESQ., Conservator of KEVIL WINGO, JR.,
 surviving minor child of KEVIL WINGO, Sr.

              Plaintiffs,
 V.

 MAJOR     BRANSON     HARRIS,  individually,
 LIEUTENTANT CHARLES GORDON, individually,
                                                            CIVIL ACTION NO.
 DEPUTY PAUL WILKERSON, individually,
                                                            1 :20-CV-03662-VMC
 DEPUTY LYNDA MARSHALL, individually, JOHN
 DOES 1-10, and JANE DOES 1-10,


              Defendants.


         PLAINTIFFS' NOTICE OF FILING ELECTRONIC MEDIA
    EXHIBITS FOR PLAINTIFFS' RESPONSE AND OBJECTIONS TO
   DEFENDANTS' STATEMENT OF UNDISPUTED MATERIAL FACTS

       COME NOW, Tiffany Wingo as Administrator of the Estate of Kevil Wingo,

 Sr., Kieara Wingo, as surviving child of Kevil Wingo, Sr., Erika Wingo, surviving

minor child of Kevil Wingo, Sr., and Teri Fields, Esq., Conservator ofKevil Wingo,

Jr., surviving minor child of Kevil Wingo, Sr. by and through their undersigned

 counsels of record and manually file the following exhibits that are electronic media
      Case 1:20-cv-03662-VMC Document 213 Filed 09/01/23 Page 2 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 71 of 180




via USB which are referenced in Plaintiffs' Response and Objections to Defendants'

Statement of Undisputed Material Facts (Doc. 208):

      1. Exhibit 6: Infirmary Video View 1

      2. Exhibit 7: Infirmary Video View 2

      3. Exhibit 9: Lynda Marshall and Branson Harris Internal Phone Call

      4. Exhibit 12: Lynda Marshall and Paul Wilkerson Internal Phone Call

      5. Exhibit 14: Nurse Visser Internal Affairs Video Interview

      6. Exhibit 15: Corridor Video

      7. Exhibit 16: Outside Padded Cell Video

      8. Exhibit 17: Inside Padded Cell Video


      This 31 st   day of August, 2023.

                                          Respectfully submitted,

                                          GARDNER TRIAL ATTORNEYS, LLC


                                          Isl Timothy J. Gardner
                                          TIMOTHY J. GARDNER
                                          Georgia Bar No. 115430
                                          HENRIETTA G. BROWN
                                          Georgia Bar No. 253547

                                          Attorneys for Plaintiffs




                                            2
      Case 1:20-cv-03662-VMC Document 213 Filed 09/01/23 Page 3 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 72 of 180




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      Case 1:20-cv-03662-VMC Document 213 Filed 09/01/23 Page 4 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 73 of 180




                      CERTIFICATE OF COMPLIANCE

Pursuant to LR 7 .1 (D ), the undersigned hereby certifies that the foregoing document

has been prepared in Times New Roman 14, a font and type selection approved by

the Northern District of Georgia in LR 5.l(B) and LR 5.l(C).

      This 31 st day of August, 2023.


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                                        /s/ Timothy J. Gardner
                                        TIMOTHY J. GARDNER
                                        Georgia Bar No. 115430
                                        HENRIETTA G. BROWN
                                        Georgia Bar No. 253547

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      Case 1:20-cv-03662-VMC Document 213 Filed 09/01/23 Page 5 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 74 of 180




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 TIFF ANY WINGO as Administrator of the Estate of
 KEVIL WINGO, SR., KIEARA WINGO, as surviving
 child of KEVIL WINGO, SR., ERIKA WINGO,
 surviving child of KEVIL WINGO, SR., and TERI
 FIELDS, ESQ., Conservator of KEVIL WINGO, JR.,
 surviving minor child of KEVIL WINGO, Sr.

              Plaintiffs,
 V.

 MAJOR     BRANSON     HARRIS,  individually,
 LIEUTENTANT CHARLES GORDON, individually,
                                                         CIVIL ACTION NO.
 DEPUTY PAUL WILKERSON, individually,
                                                         1:20-CV-03662-VMC
 DEPUTY LYNDA MARSHALL, individually, JOHN
 DOES 1-10, and JANE DOES 1-10,


              Defendants.


                            CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted PLAINTIFFS'

NOTICE       OF     FILING      ELECTRONIC           MEDIA   EXHIBITS       FOR

PLAINTIFFS'       RESPONSE AND            OBJECTIONS      TO DEFENDANTS'

STATEMENT OF UNDISPUTED MATERIAL FACTS to the Clerk of Court

using the CM/ECF system which will automatically send electronic mail notification

of such filing to the following counsel of record:
      Case 1:20-cv-03662-VMC Document 213 Filed 09/01/23 Page 6 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 75 of 180




 Sun S. Choy, Esq.                          H. William Rowling, Jr., Esq.
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 Marisa M. Beller, Esq.                     Cobb County Attorney's Office
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 100 Galleria Pkwy, Suite 1600              Marietta, GA 30090
 Atlanta, GA 30339-5948


      This 31 st day of August, 2023.



                                        Respectfully submitted,

                                        GARDNER TRIAL ATTORNEYS, LLC



                                        Isl Timothy J. Gardner
                                        TIMOTHY J. GARDNER
                                        Georgia Bar No. 115430
                                        HENRIETTA G. BROWN
                                        Georgia Bar No. 253547

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      Case 1:20-cv-03662-VMC Document 213 Filed 09/01/23 Page 7 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 76 of 180
USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 77 of 180




                    DOCKET 221
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 1 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 78 of 180



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    TIFFANY WINGO as Administrator of the Estate of
    KEVIL WINGO, SR., KIEARA WINGO, as surviving
    child of KEVIL WINGO, SR., ERIKA WINGO,
    surviving child of KEVIL WINGO, SR., and TERI
    FIELDS, ESQ., Conservator of KEVIL WINGO, JR.,
    surviving minor child of KEVIL WINGO, Sr.

                  Plaintiffs,
    v.
    MAJOR     BRANSON HARRIS,      individually,
    LIEUTENTANT CHARLES GORDON, individually,
                                                                               CIVIL ACTION NO.
    DEPUTY PAUL WILKERSON, individually,
                                                                               1:20-CV-03662-VMC
    DEPUTY LYNDA MARSHALL, individually, JOHN
    DOES 1-10, and JANE DOES 1-10,

                  Defendants.


       PLAINTIFFS’ AMENDED RESPONSE AND OBJECTIONS TO
     DEFENDANTS STATEMENT OF UNDISPUTED MATERIAL FACTS1


          1)      On September 23-24, 2019, Cobb County Police Department

    arrested Kevil Wingo for suspected drug possession of 0.2 grams of cocaine.

    (Doc. 166, ¶ 22.2)


1
  Plaintiffs filed their Amended Response and Objections to Defendants’ Statement of Undisputed Material Facts to
comply with the formatting required pursuant to The Honorable Victoria M. Calvert’s Standing Order and Northern
District Court of Georgia Local Rule 56.1(B). Plaintiffs’ have not re-attached Exhibits 208-1 through 208-20 but
incorporate same by reference. Electronic Media Exhibits referenced herein were previously manually filed with
Court as “Plaintiff’s Notice of Filing Electronic Media Exhibits for Plaintiffs’ Response and Objections to
Defendants’ Statement of Undisputed Material Facts. (Doc. 213). There have not been any substantive changes.
                                                    -1-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 2 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 79 of 180


      RESPONSE: Admitted.

       2)    He was then booked as a pre-trial detainee at the Cobb County

 Adult Detention Center. (Doc. 166, ¶ 23.)

      RESPONSE: Admitted.


                    Mr. Wingo is Transferred to the Infirmary

       3)    On September 28, 2019, he began to experience abdominal pain and

 sweats. (Doc. 166, ¶ 24.)

      RESPONSE: Mr. Wingo began to experience severe abdominal pain,

sweats, vomiting, nausea and severe pain. (Deposition of Yvette Burton at p.

102:7-10, relevant pages attached as Exhibit 1).

       4)    Around 11:45 p.m. on September 28, 2019, Deputy Quinton

 Appleby transported Mr. Wingo to the infirmary. (Appleby Dep. 19:11-20:16.1)

       RESPONSE: Admitted.

       5)    At the time, medical staff from WellStar were responsible for the

 medical operations of the infirmary, while sheriff’s deputies were present for

 security. (Allen Dep. 76:8-77:3.2)

      RESPONSE: Cobb County Sheriff’s Office has ultimate responsibility

to provide medical care to detainees at the CCADC. Cobb County Sheriff

contracted with a third-party medical provider to provide medical care in

the infirmary at the CCADC. It was the CCSO responsibility to ensure that
                                  -2-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 3 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 80 of 180



all CCADC received adequate medical care. (O.C.G.A. § 42–4–4; Estelle v.

Gamble, 429 U.S. 97, 104, (1976)).

         6)    According to Chief Deputy Shonya Allen, Deputies were trained not

to make medical decisions but instead to defer to the medical staff. (Allen Dep.

94:6- 15.)

         RESPONSE: Chief Deputy Sonya Allen testified that the deputies are

trained to defer to medical when deciding whether to call an ambulance, but

that does not mean that they can allow medical to not provide adequate

medical care.

         7)    While he was transporting Mr. Wingo, Mr. Wingo told Deputy

 Appleby that he had an ulcer. Deputy Appleby relayed this information to the

 nursing staff in the infirmary. (Appleby Dep. 21:19-22:6, 24:22-25:2.)

         RESPONSE: Admitted.

         8)    Nurse Yvette Burton was the charge nurse for the night shift in the

 Cobb County Adult Detention Center in September of 2019. (Burton Dep. 22:13-

 18.3)

         RESPONSE: Admitted.

         9)    Charge Nurse Burton admitted Kevil Wingo into the infirmary

 around 12:35 a.m. on September 29, 2019. (Burton Dep. 42:7-14.)

         RESPONSE: Admitted.

                                       -3-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 4 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 81 of 180



        10)    He was complaining of nausea, vomiting, and abdominal

 discomfort. (Burton Dep. 101:20-24.)

       RESPONSE: Admitted.

        11)    When Mr. Wingo was first brought to the infirmary, he was heard

 saying “Lord, help me through this, and I’ll never use drugs again.” (McPhee

 Dep. 101:9-11, 147:11-134; see also Burton Dep. 45:6-8; Jones Dep. 32:4-135.)

       RESPONSE: Plaintiffs admit that Deputy McPhee and Nurse Burton

testified to this fact.

        12)    Mr. Wingo also said “I’m still detoxing.” (Burton dep.48:16-21.)

       RESPONSE: Defendant’s citation does not support this statement. The

medical records state that Mr. Wingo stated “I’m still detoxing” under the

subjection section. The medical records further state that a “Dr. Hindi”

admitted Mr. Wingo to the infirmary and developed plan for Mr. Wingo’s

care. Nurse Burton testified that Dr. Hindi was never called. (Exhibit 1

Burton Dep. at p. 56:10).

        13)    Charge Nurse Burton believed detoxing to be a common condition

 among inmates in the infirmary. (Burton Dep. 26:24-27:3.)

       RESPONSE: Nurse Shanna Griffith testified that Detoxing can be fatal

and is a serious medical condition that needs to be managed and observed.

(Shanna Griffith Dep. p. 38:25, relevant pages attached as Exhibit 2). She also

                                        -4-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 5 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 82 of 180



testified that if someone is having a serious reaction to detoxing that person

would not be sent to the infirmary extension because they would not get the

same level of medical care in the infirmary extension as they would in the

infirmary. (Exhibit 2, Griffith Dep. at p 84:1-11) Nurse Burton testified that

seriously ill detainees should never be placed in the infirmary extension.

(Exhibit 1Burton Dep. 99:7-14).

       14)    Mr. Wingo was on “withdrawal check,” meaning he was on an

 “opiate detox protocol,” which led Charge Nurse to believe “he was still

 detoxing.” (Burton Dep. 45:9-19.)

       RESPONSE: Admitted.

       15)    Nurse Shanna Griffith was also a nurse working in the infirmary for

 the night shift. (Griffith Dep. 28:2-15.6)

       RESPONSE: Admitted.

       16)    According to Nurse Griffith, after Mr. Wingo was brought down,

 staff took his vitals. “And then Ms. Yvette [Burton] said that we were going to

 admit him so he could stay overnight or the rest of the night so that way he could

 see the doctor in the morning.” (Griffith Dep. 42:12-19.)

      RESPONSE: Plaintiff admits Nurse Burton made this statement.

       17)    Nurse Griffith believed Mr. Wingo was suffering from withdrawal

 based on his symptoms and his statements that “I’m not ever going to touch that

                                         -5-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 6 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 83 of 180



 shit again” and “that this wasn’t the first time he had gone through something like

 this.” (Griffith Dep. 44:9-23.)

      RESPONSE: Admitted.

       18)     Mr. Wingo was “very loud” from the moment Deputy McPhee first

 saw him. (McPhee Dep. 98:11-99:2.)

      RESPONSE: Admitted.

       19)     This behavior was not abnormal for the infirmary, according to

 Deputy McPhee. (McPhee Dep. 103:3-21, 171:10-22.)

      RESPONSE:          Plaintiff admits that Deputy McPhee made this

statement.

       20)     Deputy McPhee understood that Mr. Wingo was brought to the

 infirmary around 11:52 p.m. for abdominal pains. (McPhee Dep. 143:6-21,

 145:7- 12.)

      RESPONSE: Admitted.

       21)     Mr. Wingo made several requests to go to the hospital during the

 night shift, and Deputy McPhee advised Mr. Wingo that that would be medical’s

 decision. (McPhee Dep. 154:14-22.)

      RESPONSE: Admitted.

       22)     As he attempted to talk with Mr. Wingo about his requests to go to

 the hospital, Mr. Wingo told Deputy McPhee to “just shut the fuck up and do

                                       -6-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 7 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 84 of 180



 what I’m telling you to do.” (McPhee Dep. 157:7-18.)

      RESPONSE: Plaintiff admits that Deputy McPhee made this statement.

       23)   At some point during the night shift, one of Mr. Wingo’s cell mates

 began to complain that he could not sleep because Mr. Wingo was being so loud.

 (McPhee Dep. 170:6-12.)

      RESPONSE: Admitted.

       24)   Towards the end of Deputy McPhee’s shift, Mr. Wingo complained

 of having an ulcer, and Deputy McPhee relayed this complaint to the nurses who

 did not examine Mr. Wingo. (McPhee Dep. 174:1-19.)

      RESPONSE: Admitted in part, but Mr. Wingo complained of having

an ulcer from the moment he was brought to the infirmary and this

information was communicated to infirmary staff and the deputy on duty.

(Exhibit 3 Quentin Appleby Dep at pgs. 21:19-25, 22:1-2, 24-26).

       25)   Nurse Griffith heard Mr. Wingo’s complaints of having an ulcer.

 (Griffith Dep. 51:15-19.)

      RESPONSE: Admitted.

       26)   At the time, Nurse Griffith was not aware of the risks of a perforated

 ulcer or the symptoms that might present if an ulcer is perforated. (Griffith

 Dep. 52:13-18.)

      RESPONSE: Plaintiffs admit Nurse Griffith surprisingly made this

                                      -7-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 8 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 85 of 180



statement.

       27)    Nurse Griffith recalls that Mr. Wingo only complained of having

 ulcers once. (Griffith Dep. 53:13-21.)

       RESPONSE: Nurse Griffith could not recall all Mr. Wingo’s

complaints throughout the evening but did recall at least once he made the

statement over the medical distress intercom in listening distance to the

deputy that Mr. Wingo complained of an ulcer. (Exhibit 2 Griffith Dep. 52-

53).

       28)    When breakfast was served between 4:00 a.m. and 5:30 a.m., Deputy

 McPhee saw Mr. Wingo eat his breakfast “with gusto,” “he got the tray and just

 started digging into it.” (McPhee Dep. 186:20-188:5.)

       RESPONSE: Plaintiffs admit that Deputy McPhee testified that he saw

Mr. Wingo eat his food but he did not watch Mr. Wingo finish the tray. Dr.

Brian Myers testified that eating sometimes calms the pain from ulcers and

Mr. Wingo may have eaten fast because he was hoping to relive the pain he

had been experiencing throughout the evening. (Exhibit 4, Brian Myers Dep.

at pgs. 32:7-16; 102-103).

       29)    Charge Nurse Burton believed Mr. Wingo’s ability to eat his

 breakfast indicated that he could tolerate food. (Burton Dep. 52:1-8.)

       RESPONSE: Nurse Burton did not testify that she saw Mr. Wingo eat

                                          -8-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 9 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 86 of 180



his food or be able to tolerate food.         She surmised that if someone eats

breakfast, she might infer that they were able to tolerate food. She did not

evaluate Mr. Wingo’s ability to eat his food. (Exhibit 1 Burton Dep. at p.

52:1-11).

       30)    Another nurse on night shift, Nurse Jones, believed that “[i]f he was

 that sick, you wouldn’t think he would be able to eat his breakfast, especially if

 his stomach was hurting.” (Jones Dep. 45:3-5.)

      RESPONSE: Plaintiff admits that Licensed Practical Nurse Kelly Jones

(“LPN Jones”) made that statement. However, it is unsupported by any

admissible medical testimony.

       31)    Nurse Griffith believed Mr. Wingo was still in detox at the end of

 her shift, around 5:40 a.m. (Griffith Dep. 62:5-16.)

      RESPONSE: Plaintiffs admit that Nurse Griffith made this statement.

                                   Infirmary Day
                                        Shift
       32)    On the date of the incident, Deputy Marshall began her shift at

              6:00

 a.m. and was assigned to work in the infirmary. (Marshall Dep. 137:4-10.7)

      RESPONSE: Admitted.

       33)    Nurse Annaleen Visser was the charge nurse in the infirmary for

 that shift. (Visser Dep. 15:4-108.)
                                        -9-
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 10 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 87 of 180



      RESPONSE: Admitted.

       34)   As the Charge Nurse, Nurse Visser had the final say on medical

 decisions with respect to the inmates in the infirmary. (Visser Dep. 16:1-5,

 17:17- 20, 18:5-11.)

      RESPONSE:          Cobb County Sheriff’s Office by statute and

constitutional authority has the final say on medical treatment detainees in

their custody receive. Nurse Visser may have been authorized to make some

medical decisions, but the final responsibility to provide detainees medical

care rests with the Cobb County Sheriff’s Office. Additionally, there was a

physician on call who made final medical decisions.

       35)   When Nurse Visser began her shift, she received a report from the

 night charge nurse, Yvette Burton, about what had occurred in the jail that

 evening. Nurse Burton told Nurse Visser about Mr. Wingo: “you’ve got one

 inmate here who’s disruptive, who’s loud, who wants to go to the ER.” (Visser

 Dep. 58:16-24, 60:4-8, 61:16-20.)

      RESPONSE: Nurse Yvette Burton provided Nurse Visser with a shift

report when her shift ended but could not recall everything she reported. She

did testify that Mr. Wingo was never loud or aggressive (Exhibit 1 Burton

Dep. at pgs. 109-110).

       36)   Nurse Burton did not tell Nurse Visser that Mr. Wingo had been

                                     - 10 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 11 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 88 of 180



 complaining of abdominal pain. (Visser Dep. 61:6-8.)

      RESPONSE: Nurse Burton testified that she could not recall everything

she told Nurse Visser but told her that he needed to see the doctor. (Exhibit 1

Burton Dep. at pgs. 109-110).

       37)   Based on her conversation with Nurse Burton, Nurse Visser

 concluded that Mr. Wingo was 37, ing and that Mr. Wingo wanted to find a way

 to get to the emergency room at the hospital. (Visser Dep. 65:7-19.)

      RESPONSE: Nurse Visser testified that she believed Mr. Wingo was

detoxing and that all inmates wanted to go to the ER. (Exhibit 5 Annaleen

Visser Dep. at p. 65:7-19).

       38)   In her experience, “all detoxing inmates” want to go to the

 emergency room to receive more comfortable accommodations and privileges,

 such as a real bed, a television, better meals, and one’s own room. They also are

 more likely to receive opiates to manage their pain at the emergency room.

 (Visser Dep. 65:20- 66:13, 88:12-13 (“They’ll do anything to go to the ER.”).)

      RESPONSE:        Plaintiff admits that this is Nurse Visser’s misguided

opinion unsupported by any medical testimony.

       39)   When taking over the shift, Nurse Visser did not conduct any

 physical assessment of Mr. Wingo because he was disruptive. She claims that she

 would have conducted a physical assessment of him if he had calmed down.

                                       - 11 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 12 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 89 of 180



 (Visser Dep. 63:12- 64:1, 101:6-13.)

      RESPONSE: There is no evidence that Mr. Wingo was disruptive at

any time that he was housed in the infirmary. This is Nurse Visser’s sole

opinion. The video evidence in this case shows that Mr. Wingo was seriously

ill and did show signs of someone that was hostile or disruptive.            (See

Infirmary Video View 1 & 2, attached as Exhibit 6 and 7).

       40)   According to Nurse Visser, his disruptive behavior included yelling,

 shouting, wanting to go to the ER, banging on the window, and repeatedly

 “throwing himself on the floor.” (Visser Dep. 64:2-6.)

      RESPONSE: The video evidence in this case does not show Mr. Wingo

being disruptive. It shows that Mr. Wingo was in severe distress, unable to

stand on his own and unable to walk. The video evidence in this case further

shows that Mr. Wingo was not “throwing himself on the floor” but

involuntarily fainting several times and being ignored by jail staff. (Exhibit 6

&7 Infirmary Video View 1 & 2).

       41)   The infirmary was unusually busy that day, and was full. (Visser

 Dep. 63:9-11.)

      RESPONSE: Plaintiffs admit that Nurse Visser made this statement

but deny any proof of same.         The video footage does not show a busy

infirmary. In fact it shows the infirmary staff sitting around most of the time

                                        - 12 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 13 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 90 of 180



surfing the internet and playing solitaire. (Exhibit 6 Infirmary Video View 1).

      42)    Deputy Marshall was the only deputy assigned to the infirmary at

that time. (Marshall Dep. 142:14-19.)

      RESPONSE: Admitted.

       43)   The deputy from the prior shift, Britton McPhee, told Deputy

 Marshall that Mr. Wingo had been hollering, stating that he needed to go to the

 hospital, and had been disruptive. “He said the nurses said he’s just detoxing,”

 which is the same thing the nurses had told Deputy Marshall. He also told

 Deputy Marshall had eaten his breakfast that morning and that he had been

 getting into to the other inmate’s stuff, and to watch the cell “because there was

 some tension in there.” (Marshall Dep. 145:11-19.)

      RESPONSE: Plaintiff admits that Deputy Marshall testified to this

statement, but that the video evidence does not show Mr. Wingo being

disruptive at anytime during his infirmary housing. (Exhibit 6 &7 Infirmary

Video View1 & 2).

       44)   Deputy Marshall understood that Mr. Wingo was in the infirmary

 for detox. (Marshall Dep. 138:4.)

      RESPONSE:        Deputy Marshall knew that Mr. Wingo was in the

infirmary for detoxing. She also knew that he had repeatedly said throughout



                                        - 13 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 14 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 91 of 180



the morning that he needed to go to the hospital and that he said he couldn’t

breathe. (Exhibit 8, Lynda Marshall Dep. at p. 138:1-9)

        45)      Nurse Visser testified that Mr. Wingo’s symptoms were typical for

 detoxing. (Visser Dep. 56:19-57:3.)

       RESPONSE:           Plaintiffs admit that Nurse Visser testified to this

statement but that it is not supported by any medical testimony.

        46)      Nurse Visser also believed that Mr. Wingo was being disruptive and

 was yelling loudly. (Visser Dep. 58:7-12.)

       RESPONSE: Plaintiffs admit that Nurse Visser believed this fact, but

that the video evidence shows that Mr. Wingo was not disruptive and was

seriously ill.

        47)      Detox is one of the more common conditions that bring inmates to

 the jail’s infirmary. (Visser Dep. 45:24-46:7.)

       RESPONSE: Admitted.

        48)      Deputy Marshall, over her 27 years of experience at the Sheriff’s

 Office, has frequently seen individuals who were detoxing at the jail. (Marshall

 Dep. 76:12-17.)

       RESPONSE: Admitted.

        49)      At the time, she did not know or believe that detoxing could be fatal,

 but she did know that it could lead to seizures “and stuff like that.”

                                          - 14 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 15 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 92 of 180



 (Marshall Dep. 174:9-13.)

      RESPONSE: Deputy Marshall knew that detoxing was a medical

condition, and that people can have adverse reactions from detoxing that can

lead to medical emergencies as identified in CCSO policies and procedures

and that detoxing needed to be watched. (Exhibit 8 Marshall Dep. at p. 174:2-

22). Deputy Marshall also testified that she knew detoxing could be a serious

medical issue. (Exhibit 8 Marshall Dep. at 177:9-14).

       50)     Specifically, Deputy Marshall had seen detoxing inmates stumble,

 slur their words, be unsteady on their feet, and have seizures. (Marshall Dep.

 175:14-19.)

      RESPONSE: Deputy Marshall knew that detoxing was a medical

condition, and that people can have adverse reactions from detoxing that can

lead to medical emergencies as identified in CCSO policies and procedures

and that detoxing needed to be watched. (Exhibit 8 Marshall Dep. at p. 174:2-

22). Deputy Marshall also testified that she knew detoxing could be a serious

medical issue. (Exhibit 8 Marshall Dep. at 177:9-14).

       51)     Deputy Marshall has also seen detoxing inmates fall to the ground.

 (Marshall Dep. 176:11-18.)

      RESPONSE: Deputy Marshall knew that detoxing was a medical

condition, and that people can have adverse reactions from detoxing that can

                                       - 15 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 16 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 93 of 180



lead to medical emergencies as identified in CCSO policies and procedures

and that detoxing needed to be watched. (Exhibit 8 Marshall Dep. at p. 174:2-

22). Deputy Marshall also testified that she knew detoxing could be a serious

medical issue. (Exhibit 8 Marshall Dep. at 177:9-14).

       52)   Deputy Marshall believed it was normal for people who were

 detoxing to stumble as they walked. (Marshall Dep. 25:7-9.)

      RESPONSE: Deputy Marshall knew that detoxing was a medical

condition, and that people can have adverse reactions from detoxing that can

lead to medical emergencies as identified in CCSO policies and procedures

and that detoxing needed to be watched. (Exhibit 8 Marshall Dep. at p. 174:2-

22). Deputy Marshall also testified that she knew detoxing could be a serious

medical issue. (Exhibit 8 Marshall Dep. at 177:9-14).

       53)   Deputy Marshall believed medical personnel would determine

 whether or not detoxing would amount to “a serious medical issue.” (Marshall

 Dep. 177:3- 8.)

      RESPONSE: Deputy Marshall knew that detoxing was a medical

condition, and that people can have adverse reactions from detoxing that can

lead to medical emergencies as identified in CCSO policies and procedures

and that detoxing needed to be watched. (Exhibit 8 Marshall Dep. at p. 174:2-

22). Deputy Marshall also testified that she knew detoxing could be a serious

                                      - 16 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 17 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 94 of 180



medical issue. (Exhibit 8 Marshall Dep. at 177:9-14).

      54)    Based on her observations of Mr. Wingo, he appeared to her to be

detoxing. (Marshall Dep. 175:8-10.)

      RESPONSE: Plaintiffs admit Deputy Marshall and Nurse Visser made

these statements.

      55)    At the time, Mr. Wingo was housed in Cell 8 of the infirmary.

(Marshall Dep. 148:16-19.)

      RESPONSE: Plaintiffs admit Deputy Marshall and Nurse Visser made

 these statements.

      56)    Deputy Marshall observed Mr. Wingo holler throughout the morning

that he needed to go to the hospital. (Marshall Dep. 138:4-6, 147:10-16.)

      RESPONSE: Plaintiffs admit Deputy Marshall and Nurse Visser made

these statements.

       57)   Nurse Visser heard Mr. Wingo make these same requests. (Visser

 Dep. 67:10-18.)

      RESPONSE: Plaintiffs admit Deputy Marshall and Nurse Visser made

these statements.

       58)   Nurse Visser told Mr. Wingo that she would examine him once he

 was calm. (Visser Dep. 67:10-21.)

      RESPONSE: There is no evidence that Mr. Wingo was not calm. The

                                       - 17 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 18 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 95 of 180



video evidence shows Mr. Wingo in severe medical distress. (Exhibit 6 &7

Infirmary Videos Views 1 & 2).

       59)    Nurse Visser did not immediately evaluate Mr. Wingo because she

 feared what he might do if she tried to take his vitals while he was upset. (Visser

 Dep. 67:21-68, 187:22-188:1 (“Can’t have that because I don’t know—if I open

 the door, what is he going to do? There’s Deputy Marshall and females. There’s no

 male. I don’t know what he’s going to do. Is he going to attack somebody?”),

 236:2-22 (Nurse Visser never thought it was “medically prudent” to have

 security bring Mr. Wingo to her for an evaluation “Because he was still in his

 acting mode. I don’t know—I don’t know what he was going to do.”).)

      RESPONSE: There is no evidence that Mr. Wingo was not calm. The

video evidence shows Mr. Wingo in severe medical distress. (Exhibit 6 &7

Infirmary Videos Views 1 & 2).

       60)    Nurse Visser also heard Mr. Wingo complain of stomach pain and

 cramps, which she believed to be a normal symptom of detox. (Visser Dep.

 68:19- 23, 75:5-8.)

      RESPONSE: Plaintiffs admit that Nurse Visser made this statement,

but dispute what she actually believed.

       61)    Ultimately, Nurse Visser did not examine Mr. Wingo because she

 believed he was “acting out.” (Visser Dep. 75:15-18, 76:4-13.)

                                       - 18 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 19 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 96 of 180



        RESPONSE: There is no evidence the record that shows Mr. Wingo

was “acting out”.      The video evidence does not support this statement.

(Exhibit 6 &7 Infirmary Videos Views 1 & 2).

        62)   While Nurse Visser saw Mr. Wingo fall several times, she believed

he was “throwing himself” on the floor and “faking” these episodes.

(Visser Dep. 159:21-160:7, 161:12-18, 167:19-168:9, 169:70-171:5, 200:20-22,

250:1-3, 255:15-24.)

        RESPONSE: The video evidence contradicts these false statements and

clearly shows Mr. Wingo’s numerous involuntary falls, inability to walk and

medical distress. (Exhibit 6 &7 Infirmary Videos Views 1 & 2).

        63)   Nurse Visser also attributed Mr. Wingo’s gait as he walked to

 “acting out.” (Visser Dep. 241:21-242:19.)

        RESPONSE: The video evidence contradicts these false statements and

clearly shows Mr. Wingo’s numerous involuntary falls, inability to walk and

medical distress. (Exhibit 6 &7 Infirmary Videos Views 1 & 2).

        64)   Despite everything Nurse Visser saw with respect to Mr. Wingo, she

 did not believe he was suffering from a medical emergency. (Visser Dep. 211:22-

 23.)

        RESPONSE: The video evidence contradicts these false statements and

clearly shows Mr. Wingo’s numerous involuntary falls, inability to walk and

                                      - 19 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 20 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 97 of 180



medical distress. (Exhibit 6 &7 Infirmary Videos Views 1 & 2).

       65)      Mr. Wingo also told Deputy Marshall that he could not breathe.

 When Deputy Marshall asked for clarification and more detail from Mr. Wingo,

 he simply responded that he could not breathe and wanted to go to the hospital.

 (Marshall Dep. 138:4-17, 149:15-150:5., 242:14-243:5.)

      RESPONSE: Mr. Wingo did “simply” state he could not breathe. Mr.

Wingo informed Deputy Marshall that he could not breathe and needed to go

to the hospital.

       66)      Deputy Marshall told the nurses that Mr. Wingo was complaining of

 breathing troubles, and they told her that Mr. Wingo “was just trying to go to the

 hospital, he was detoxing, drug seeking, that he was okay.” (Marshall Dep.

 138:18- 21.)

      RESPONSE: In contradiction to Deputy Marshall’s testimony, Nurse

Visser testified that she was never told that Mr. Wingo could not breathe.

(Exhibit 5, Visser Dep. at p. 237:10-13).

       67)      Mr. Wingo’s complaints of being unable to breathe would not have

 affected Nurse Visser’s assessment of Mr. Wingo “because he was yelling. […]

 You can’t not breathe and yell. […] He was yelling and acting out, no.”

 (Visser Dep. 237:25-238:11.)

      RESPONSE:          Plaintiffs admit that Nurse Visser testified to that

                                       - 20 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 21 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 98 of 180



unfortunate statement.

       68)    While Mr. Wingo can be seen falling in his cell during Deputy

 Marshall’s shift, Deputy Marshall did not see these falls at the time. (Marshall

 Dep. 157:22-158:6, 161:2-12.)

      RESPONSE: Deputy Marshall told Major Branson Harris that she had

been watching Mr. Wingo and that he did not fall. (Exhibit 9 Marshall and

Harris Internal Phone Call). The video evidence shows Mr. Wingo fainting

several times in Deputy Marshall’s presence and no one attending to Mr.

Wingo. (Exhibit 6 &7 Infirmary Videos Views 1 & 2 at 7:28 a.m. – 7:33 a.m.).

       69)    At one point, inmates inside the cell with Mr. Wingo advised that

 there was going to be a fight in that cell. (Marshall Dep. 138:22-25.)

      RESPONSE: Plaintiffs admit that Deputy Marshall and Nurse Visser

testified to these statements. The video evidence shows that Mr. Wingo was

imbalanced and involuntarily fell on the beds in the cell and at least one

inmate became upset. Id.

       70)    The nurses also confirmed that the inmates in Cell 8 were about to

 fight. (Marshall Dep. 162:7-10.)

     RESPONSE: Plaintiffs admit that Deputy Marshall and Nurse Visser

testified to these statements. The video evidence shows that Mr. Wingo was

imbalanced and involuntarily fell on the beds in the cell and at least one

                                        - 21 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 22 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 99 of 180



inmate became upset. Id.

       71)    According to Nurse Visser, one of the inmates in Cell 8 knocked on

 the window and said “get this guy out of my bed before there’s a fight.”

 (Visser Dep. 64:13-16, 80:23-81:2 (“Get him out of here before there’s a fight,

 before I hit him.”).)

      RESPONSE: Plaintiffs admit that Deputy Marshall and Nurse Visser

testified to these statements. The video evidence shows that Mr. Wingo was

imbalanced and involuntarily fell on the beds in the cell and at least one

inmate became upset. Id.

       72)    Deputy Marshall saw the inmates in Cell 8 standing up and yelling.

 (Marshall Dep. 162:12-16.)

      RESPONSE: Plaintiffs admit that Deputy Marshall and Nurse Visser

testified to these statements. The video evidence shows that Mr. Wingo was

imbalanced and involuntarily fell on the beds in the cell and at least one

inmate became upset. Id.

       73)    She had also seen Mr. Wingo getting on the other inmate’s beds,

 which was causing part of the trouble. (Marshall Dep. 204:18-25.)

      RESPONSE: Plaintiffs admit that Deputy Marshall and Nurse Visser

testified to these statements. The video evidence shows that Mr. Wingo was

imbalanced and involuntarily fell on the beds in the cell and at least one

                                      - 22 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 23 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 100 of 180



 inmate became upset. Id.

       74)     Deputy Marshall wanted to take Mr. Wingo out of the cell to make

 sure the other inmates, who were angry with him, did not hurt him. (Marshall Dep.

 231:1- 13.)

       RESPONSE: Plaintiffs admit that Deputy Marshall and Nurse Visser

 testified to these statements. The video evidence shows that Mr. Wingo was

 imbalanced and involuntarily fell on the beds in the cell and at least one

 inmate became upset. Id.

        75)    Deputy Marshall proceeded to take Mr. Wingo out of the cell.

  (Marshall Dep. 138:22-24.)

       RESPONSE: Plaintiffs admit that Deputy Marshall and Nurse Visser

 testified to these statements. The video evidence shows that Mr. Wingo was

 imbalanced and involuntarily fell on the beds in the cell and at least one

 inmate became upset. Id.

        76)    As Deputy Marshall was unlocking the lock, Mr. Wingo can be seen

  on video falling again, but Deputy Marshall did not see this fall as she was

  occupied with the lock. (Marshall Dep. 163:12-164:2.)

       RESPONSE:        The video evidence shows Mr. Wingo involuntarily

 falling to the ground for nine minutes when Deputy Marshall opened the cell

 door and no one attending to him or his breathing complaints. (Exhibit 6 &7

                                       - 23 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 24 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 101 of 180



 Infirmary Videos Views 1 & 2).

        77)   While Mr. Wingo did tell Deputy Marshall that he fell in the

  shower, she conveyed this information to the nurses. (Marshall Dep. 165:5-23.)

       RESPONSE:        The video evidence shows Mr. Wingo involuntarily

 falling to the ground for nine minutes when Deputy Marshall opened the cell

 door and no one attending to him or his breathing complaints. (Exhibit 6 &7

 Infirmary Videos Views 1 & 2).

        78)   When Deputy Marshall went to open the door, Mr. Wingo was

  leaning on the door and went down to the ground. Deputy Marshall did not know

  if he fell or if he “went down playingly.” (Marshall Dep. 138:24-139:3, 168:16-

  169:3.)

       RESPONSE:        The video evidence shows Mr. Wingo involuntarily

 falling to the ground for nine minutes when Deputy Marshall opened the cell

 door and no one attending to him or his breathing complaints. (Exhibit 6 &7

 Infirmary Videos Views 1 & 2).

        79)   Deputy Marshall thought he might be “playing” at this time because

  she felt that he was trying to push his way out of the door, even though he knew

  she was about to open it. (Marshall Dep. 213:1-6.)

       RESPONSE:        The video evidence shows Mr. Wingo involuntarily

 falling to the ground for nine minutes when Deputy Marshall opened the cell

                                       - 24 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 25 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 102 of 180



 door and no one attending to him or his breathing complaints. (Exhibit 6 &7

 Infirmary Videos Views 1 & 2).

        80)   Deputy Marshall told the nurses that Wingo had fallen and wanted

  to go to the hospital. (Marshall Dep. 139:4; 170:11-13.) They did not do

  anything. (Marshall Dep. 170:14-17.)

       RESPONSE:       The video evidence shows Mr. Wingo involuntarily

 falling to the ground for nine minutes when Deputy Marshall opened the cell

 door and no one attending to him or his breathing complaints. (Exhibit 6 &7

 Infirmary Videos Views 1 & 2).

                       Major Harris and Lt. Gordon Arrive

        81)   Major Harris and Lt. Gordon were supervising Deputy Marshall that

  day. (Marshall Dep. 39:20-40:4; Gordon Dep. 59:20-22.9)

       RESPONSE: Admitted.

        82)   Lt. Gordon had never previously been trained on how to identify

  whether an inmate is detoxing. (Gordon Dep. 53:4-10.)

       RESPONSE: Plaintiff admits that Lt. Gordon made this statement.

        83)   Deputy Marshall called Lt. Gordon down to the infirmary to advise

  that there was an issue with Mr. Wingo. (Gordon Dep. 64:21-25.)

       RESPONSE: Admitted.

        84)   When he arrived at the infirmary, he saw Mr. Wingo on the ground.
                                         - 25 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 26 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 103 of 180



  He asked Mr. Wingo what was wrong, and Mr. Wingo said that someone had

  tried to hit him. (Gordon Dep. 65:1-6.)

       RESPONSE: Lt. Gordon stated that he could not really understand

 what Mr. Wingo was saying. (Exhibit 10 Charles Gordon Dep. at p. 65-66;

 83:1-16).

        85)    Mr. Wingo did not tell Lt. Gordon he wanted to go to the hospital.

  (Gordon Dep. 83:17-20, 95:17-19)

       RESPONSE: Plaintiffs admit that Lt. Gordon testified that Mr. Wingo

 did not tell him that he wanted to go to hospital, but video evidence shows that

 he was present when Deputy Marshall stated that he was making those

 statements.

        86)    Lt. Gordon asked Deputy Marshall why Mr. Wingo was on the

  floor, and she told him Mr. Wingo was causing “some type of issue with other

  inmates in the cell.” (Gordon Dep. 80:17-24.)

       RESPONSE: Admitted.

        87)    Lt. Gordon then asked a nurse what was going on with Mr. Wingo,

  and the nurse advised that Mr. Wingo “was fine medically.” (Gordon Dep. 65:8-

  13, 87:5- 10, 88:1-2, 89:3-8, 90:4-16, 96:18-22.)

       RESPONSE: Admitted.

        88)    When asked what he believed “medically okay” to mean, Lt.

                                        - 26 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 27 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 104 of 180



  Gordon testified: “Like is he in any like distress, medical distress, that he can’t—

  that he needs the next level of medical assistance. Like is he—is he medically

  fine. I—you know, because that person is in the infirmary, I feel like—I felt like

  the nurse should tell me if he’s medically okay, if he’s in any type [of] medical

  danger.” (Gordon Dep. 91:19-92:1.)

       RESPONSE: Admitted.

        89)    Mr. Wingo did not stand up when Lt. Gordon asked him to, but that

  was not unusual to Lt. Gordon, because “we have a lot of inmates when we ask

  them to stand up or do something, they don’t comply.” (Gordon Dep. 95:2-10.)

       RESPONSE: Lt. Gordon testified that he did not know if Mr. Wingo

 could stand or walk on his own when he observed him in the infirmary.

 (Exhibit 10. Gordon Dep. at p. 122-123). Lt. Gordon further testified that he

 believed that if he was not holding Mr. Wingo up, he would have fell to the

 ground. (Exhibit 10. Gordon Dep. at pgs. 123:1-9; 124:3-7; 126:13-24).

        90)    Lt. Gordon thought Mr. Wingo might have been disoriented, but he

  did not believe he was in any pain at that time. (Gordon Dep. 82:1-21.)

       RESPONSE: Admitted.

        91)    Lt. Gordon asked Deputy Marshall to call down watch commander

  Major Harris to the infirmary so he could assess the situation. (Gordon Dep.

  65:16- 20, 100:8-14, 133:10-13.)

                                         - 27 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 28 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 105 of 180



       RESPONSE: Admitted.


        Nurse Visser Decides Mr. Wingo Must Be Removed from the Infirmary

        92)   An inmate can be placed in a close observation cell if he has been

  disorderly or has been fighting with others. (Marshall Dep. 108:19-109:5.)

       RESPONSE: A detainee may only be placed in a padded close

 observation cell if he is suicidal or showing signs of hurting himself or others.

 An inmate may not be placed in padded cell for being disorderly. Lt. Gordon

 testified it must be a responsible reason to place someone in a padded cell. It

 must be either a medical reason or someone is going to hurt themselves.

 (Exhibit 10 Gordon Dep. at pgs. 148-149; CCSO Close Observation Policy 2-

 3-07.00 attached as Exhibit 11).

        93)   Deputy Marshall then called her supervisor to let him know what

  was going on, because she could not put Mr. Wingo back in the cell where the

  other inmates were threatening to hurt him. (Marshall Dep. 139:4-7; 172:13-15.)

       RESPONSE: Plaintiffs admit that Deputy Marshall testified to this

 statement.

        94)   She also called Major Harris to explain the situation, and told him

  that Mr. Wingo was “playing like he was falling” because that was her belief at

  that time. (Marshall Dep. 212:10-17; 8938-4212_2019-09-29-07-38 INF 2WC10.)

       RESPONSE: The video evidence does not show Mr. Wingo playing at
                                - 28 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 29 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 106 of 180



 all while housed in the infirmary.          The video evidence shows a main

 involuntarily falling and in serious medical distress. (Exhibit 6 &7 Infirmary

 Videos Views 1 & 2).

        95)   While Mr. Wingo was on the ground, Deputy Marshall did not know

  if he was faking or “playing around,” but the nurses had told her he was

  “messing around.” (Marshall Dep. 180:1-16.)

       RESPONSE: The video evidence does not show Mr. Wingo playing at

 all while housed in the infirmary.          The video evidence shows a main

 involuntarily falling and in serious medical distress. (Exhibit 6 &7 Infirmary

 Videos Views 1 & 2).

        96)   It never crossed Deputy Marshall’s mind at this point that Mr.

  Wingo might be sick and in need of medical attention—she just thought he was

  detoxing. (Marshall Dep. 220:13-20.)

       RESPONSE:        Deputy Marshall admitted that detoxing is a serious

 medical condition. (Exhibit 8 Marshall Dep. at 177:9-14).

        97)   Lt. Gordon asked Deputy Marshall to find out where they could put
              Mr.

  Wingo. (Marshall Dep. 185:7-17.)

       RESPONSE: Admitted.

        98)   Deputy Marshall then called to Deputy Wilkerson in the infirmary

  extension to see if he had a pad available. (Marshall Dep. 185:21-186:2.)
                                         - 29 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 30 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 107 of 180



       RESPONSE: Admitted.

        99)     Deputy Marshall called personnel at the Extension because that

  would have been the only place where Mr. Wingo could be sent while under

  close observation. (Marshall Dep. 187:17-24, 227:11-17; see also McPhee Dep.

  94:17-25 (explaining infirmary inmates could be housed in the padded cell in the

  extension “when the infirmary is completely full or if we need to make use of a

  padded cell.”).)

       RESPONSE:          Plaintiff admits that Deputy Marshall made this

 statement.

        100) Deputy Wilkerson was working in the extension, and Deputy

  McPhee told him that there was an inmate in the infirmary who was “playing

  games, trying to go to the hospital,” and “bothering the other inmates in the cell.”

  (Wilkerson Dep. 130:11-1911; see also 8938-3490_2019-09-29_07-36 INF to

  EXT.wav.12)

       RESPONSE: Deputy Marshall told Deputy Wilkerson that that she

 had an inmate playing games and trying to go to the hospital.                Deputy

 Wilkerson responded that was not going to happen. (Exhibit 12 Marshall and

 Wilkerson Internal Phone Call).

        101) During this conversation, Deputy Marshall did refer to Mr. Wingo as

  an “idiot” who was “playing games,” but that was because she had been told that

                                         - 30 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 31 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 108 of 180



  he was detoxing, playing games, drug seeking, and “trying to fenagle his way to

  the infirmary” by medical personnel. (Marshall Dep. 188:23-189:2, 192:25-

  193:10.)

       RESPONSE: Deputy Marshall called Mr. Wingo an “idiot” without

 explanation. Her self-serving reason as to why she called Mr. Wingo an

 “idiot” is disputed and a question for the jury to decide. The video evidence

 also shows that Mr. Wingo was not playing games. There is no evidence on

 the record that Mr. Wingo was drug seeking or attempting to fenagle

 anything.

        102) Deputy Wilkerson understood Deputy Marshall’s use of the word

  “idiot” to mean “one who’s behaving erratically or disturbing the peace, causing

  problems, playing games.” (Wilkerson Dep. 133:22-25.)

       RESPONSE: Deputy Wilkerson’s self-serving understanding of Deputy

 Marshall calling him an idiot, his response to same is in dispute and a

 question for the jury. There is no evidence in this case that Mr. Wingo was

 disturbing peace, causing problems or playing games.

        103) Deputy Wilkerson understood “playing games” to refer to an inmate

  who “would fake medical emergencies just to get staff to respond appropriately.”

  (Wilkerson Dep. 134:1-4.)

       RESPONSE: Deputy Wilkerson’s self-serving understanding of Deputy

                                       - 31 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 32 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 109 of 180



 Marshall calling him an idiot, his response to same is in dispute and a

 question for the jury. There is no evidence in this case that Mr. Wingo was

 disturbing peace, causing problems or playing games.

        104) Deputy Marshall told Deputy Wilkerson that Mr. Wingo was “trying

  to get to the hospital,” and Deputy Wilkerson responded, “that’s not going to

  happen,” because, as Deputy Wilkerson explained, “if he was actually playing

  games and trying to go to the hospital, that pre se is not going to get him to go to

  the hospital.” (Wilkerson Dep. 137:3-6.)

       RESPONSE: Deputy Wilkerson’s self-serving understanding of Deputy

 Marshall calling him an idiot, his response to same is in dispute and a

 question for the jury. There is no evidence in this case that Mr. Wingo was

 disturbing peace, causing problems or playing games.

        105) Deputy McPhee had also told Deputy Marshall that “he was trying

  to get to the hospital, that the nurses were saying that he is just detoxing.”

  (Marshall Dep. 193:3-9.)

       RESPONSE: Detoxing is a serious medical condition.

        106) When Major Harris arrived, he spoke with Lt. Gordon, who told him

  what the other inmates in Mr. Wingo’s cell had told him, and that he wanted

  Major Harris to talk to Nurse Visser to make sure he was “medically okay” to

  move to another location. (Gordon Dep. 134:2-9.)

                                         - 32 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 33 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 110 of 180



       RESPONSE: Lieutenant Gordon testified that he does not recall his

 conversation with Major Harris and only testified what he believes he might

 have said but affirmed he does not remember saying any of the statements

 Defendant’s claim he made in this pararagraph.

        107) When Major Harris came down to the infirmary, Mr. Wingo did not

  appear to him to be in pain. (Harris Dep. 131:10-15.13)

       RESPONSE: The video evidence shows that when Major Harris came

 down he barely looked at Mr. Wingo. The video evidence further shows Mr.

 Wingo to be showing signs of pain and distress. Mr. Wingo could not stand

 or walk on his own. Major Harris also did not ask Mr. Wingo how he was

 doing. Major Harris also sated Mr. Wingo was not grimacing, could stand on

 his own, did not speak to him, he does not know if Mr. Wingo was able to

 speak, he did not ask Mr. Wingo if he was in pain or if he wanted to go to the

 hospital or if he had been seen by medical, he did not ask how long he had

 been having issues.    (Exhibit 13 Harris Dep. at pgs. 131-134; (Exhibit 6 &7

 Infirmary Videos Views 1 & 2).

        108) Major Harris then went to speak with Nurse Visser. (Marshall

  Dep. 222:20-25; Gordon Dep. 138:18-21.)

       RESPONSE: Admitted.

        109) Nurse Visser told Major Harris and Lt. Gordon that Mr. Wingo was

                                        - 33 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 34 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 111 of 180



  detoxing. (Visser Dep. 82:23-83:3.)

       RESPONSE: Nurse Visser also told Major Harris that Mr. Wingo

 wanted to go to the emergency room. (Exhibit 13 Harris Dep. at p. 115: 1-4).

        110) According to Major Harris, Nurse Visser told him Mr. Wingo “was

  detoxing and he was trying to get to the hospital—he was drug seeking is the

  term she used—and that he needed to be isolated in a cell by himself.” (Harris Dep.

  79:18- 23.)

       RESPONSE: Admitted.

        111) Major Harris has never been trained on how to identify whether

  someone is detoxing. (Harris Dep. 81:18-20, 95:3-7.)

       RESPONSE: Admitted that Major Harris made that statement.

        112) To Major Harris, “drug seeking” means that Mr. Wingo “was trying

  to get to the hospital to receive, I’m assuming, some kind of drugs or pain

  medication or what have you.” (Harris Dep.82:17-21.)

       RESPONSE: Admitted that Major Harris made that statement.

        113) Major Harris noted that “the infirmary was full. The only padded

  cell we had there had another inmate inside it. So I asked her, you know, where we

  should place him as far as medically or otherwise, and she said he needed to be

  isolated in a cell by himself. And so the only cell I had was the infirmary extension,

  the isolation cell.” (Harris Dep. 79:25-80:6.)

                                          - 34 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 35 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 112 of 180



       RESPONSE: Admitted that Major Harris made that statement.

        114) Major Harris discussed with Nurse Visser whether he was medically

  cleared to be moved away from the infirmary, and she told him that Mr. Wingo

  was. (Harris Dep. 108:19-109:15.)

       RESPONSE:       Admit that he made that statement.        Video evidence

 shows that he was not. (Exhibit 6 &7 Infirmary Videos Views 1 & 2).

        115) Major Harris understood “medically clear” to mean “that the nurses

  checked him out and that he’s cleared as far as medical’s concern[ed].” (Harris

  Dep. 110:7-15.)

       RESPONSE: Plaintiffs admit Major Harris made this statement but

 dispute that Mr. Wingo was not in serious medical distress as evidenced by

 infirmary video.

        116) Charge Nurse Analeen Visser made the initial decision to place

 Mr. Wingo in close observation. (Marshall Dep. 139:25-140:8, 185:3-6; Visser

 Dep. 300:23-25.)

       RESPONSE: Nurse Visser originally stated that Deputy Marshall made

 the initial decision to place Mr. Wingo in close observation. (Exhibit 14 Nurse

 Visser Internal Affairs Video Interview). Deputy Marshall testified that she

 did not know the decision where Mr. Wingo went. (Exhibit 8 Marshall Dep.

 p. 140:11-18).

                                      - 35 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 36 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 113 of 180



           117) No defendant or other security officer made the suggestion to Nurse

  Visser to move Mr. Wingo to the infirmary before she made that decision herself.

  (Visser Dep. 301:1-23.)

       RESPONSE: Plaintiffs admit that Nurse Visser made the statement she

 suggested Mr. Wingo be moved but that the final decision as to where to place

 Mr. Wingo was security. (Exhibit 5 Visser Dep. at p. 18).

           118) The decision to send an inmate to a close observation cell would be

  made by medical staff. (Harris Dep. 60:10-18.)

       RESPONSE: Nurse Visser stated that the decision to place an inmate in

 a close observation cell would be made by security. (Exhibit 5 Visser Dep. at

 p. 18).

           119) According to Lt. Gordon, Nurse Visser “was saying she believed he

  needed to be in—needed to be placed in—on a suicide watch. And I remember

  that there were not any spaces in the infirmary, so we moved him over to the

  extension pad.” (Gordon Dep. 66:11-16; 100:24-101:6.)

       RESPONSE: Plaintiff admits Lt. Gordon made the statement asserted.

           120) Lt. Gordon asked Nurse Visser “at least two times” whether Mr.

  Wingo was medically clear to go to the extension pad. (Gordon Dep. 108:14-21.)

       RESPONSE: Plaintiff admits that Lt. Gordon made this statement

 after asking him about Mr. Wingo falling in front of him multiple times when

                                         - 36 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 37 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 114 of 180



 he was in the infirmary. No other witness testified that Lt. Gordon ever made

 this statement.

        121) The second time he asked Nurse Visser if Mr. Wingo was medically

  okay was after Mr. Wingo fell down in front of Lt. Gordon. (Gordon Dep.

  113:17- 21.)

       RESPONSE: Plaintiff admits that Lt. Gordon made this statement

 after asking him about Mr. Wingo falling in front of him multiple times when

 he was in the infirmary. No other witness testified that Lt. Gordon ever made

 this statement.

        122) Because Nurse Visser advised Lt. Gordon that Mr. Wingo was

  detoxing, he assumed that was Mr. Wingo’s medical condition. (Gordon

  Dep. 109:15-22.)

       RESPONSE: Plaintiff admits that Lt. Gordon made this statement.

        123) Lt. Gordon has not received any training on identifying the

  symptoms of detox, its hazards, or whether it constitutes an emergency. (Gordon

  Dep. 111:23- 112:18.)

       RESPONSE: Plaintiff admits that Lt. Gordon made this statement.

       124)      According to Nurse Visser, she made this decision “[b]ecause he

 was disruptive. He was loud. He was yelling. And everybody was watching. It was

 early Sunday morning, and we have sick people in the infirmary, pregnant ladies

                                        - 37 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 38 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 115 of 180



 in the infirmary, and it’s disruptive, you know, so he had to be moved. And

 also—also there was going to be a fight.” (Visser Dep. 18:25-19:7, 187:20-22

 (“You people don’t F’ing care. I want to go to the hospital. Open the door, let me

 out. I want to go to hospital. You don’t fucking care.” (quoting Mr. Wingo).)

       RESPONSE: Nurse Visser originally stated in an internal affairs

 interview that she did not know who made the decision to send Mr. Wingo to

 the padded cell.     She further testified in her deposition that she could

 recommend that a detainee be removed from infirmary and jail makes

 decision where to house detainee. (Exhibit 5 Visser Dep. at p. 18).

        125) The three close observation cells in the infirmary were occupied that

  morning. (Visser Dep. 19:8-25.)

       RESPONSE: Plaintiff admits that Nurse Visser made this unverified

 statement.

        126) According to Nurse Visser, she made the medical decision that

 Mr. Wingo had to be moved out of his cell, and it was then up to the security staff

 to determine where to put him. (Visser Dep. 21:17-21; 288:21-24 (“As medical—in

 his case, I can say he’s disruptive and he has to go somewhere.”), 291:13-24

 (Major Harris could not override Nurse Visser’s medical determination that Mr.

 Wingo had to be removed from the infirmary).)

       RESPONSE: Plaintiff admits that Nurse Visser made this statement

                                        - 38 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 39 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 116 of 180



 but disputes that the Major of the jail cannot override a nurse at the jail.

        127) Lt. Gordon also believes Nurse Visser made the decision to remove

 Mr. Wingo from the infirmary. (Gordon Dep. 146:20-147:6.)

       RESPONSE: Lt. Gordon stated that medical told him that Mr. Wingo

 had to be moved on suicide watch. There is no evidence in this case that Mr.

 Wingo was suicidal or attempting to hurt himself. No one has testified that he

 attempted to harm himself. (Exhibit 10 Gordon Dep. at p. 66:10-16).

        128) The security staff had no other options available to them that

  morning other than to place Mr. Wingo in the close observation cells in the

  annex. (Visser Dep. 21:17-22:2; Gordon Dep. 168:24-169:2.)

       RESPONSE: Plaintiff disputes that security staff had no other options

 that morning other than placing Mr. Wingo in a padded cell. The essence of

 Plaintiffs claim against defendants is that they should have provided him

 adequate medial care and sent him to the hospital.

        129) In Nurse Visser’s medical judgment, Mr. Wingo was cleared to go

  to the annex. (Visser Dep. 22:8-14.)

       RESPONSE: Plaintiff admits that Nurse Visser made this misguided

 statement after failing to examine him. Mr. Wingo was in obvious medical

 distress and the security should have made sure that he had medical care.

 Security did not need a nurse to tell them that Mr. Wingo was in serious

                                         - 39 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 40 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 117 of 180



 medical distress as they could see it themselves. (Exhibit 6 & 7 Infirmary

 Video Views 1 and 2, Corridor Video, attached as Exhibit 15Corridor Video,

 Exhibit 16 Outside Padded Cell Video at 7:48 a.m., Exhibit 17 Inside Padded

 Cell Video).

          130) Deputy Marshall did not ask Nurse Visser to send Mr. Wingo to the

  annex, and Nurse Visser came up with the idea to send him to the annex because

  the infirmary was full. (Visser Dep. 81:11-16.)

       RESPONSE: Defendant admits that Nurse Visser made this statement

 that was not verified by Deputy Marshall.

          131) Someone asked if the nurses wanted to go ahead and get his vitals

  before they took Mr. Wingo to the Extension, but Charge Nurse Visser said “no,

  they don’t need to.” (Marshall Dep. 226:1-4.)

       RESPONSE: This statement is out of context. Medical Tech Tiffany

 Womack did ask Nurse Visser to check his vitals when Mr. Wingo was asking

 to go to the hospital. This was prior to Mr. Wingo falling in front of Deputy

 Marshall, Lt. Gordon and Major Harris. The discussion regarding checking

 Mr. Wingo’s vitals were not in the context of deciding to take him to the

 annex.

          132) Specifically, Lab Tech Tiffany Womack asked if she could take
               Mr.


                                        - 40 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 41 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 118 of 180



  Wingo’s vitals, but Nurse Visser told her not to. (Visser Dep. 91:15-92:2.)

       RESPONSE: This statement is out of context. Medical Tech Tiffany

 Womack did ask Nurse Visser to check his vitals when Mr. Wingo was asking

 to go to the hospital. This was prior to Mr. Wingo falling in front of Deputy

 Marshall, Lt. Gordon and Major Harris. The discussion regarding checking

 Mr. Wingo’s vitals were not in the context of deciding to take him to the annex.

          133) Nurse Visser said she did not need to check Mr. Wingo’s vitals

  before sending him to the annex because “[h]is vitals were normal.” (Visser Dep.

  85:25- 86:12; Womack Dep. 46:15-47:514.)

       RESPONSE: This statement is out of context. Medical Tech Tiffany

 Womack did ask Nurse Visser to check his vitals when Mr. Wingo was asking

 to go to the hospital. This was prior to Mr. Wingo falling in front of Deputy

 Marshall, Lt. Gordon and Major Harris. The discussion regarding checking

 Mr. Wingo’s vitals were not in the context of deciding to take him to the

 annex.

          134) Nurse Visser also believed she did not need to check Mr. Wingo’s

  vitals because his behavior amounted to “acting out” and “pretending.” (Visser

  Dep. 174:7-14.)

       RESPONSE: This statement is out of context. Medical Tech Tiffany

 Womack did ask Nurse Visser to check his vitals when Mr. Wingo was asking

                                        - 41 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 42 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 119 of 180



 to go to the hospital. This was prior to Mr. Wingo falling in front of Deputy

 Marshall, Lt. Gordon and Major Harris. The discussion regarding checking

 Mr. Wingo’s vitals were not in the context of deciding to take him to the

 annex.

          135) Nurse Visser noted that Mr. Wingo was “not following commands,

  pretending cannot walk, acting out,” because “he was pretending he couldn’t

  walk. Jumping up and throwing himself on the floor.” (Visser Dep. 87:22-88:3.)

       RESPONSE: This statement is out of context. Medical Tech Tiffany

 Womack did ask Nurse Visser to check his vitals when Mr. Wingo was asking

 to go to the hospital. This was prior to Mr. Wingo falling in front of Deputy

 Marshall, Lt. Gordon and Major Harris. The discussion regarding checking

 Mr. Wingo’s vitals were not in the context of deciding to take him to the

 annex.

          136) For her part, Ms. Tiffany Womack believed Mr. Wingo was in

  distress. (Womack Dep. 53:21-54:3.)

       RESPONSE: This statement is out of context. Medical Tech Tiffany

 Womack did ask Nurse Visser to check his vitals when Mr. Wingo was asking

 to go to the hospital. This was prior to Mr. Wingo falling in front of Deputy

 Marshall, Lt. Gordon and Major Harris. The discussion regarding checking

 Mr. Wingo’s vitals were not in the context of deciding to take him to the

                                        - 42 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 43 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 120 of 180



 annex.

          137) As Ms. Womack was leaving the infirmary to do her rounds in the

  other areas of the jail, Mr. Wingo looked at her and said, “You in the blue scrubs,

  please help me.” (Womack Dep. 54:9-14.)

       RESPONSE: Plaintiff admits that Mr. Wingo told anyone that would

 listen to help him and that no one did.

          138) Ms. Womack apologized to Mr. Wingo because she felt like she

  could not open the door to help him, specifically because there were other males in

  the cell and she thought it would be a security risk to do so. (Womack Dep. 54:9-

  55:19.)

       RESPONSE: Plaintiff admits that Mr. Wingo stated that he wanted

 help and that he could not breathe. Tiffany Womack stated that she was told

 not to help him. Ms. Womack stated Deputy Marshall told her she would not

 open the door and Nurse Visser told her that she can’t go in.                Tiffany

 Womack thought it was a security risk to open the door using their emergency

 system because Deputy Marshall would not open the door and other inmates

 were in the cell aggravated at Mr. Wingo’s condition and were yelling.

          139) Ms. Womack testified that the other males in the cell with Mr.

  Wingo were “extremely aggravated” and “yelling as well, telling him to be quiet,

  just screaming and yelling at him.” “They hadn’t slept all night apparently. I

                                        - 43 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 44 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 121 of 180



  guess he had been in there all night as well, so they were just—they were

  aggravated.” (Womack Dep. 55:18-56:5.)

       RESPONSE: Plaintiff admits that Mr. Wingo stated that he wanted

 help and that he could not breathe. Tiffany Womack stated that she was told

 not to help him. Ms. Womack stated Deputy Marshall told her she would not

 open the door and Nurse Visser told her that she can’t go in.            Tiffany

 Womack thought it was a security risk to open the door using their

 emergency system because Deputy Marshall would not open the door and

 other inmates were in the cell aggravated at Mr. Wingo’s condition and were

 yelling.

        140) The other inmates in the cell were so aggravated they were beating

  on the glass. (Womack Dep. 56:6-10.)

       RESPONSE: Plaintiff admits that Mr. Wingo stated that he wanted

 help and that he could not breathe. Tiffany Womack stated that she was told

 not to help him. Ms. Womack stated Deputy Marshall told her she would not

 open the door and Nurse Visser told her that she can’t go in.            Tiffany

 Womack thought it was a security risk to open the door using their emergency

 system because Deputy Marshall would not open the door and other inmates

 were in the cell aggravated at Mr. Wingo’s condition and were yelling.

       141)   When Major Harris and Lt. Gordon proceeded to take Mr. Wingo to

                                     - 44 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 45 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 122 of 180



 the infirmary, he did not appear to Deputy Marshall to be in medical distress. She

 believed he was detoxing, based on what she had been told. (Marshall Dep. 233:8-

 18.)

        RESPONSE:          Plaintiff admits that Deputy Marshall made this

 statement, but that the video evidence contradicts this statement as it clearly

 shows Mr. Wingo in serious medical distress. Detoxing is a serious medical

 condition.

        142) Ms. Womack did not fault Deputy Marshall for relying on Nurse

  Visser’s judgment. As Ms. Womack explained, Deputy Marshall “has no medical

  training whatsoever. And so in this instance, she is going to turn to that charge

  nurse and find out what needs to happen, and she would agree with her, I mean,

  because she’s not going to know any differently. And so in her defense, I mean,

  she didn’t know what was wrong, and she is going to listen to the nurse.” (Womack

  Dep. 77:15- 78:10.)

        RESPONSE: Tiffany Womack is not a security expert or a medical

 expert in this case. She is a fact witness. Whether she faults Marshall for

 anything is irrelevant.

                            The Close Observation Form

        143) Nurse Visser testified that while a close observation form should

  have been completed upon transferring Mr. Wingo to the infirmary, it was her

                                       - 45 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 46 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 123 of 180



  responsibility to have done so. (Visser Dep. 96:24-97:7, 297:4-25, 298:8-23.)

       RESPONSE: Plaintiff admits that Nurse Visser made this statement in

 her deposition but stated that Major Harris was responsible for filling out

 form during internal affairs interview.

        144) If someone is placed in close observation, the person recommending

  the placement is to complete a close observation form. (Marshall Dep. 118:8-25.)

       RESPONSE:        The policies and procedures state that security must

 complete the close observation form. A padded cell is a close observation cell.

 Despite this fact, Lt. Marshall also incorrectly stated that a form did not need

 to necessarily be completed if someone is placed in a padded cell. (Exhibit 8

 Marshall Dep. at pgs. 118-120).

       145)   According to Nurse Burton, when asked who would be responsible

 for filling out the close observation form, that would be “[t]he person who placed

 them on close observation, and I believe that usually a nursing staff would sign

 off on it or they will always do vital signs before they send them to close

 observation. And I believe the nursing—nursing will sign off on that, depending

 on the behavior of the inmate.” (Burton Dep. 97:4-12.)

       RESPONSE: Nurse Burton testified that she has never had someone

 placed in a padded cell. She also testified that it’s usually security that fills

 out the close observation form and in some cases the doctor.           (Exhibit 1
                                        - 46 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 47 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 124 of 180



 Burton Dep. at pgs. 96-98).

        146) Lt. Gordon agrees that it would have been up to medical to complete

  the close observation form. (Gordon Dep. 216:14-18.)

       RESPONSE: Deputy Gordon stated that the watch commander must

 sign off on the close observation form. (Exhibit 10 Gordon Dep. at p. 217).

 Lt. Gordon also stated that it was a violation of Cobb County Sheriff’s Office

 policies and procedures to not complete the form. (Exhibit 10 Gordon Dep. at

 p. 218:8-12).

        147) Major Harris agrees that it would have been up to medical staff

  to complete the close observation form. (Harris Dep. 230:10-18.)

       RESPONSE: Major Harris stated that he could not recall if they were

 using Close Observation Forms.        Deputy Wilkerson confirmed they were

 using the form at the time of Mr. Wingo’s confinement. (Exhibit 18 Paul

 Wilkerson Dep. at p. 107:14-25). He testified contrary to Lt. Gordon, Deputy

 Marshall, and all others. Form is placed in a binder and put on deputy desk.

 The purpose of the form is so people know why detained is in close

 observations. (Exhibit 18 Wilkerson Dep. at pgs. 107-110).

       Lt. Gordon and Major Harris Escort Mr. Wingo Out of the Infirmary

        148) When Major Harris and Lt. Gordon began to escort Mr. Wingo out

  of the infirmary at approximately 7:45 a.m., Mr. Wingo was shaky on his legs, so
                                       - 47 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 48 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 125 of 180



  they got him a wheelchair. (Gordon Dep. 143:3-12, 154:3-7.)

          RESPONSE: Mr. Wingo was unable to walk on his own when he was

 taken to the padded cell. (Exhibit 10 Gordon Dep. at p. 155:3-25). Mr.

 Wingo fell to the ground in front of the wheel chair so they wheeled him to the

 padded cell.     (Exhibit 6 & 7 Infirmary Video Views 1 & 2, Exhibit 15

 Corridor Video and Exhibit 16 Outside Padded Cell Video, Exhibit 10

 Gordon Dep. at pgs. 155:3-25; 66:17-25, 126:19-25; 142:19-25).

          149) Lt. Gordon had asked the medical staff why Mr. Wingo was so

  imbalanced, and they said he was detoxing, so Lt. Gordon attributed the

  imbalance to that condition. (Gordon Dep. 154:18-22.)

          RESPONSE: Plaintiffs admit that Lt. Gordon made this statement.

          150) Deputy Nasie Mejia was walking towards the infirmary and noticed

 Lt. Gordon and Major Harris struggling with Mr. Wingo, and he assumed “that

 they wanted him to go into the wheelchair, and he was being combative and not

 wanting to stay in the wheelchair,” so he stepped in to assist. (Mejia Dep. 13:2-

 14.15)

          RESPONSE: Plaintiffs admit that Deputy Mejia made this statement.

          151) As Deputy Mejia assisted Mr. Wingo into the wheelchair, he

  perceived that Mr. Wingo did not want to go in the wheelchair “because he was

  flailing his body forward to try to get out of the wheelchair.” (Mejia Dep. 13:19-

                                        - 48 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 49 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 126 of 180



  24.)

         RESPONSE: Plaintiffs admit that Deputy Mejia made this statement

 but the video evidence contradicts it. (Exhibit 15 Corridor Video).

         152) When the three deputies and Mr. Wingo arrived at the padded cell in

  the extension, Deputy Mejia instructed Mr. Wingo to take off his clothes so he

  could be placed in a safety smock, but Mr. Wingo “did’ follow the instructions of

  taking the clothing off, so we had to take [the] clothing off.” (Mejia Dep. 15:6-

  25.)

         RESPONSE: Plaintiff admits that Deputy Mejia made this statement

 but video evidence contradicts it. (Exhibit 16 & 17 Inside and Outside of

 Padded Cell).

         153) When Lt. Gordon, Major Harris, and Deputy Mejia placed Mr.

  Wingo in the padded cell, the fact that three deputies were placing him in a cell

  indicated to Deputy Wilkerson that Mr. Wingo “could be trouble.” (Wilkerson

  Dep. 148:6-10.)

         RESPONSE:      Plaintiff admits that Deputy Wilkerson made this

 statement but there is no evidence that Mr. Wingo caused anyone trouble.

         154) Deputy Wilkerson heard one of the officers tell Mr. Wingo to stop

  kicking him. (Wilkerson Dep. 156:12-19.)


                                       - 49 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 50 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 127 of 180



       RESPONSE: Video evidence does not show Mr. Wingo kicking at

 anyone (Exhibit 17 Inside of Padded Cell). Major Harris stated he does not

 know if Mr. Wingo was attempting to kick or not. (Exhibit 13 Harris Dep. at

 pgs. 179-180).

        155) As Lt. Gordon was placing Mr. Wingo in the padded cell, he did not

  believe Mr. Wingo was suffering from a serious medical emergency. (Gordon

  Dep. 190:3-13.)

       RESPONSE: Lt. Gordon stated that he doesn’t think he remembers

 believing Mr. Wingo was suffering from a serious medical emergency. He

 stated that he was disoriented and he did not believe Mr. Wingo know if he

 was in jail or not. (Exhibit 10 Gordon Dep. at pgs. 82:1-21; 169:12-17)

        156) Deputy Mejia did not perceive Mr. Wingo’s behavior to indicate

  that he was in pain; to Deputy Mejia, he perceived that Mr. Wingo was being

  combative because he would not stay in the wheelchair after being told to do

  so. (Mejia Dep. 70:24-71:10.)

       RESPONSE: There is no evidence in this case that Mr. Wingo was

 combative.    Deputy Gordon stated that Mr. Wingo was not combative.

 (Exhibit 10 Gordon Dep. at pgs. 140:12-25; 184:17-25 and Exhibit 13 Harris

 Dep. at pgs. 180:25 – 181:1-2).

       157)   Specifically, Deputy Mejia believed Mr. Wingo was being
                                     - 50 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 51 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 128 of 180



 combative based on “the fact that he was moving his body forward quickly, that

 he was on the floor when I came in, especially with the major and a sergeant

 being there to assist with moving him. So yeah, just moving his body forward

 when we’re trying to keep him in the wheelchair and moving, flailing his arms,

 and not following the direction to sit in the wheelchair.” (Mejia Dep. 73:21-

 74:15.)

       RESPONSE: There is no evidence in this case that Mr. Wingo was

 combative.      Deputy Gordon stated that Mr. Wingo was not combative.

 (Exhibit 10 Gordon Dep. at pgs. 140:12-25; 184:17-25 and Exhibit 13 Harris

 Dep. at pgs. 180:25 – 181:1-2).

           158) At no time while placing Mr. Wingo in the padded cell was Deputy

  Mejia concerned about Mr. Wingo’s medical condition. (Mejia Dep. 80:10-13.)

       RESPONSE: Admitted.

           159) As the officers were placing Mr. Wingo in the padded cell, Major

  Harris did not believe Mr. Wingo was in pain. (Harris Dep. 179:16-22.)

       RESPONSE: Major Harris stated he does not know if Mr. Wingo was

 in pain and does not remember if Mr. Wingo stated he was in pain. (Exhibit

 13 Harris Dep. at p. 179:16-20).

                              Security Rounds in the Extension

           160) Deputy Wilkerson has not been trained on how to identify if
                                        - 51 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 52 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 129 of 180



  someone is detoxing, and he believed whether or not detoxing would constitute a

  “serious medical issue” would be up to medical. (Wilkerson Dep. 94:3-12.)

       RESPONSE: Plaintiffs admit Deputy Wilkerson made this statement.

        161) Mr. Wingo did not appear, to Deputy Wilkerson, to be in medical

  distress when he was in the padded cell because “he was just laying down was all

  I could tell.” (Wilkerson Dep. 153:8-15.)

       RESPONSE:        Video evidence shows Mr. Wingo in padded cell in

 medical distress. Video evidence also shows that Mr. Wilkerson did not look

 in the padded cell Mr. Wingo was housed. (Exhibit 16 & 17 Video of Inside

 and Outside of Padded Cell at 8:02a.m., 8:05a.m., 8:12, 8:23 a.m., 8:33 a.m.,

 8:47 a.m.)

       162)   Deputy Wilkerson acknowledges that he did not look inside the

 padded cell every time he did a security round. He believes Mr. Wingo was alive

 and well around 8:12 because he saw movement in the cell through the in-cell

 camera. (Wilkerson Dep. 181:2-13.)

       RESPONSE: Deputy Wilkerson testified that Mr. Wingo moved at

 8:12 a.m. but acknowledged that he did not look in cell.             (Exhibit 18

 Wilkerson dep. at p. 181:5-20). Video evidence also shows that Mr. Wingo

 was not moving at that time. (Exhibit 17 Inside Padded Cell Video).

        163) Major Harris also did a security round at Cell 18 of Mr. Wingo
                                        - 52 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 53 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 130 of 180



  around 8:22 a.m., and he cleared the round because he saw Mr. Wingo’s chest

  rise and fall. (Harris Dep. 200:8-12.)

         RESPONSE: Video evidence shows Major Harris look in Mr. Wingo’s

 cell at 8:23 a.m.. Video evidence also shows that Mr. Wingo was not moving

 at this time. (Exhibit 16 & 17 Outside and Inside Padded Cell Video).

         164) Deputy Wilkerson was present for this same security round, and he

  saw Mr. Wingo’s chest rise and fall at this time as well. (Wilkerson Dep. 188:4-

  11.)

         RESPONSE: Plaintiff acknowledges that Deputy Wilkerson made this

 statement but that video evidence outside Mr. Wingo’s cell shows that it was

 impossible for Deputy Wilkerson or Major Harris to see Mr. Wingo’s chest

 when they looked at his cell. Mr. Wingo’s body was positioned in a way that

 his chest could not be seen when someone looked in cell. (Exhibit 16 & 17

 Outside and Inside Padded Cell Video).

         165) Seeing an inmate breath is sufficient to clear a security check.

  (Harris Dep. 246:23-25.)

         RESPONSE: Colonel Sanders disputes that Deputy Wilkerson could

  have seen Mr. Wingo’s chest from where Deputy Wilkerson looked in cell.

  Colonel Sanders basically said further investigation was required based on

  Mr. Wingo’s positioning in cell and just seeing him in cell breathing alone is
                                           - 53 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 54 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 131 of 180



  not sufficient. (Exhibit 19 Colonel Sanders’ Dep. at pgs. 106:21-23, 107:9-25

  and 108:1; 117:3-16) (Exhibit 11 CCSO’s Policy 2-03-07.01).

         166) While Deputy Wilkerson did not see Mr. Wingo move from the

  corner of his cell for several minutes, he was not concerned because he “was

  under the impression that he was possibly sleeping, passed out.” (Wilkerson Dep.

  214:6-10.)

       RESPONSE: Plaintiff admits that Deputy Wilkerson made this

  statement.

         167) At no point that morning was Major Harris concerned with

 Mr. Wingo’s medical condition; he never thought Mr. Wingo was in distress or

 was suffering from a medical emergency, and he thought Mr. Wingo was fine.

 (Harris Dep. 147:18-20, 204:19-205:3.)

       RESPONSE: Plaintiff admits that Major Harris made this statement.

         168) At no point before he eventually opened Mr. Wingo’s cell door did

  Deputy Wilkerson have any concerns about Mr. Wingo’s medical status.

  (Wilkerson Dep. 217:25-218:5.)

       RESPONSE: Admitted.

       169)    Around 8:49 a.m., Deputy White told Deputy Wilkerson to check on

 Mr. Wingo. As Deputy Wilkerson entered the cell, he was concerned that Mr.

 Wingo
                                       - 54 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 55 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 132 of 180



 “was possibly in the corner playing a game and possibly could jump up at any

 minute.” (Wilkerson Dep. 201:14-17.)

       RESPONSE: Plaintiff admits that Deputy Wilkerson made this

 statement.

        170) A code blue was called for Mr. Wingo around 8:52 a.m. (Doc.

 166, ¶ 87.)

       RESPONSE: Admitted.


        171) Mr. CCADC staff and infirmary staff responded, and Mr. Wingo

  ultimately died from a perforated gastric ulcer. (Doc. 166, ¶¶ 88-89.)

       RESPONSE: Admitted.

        172) A subsequent Internal Affairs investigation concluded that “no

  evidence to support violations of policy and procedure by Sheriff’s Office Staff

  were noted.” (IA Report, p. 5.16)

       RESPONSE: Admitted.

                           Doctors’ Opinions on Causation

        173) Plaintiff’s expert Dr. Brian Myers states in his expert report his

  opinion that, “to a reasonable degree of medical certainty, […] had Kevil Wingo

  been provided reasonable emergency medical care he would have most likely

  survived.” (Myers Report, p. 6.17)


                                        - 55 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 56 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 133 of 180



       RESPONSE: Admitted.

        174) At his deposition, Dr. Myers was unable to say what Mr. Wingo’s

  likelihood of survival would have been if he had received medical care at any

  point after he was removed from the nurses’ immediate vicinity in the

  infirmary. Specifically, Dr. Myers testified that “If you get someone to me with

  vital signs, in the ER, they are most likely going to survive. So if you can get him

  to the emergency room with vital signs, he’s most likely going to survive.”

  (Myers Dep. 105:19-22.)

       RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

        175) To Dr. Myers, “most likely going to survive” means a survival

  chance over 50%. (Myers Dep. 106:6-7.18)

       RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

                                         - 56 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 57 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 134 of 180



 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

         176) However, Dr. Myers acknowledges that Mr. Wingo’s survivability

  decreased (or his chance of mortality increased) with each hour that passed after

  his perforation without receiving emergency medical care. (Myers Dep. 106:13-

  17.)

         RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

         177) He also acknowledges that he cannot say if, or when, Mr. Wingo

  crossed the threshold from “most likely to survive” to “most likely not to

  survive” had he received emergency medical care at that particular point. (Myers

  Dep. 106:18-107:6.)

         RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

                                       - 57 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 58 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 135 of 180



 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

        178) Dr. Myers was then forced to concede that he could not state with

  any degree of medical certainty what Mr. Wingo’s survivability would have been

  if someone had called 911 at 7:45 a.m., the approximate time Mr. Wingo was

  transferred out of the infirmary, because he does not know what Mr. Wingo’s

  vital signs were at that time. (Myers Dep. 107:11-19.)

       RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

        179) Dr. Myes testified with respect to his survivability opinion,

              My statement doesn’t bring into the issue of time, so I
              stand by what I said here. If you want to have me opine
              on whether or not, at 7:45, if that was reasonable
              medical care or if he would have survived at that point,
              I can’t say because I don’t know what his vitals were at
              that point.

  (Myers Dep. 108:4-9.)

      RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time
                                        - 58 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 59 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 136 of 180



 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

        180) Dr. Myers admitted that he could not say with any certainty whether

  Mr. Wingo would have survived if he was sent to the emergency room at

  particular times leading up to the moment the code blue was called:

              Q. But based on the record, you can’t say –

              A. I don’t know when the vital signs stopped.

              Q. Right. And you can’t say whether or not he would have
              survived if someone would have called at 7:45 a.m.?

              A. I can not say that.

              Q. Right. What about at 6:45 a.m.?

              A. I don’t know what the vitals are.

              Q. All right. What about --

              A. He was still moving though so he had some.

              Q. What about 5:45 a.m.?

              A. Again, still moving but I don’t know what the vitals are.

              Q. Okay. So without the vitals and if we’re trying to
              understand what his survivability would had of been had the
              emergency room been called at any point during that time
              frame; without the vitals you’re unable to say?

                                        - 59 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 60 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 137 of 180



              A. Yes. I can just say at this point --

                         MR. GARDNER: Object to form. Go ahead.

                         THE WITNESS: At 11:30 at night his
              survivability was probably -- was mostly likely ten
              percent. His survival in the ER is 100 percent – or his
              mortality in the ER is 100 percent. How that percentage
              moved along time if we were to graph it out, I don’t
              know.

              Q. BY MR. JACKSON: Okay.

              A. Not without vitals.

  (Myers Dep. 110:2-111:5.).

       RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

        181) Two other physicians have opined that it is not possible to know

  what Mr. Wingo’s likelihood of survival would have been had any defendant (or

  for that matter, the jail nurses) called 911 to have Mr. Wingo taken to the

  emergency room. As Dr. Keenth Vega opined:

              Given the multitude of factors, many of which are
              unknowable, that contribute to the timing of when a
              similarly situated patient might die, the likelihood of
                                         - 60 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 61 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 138 of 180



              his survival at any particular point is not able to be
              determined. The absence of vital signs in the time
              period prior to his death makes any such prediction
              particularly unreliable, as there is no objective medical
              evidence of when he began to decline.

              For example, even if an ambulance was called at or
              about 7:45 a.m., the chance that he would have
              survived septic
              shock is very low. There is no way to reasonably
              predict, under those circumstances, if he would have
              survived.

  (Dr. Vega Report p. 3.19)

       RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed to

 make sure that Mr. Wingo received medical care but stated that he was alive.

 If Mr. Wingo was alive he had vitals and he had a chance of survival.

        182) Likewise, Dr. Jamie Downs opined:

              The ongoing and escalating metabolic derangement
              associated with gastric perforation of unspeciﬁed
              duration and scope reaches a critical threshold in
              patient homeostasis – that is a “point of no return”
              beyond which the patient may not be salvageable. At
              what exact point the patient crosses beyond this critical
              threshold is unknown and unknowable in real time.
              Retrospective analysis, with all the missing data points
              established, allows an artificial construct, not available
              contemporaneously with actual events. Thus, it cannot
              be determined, to any reasonable degree of medical
                                        - 61 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 62 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 139 of 180



              certainty, the likelihood of this subject’s survival had he
              received medical intervention at any speciﬁc point in
              the hours prior to his ultimate death.

  (Downs Report, p. 3.20)

       RESPONSE: Dr. Myers did testify as to the likelihood of survival for

 Mr. Wingo. Dr. Myers testified that it started high and diminished as time

 passed. He further testified that as long as Mr. Wingo had vitals (heart rate,

 blood pressure, temperature) he had a chance of survival. Defendants failed

 to make sure that Mr. Wingo received medical care but stated that he was

 alive. If Mr. Wingo was alive he had vitals and he had a chance of survival.

                   Plaintiffs Settle with the WellStar Defendant

        183) In their initial complaint, plaintiffs asserted claims against under

 42 U.S.C. § 1983 for deliberate indifference against WellStar Health Systems and

 several WellStar nurses: Charge Nurse Visser, Charge Nurse Burton, Shanna

 Griffith, Kelly Jones, Samantha Garland, and Shannea Hopkins. (See Doc. 1.)

       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.                 An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

                                        - 62 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 63 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 140 of 180



 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).


        184) Plaintiffs alleged that when Mr. Wingo was brought to the

  infirmary, neither Nurse Burton, Nurse Griffith, nor Kelly Jones physically

  examined him or called a physician regarding Mr. Wingo. (Doc. 1, ¶¶ 51-52.)

       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.             An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

        185) Plaintiffs alleged that Mr. Wingo complained to medical staff of
                                         - 63 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 64 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 141 of 180



  issues with his ulcer and abdominal pain and asked to go to the hospital. (Doc. 1,

  ¶¶ 59- 60.)

       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.                An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

        186) The alleged that the nurses did not check Mr. Wingo’s vitals again

  after he was initially admitted to the infirmary. (Doc. 1, ¶ 64.)

       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.                An amended

                                          - 64 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 65 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 142 of 180



 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

         187) They alleged that Nurse Griffith played cards on her computer,

  surged the internet, and watched football during the night shift. (Doc. 1, ¶¶ 65-

  67.)

         RESPONSE:      Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.               An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

                                         - 65 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 66 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 143 of 180



        188) Plaintiffs alleged: Defendants Nurse Annaleen Visser, Nurse Yvette

  Burton, Nurse Kelly Jones, Nurse Shanna Griffith, Nurse Samantha Garland and

  Nurse Shannea Hopkins violated Mr. Wingo’s constitutional right to receive

  medical care when he was suffering from a serious medical condition by failing

  to provide him medical care while he was housed in the infirmary and failing to

  send him to the hospital after he repeatedly requested same and displayed obvious

  signs of physical distress.” (Doc. 1, ¶ 137.)

       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.                An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

       189)    Plaintiffs also alleged that the nurses violated the standard of care

 for registered nurses. (Doc. 1, ¶ 153.)

                                           - 66 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 67 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 144 of 180



       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.               An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

        190) Plaintiffs also sought punitive damages against Nurse Visser on the

  theory that her actions showed intent, willful misconduct, malice, fraud,

  wantonness, oppression, and/or that entire want of care which raised the

  presumption of conscious indifference to the consequences, as well as plaintiff’s

  belief that “Nurse Analeen Visser harbored negative feelings towards Mr. Wingo

  based on Mr. Wingo being a black male.” (Doc. 1, ¶ 203.)

       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

                                         - 67 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 68 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 145 of 180



 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.              An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

        191) Plaintiffs settled their claims against the WellStar defendants for a

  confidential amount. (Burton Dep. 35:5-36:2; Griffith Dep. 37:24-38:13; Jones

  Dep. 28:8-29:2.)

       RESPONSE: Claims in Plaintiffs initial unverified Complaint are

 irrelevant. Amended Complaints supersede prior Complaints. Furthermore,

 Plaintiff had to prove any allegations against medical professionals with

 medical opinion evidence. Defendants have the same burden to prove medical

 allegations through medical expert testimony as well.              An amended

 pleading supersedes the former pleading” such that “ ‘the original pleading is

 abandoned by the amendment, and is no longer a part of the pleader's

 averments against his adversary.’ See Dresdner Bank AG v. M/V Olympia

 Voyager, 463 F.3d 1210, 1215 (11th Cir. 2006) (footnote and citation

                                         - 68 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 69 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 146 of 180



 omitted); see also Fritz v. Standard Sec. Life Ins. Co., 676 F.2d 1356, 1358

 (11th Cir. 1982) (citations omitted).

        Nurses Burton and Visser are Sanctioned by the Georgia Board of
        Nursing

        192) On March 23, 2023, Nurse Burton entered into a Public Consent

  Order with the Georgia Board of Nursing, wherein the Board found that Nurse

  Burton “failed to check and/or assess the abdomen of K.W.,” and that Nurse

  Burton’s “failure to perform the aforementioned duties fell below the minimal

  reasonable standards of acceptable and prevailing nursing practice.” (In re:

  Yvette Colleen Burton, RN, 2023-0305, Public Consent Order, ¶¶ 2, 3 (March 23,

  2023).21)

       RESPONSE: Georgia Board of Nursing opinion is irrelevant and

 inadmissible. (Fed. Rules of Evidence Rule 403-404). Plaintiffs were not

 involved in Administrative proceeding and did not have an opportunity to

 attend and present evidence.

        193) On July 5, 2023, the Georgia Board of Nursing rendered a Final

  Decision finding that “At the absolute minimum, [Nurse Visser] should

  have evaluated K.W.’s mental status, heart, lungs, stomach, vital signs and

  palpitated his stomach. However, instead of performing an appropriate

  assessment, the Respondent directed that K.W. be removed from the infirmary

  and taken to the annex, where she would be unable to assess his condition—even
                                         - 69 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 70 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 147 of 180



  visually.” (In re: Annaleen Jones Visser, OSAH Docket No: 2313244-OSAH-

  PLBD-RN-28-Walker (July 5, 2023) (adopting ALJ’s findings of fact, “Initial

  Decision” ¶ 37).22)

       RESPONSE: Georgia Board of Nursing opinion is irrelevant and

 inadmissible. (Fed. Rules of Evidence Rule 403-404). Plaintiffs were not

 involved in Administrative proceeding and did not have an opportunity to

 attend and present evidence.

                                      CCADC Policies

        194) CCADC Policy generally outlines the provision of medical care

  to inmates. (See CCADC Policy 2-06-04.00.23)

       RESPONSE: Admitted.

        195) 2-06-04.00 provides: “Inmates shall have adequate and proper

  access to emergency medical care. Medical staff shall ensure that prompt medical

  attention (response) is provided in situations deemed a medical emergency.”

  (Policy 2-06- 04.00.)

       RESPONSE: Admitted.

        196) The policy further details that “Staff shall be observant and

  responsive to signs of an emergency medical and mental health situation within

  the facility,” and “The delivery of emergency medical services shall be a top

  priority, taking precedence over routine duties and responsibilities.” (Policy 2-06-

                                         - 70 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 71 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 148 of 180



  04.01(A) and (B)).

       RESPONSE: Admitted.

        197) The policy states that “Inmates requiring emergency treatment

  beyond the facility’s resources and capabilities shall be transported to a designated

  treatment facility or the nearest emergency room.” (Policy 2-06-04.01(F).)

       RESPONSE: Admitted.

        198) Medical staff responsible for “contacting or directing that contact be

  made to emergency responders (e.g., ambulance) . . .” (Policy 2-06-04.01(M).)

       RESPONSE: Language is incomplete. Policy further states “In

 emergencies, it may be obvious that an ambulance is needed and should be

 called by security or medical staff (i.e. significant head injury, extreme loss of

 blood, attempted suicide and inmate is unresponsive, etc.).

        199) Deputy Marshall believes an ambulance is called when medical says

  to do so. (Marshall Dep. 80:22-81:5, 24.)

       RESPONSE:          Plaintiffs admit that Deputy Marshall made that

 statement.

        200) Deputy McPhee has only ever known medical staff to call an

  ambulance. (McPhee Dep. 121:3-25, 123:24-124:6.)

       RESPONSE: Plaintiffs admit that Deputy McPhee made this statement.

        201) Nurse Burton testified that if security staff wanted to send someone

                                         - 71 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 72 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 149 of 180



  to the hospital, “they always consult with medical staff.” (Burton Dep. 91:1-11.)

       RESPONSE: Plaintiffs admit that Nurse Burton made this statement.

        202) The policy also provides: “In non-emergency situations, employees

  shall abide by the decisions of medical staff as to the appropriate course of

  treatment for any inmate.” (Policy 2-06-04.01(L)(5).)

       RESPONSE: Language is incomplete. Policy reads that Staff shall

 notify infirmary staff when an inmate has obvious signs of injury or illness

 and request the inmate be transported to infirmary. Employees shall not

 refuse to seek medical treatment for any inmate requesting emergency care.

       203)   The CCADC Mental Health Care / Close Observation Policy, 2-03-

 07.00, provides that inmates placed in Close Observation may be placed in the

 “Infirmary and Infirmary Extension” and “Any padded cell or other approved

 area[] within specific housing units suited to accommodate the increased

 monitoring of inmates.” (See CCADC Policy 2-03-07.01(A)(2)(b), (c).24)

       RESPONSE: Admitted.

        204) When an inmate is placed in Close Observation, security staff must

  conduct observation/security rounds of the inmates in intervals not to exceed 15

  minutes. (Policy 2-03-07.01(B)(1)(a).)

       RESPONSE: This is the written policy. The unwritten policy is that

 security rounds should be conducted every 12 minutes but never to exceed 15

                                        - 72 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 73 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 150 of 180



 minutes.

        205) “Medical, mental health or security personnel may request

  placement of an inmate into Close Observation for reasons that include, but are

  not limited to:

                      1. Inmate is exhibiting signs of abnormal
               behavior (e.g. hearing voices, seeing things that are not
               there, inability to verbally communicate, etc.);

                     a) Observations may be reported by other
               inmates housed in the same housing unit.

                      2. Inmate is displaying a marked change in
               behavior occurring over an extended period of time
               (e.g. refusal of meals, refusing to shower, participate in
               laundry exchange or recreation time, etc.);

                    3. Inmate refuses to take critical medication (e.g.
               psychotropic drugs, etc.);

                     4. Inmate speaks of or acts on threats of self-
               harm or threatens to harm others;

  (Policy 2-03-07.01(D).)

       RESPONSE: Admitted.

        206) “When an inmate is placed in Close Observation, an OMS facility

  incident report shall be generated by the staff member(s) making the request.”

  (Policy 2-03-07.01(E).)

       RESPONSE: Admitted.

        207) Close Observation forms are to be completed by “any employee . . .

                                         - 73 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 74 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 151 of 180



  when requesting placement of inmates into Close Observation for various

  reasons.”. (Policy 2-03-07.01(I)(b).)

       RESPONSE: Admitted.



       Respectfully submitted, this 28th day of September, 2023.

                                          GARDNER TRIAL ATTORNEYS, LLC


                                          /s/ Timothy J. Gardner
                                          TIMOTHY J. GARDNER
                                          Georgia Bar No. 115430
                                          HENRIETTA G. BROWN
                                          Georgia Bar No. 253547

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                                          - 74 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 75 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 152 of 180



                      CERTIFICATE OF COMPLIANCE

 Pursuant to LR 7.1(D), the undersigned hereby certifies that the foregoing

 document has been prepared in Times New Roman 14, a font and type selection

 approved by the Northern District of Georgia in LR 5.1(B) and LR 5.1(C).

       This 28th day of September, 2023.


                                      GARDNER TRIAL ATTORNEYS, LLC



                                      /s/ Timothy J. Gardner
                                      TIMOTHY J. GARDNER
                                      Georgia Bar No. 115430
                                      HENRIETTA G. BROWN
                                      Georgia Bar No. 253547

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                                      - 75 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 76 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 153 of 180



                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

  TIFFANY WINGO as Administrator of the Estate of
  KEVIL WINGO, SR., KIEARA WINGO, as surviving
  child of KEVIL WINGO, SR., ERIKA WINGO,
  surviving child of KEVIL WINGO, SR., and TERI
  FIELDS, ESQ., Conservator of KEVIL WINGO, JR.,
  surviving minor child of KEVIL WINGO, Sr.

               Plaintiffs,
  v.
  MAJOR     BRANSON HARRIS,      individually,
  LIEUTENTANT CHARLES GORDON, individually,
                                                              CIVIL ACTION NO.
  DEPUTY PAUL WILKERSON, individually,
                                                              1:20-CV-03662-VMC
  DEPUTY LYNDA MARSHALL, individually, JOHN
  DOES 1-10, and JANE DOES 1-10,

               Defendants.

                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing

 PLAINTIFFS’        AMENDED          RESPONSE         AND      OBJECTIONS          TO

 DEFENDANTS STATEMENT OF UNDISPUTED MATERIAL FACTS to

 the Clerk of Court using the CM/ECF system which will automatically send

 electronic mail notification of such filing to the following counsel of record:

 Sun S. Choy, Esq.                           H. William Rowling, Jr., Esq.
 Wesley C. Jackson, Esq.                     Lauren S. Bruce, Esq.
 Marisa M. Beller, Esq.                      Cobb County Attorney’s Office
 Freeman Mathis & Gary, LLP                  100 Cherokee Street, Suite 350
 100 Galleria Pkwy, Suite 1600               Marietta, GA 30090
                                         - 76 -
     Case 1:20-cv-03662-VMC Document 221 Filed 09/28/23 Page 77 of 77
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 154 of 180



 Atlanta, GA 30339-5948

      Respectfully submitted, this 28th day of September, 2023.



                                     GARDNER TRIAL ATTORNEYS, LLC



                                     /s/ Timothy J. Gardner
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                                     Georgia Bar No. 115430
                                     HENRIETTA G. BROWN
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                                      - 77 -
USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 155 of 180




                        DOCKET 223
       Case 1:20-cv-03662-VMC Document 223 Filed 09/29/23 Page 1 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 156 of 180



                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 TIFFANY WINGO as Administrator )
 Of the Estate of KEVIL WINGO,  )
 SR., et al.                    )
                                )
        Plaintiffs,             )
                                )
 v.                             )              CIVIL ACTION FILE NO:
                                )              1:20-CV-03662-VMC
 MAJOR BRANSON                  )
 HARRIS, individually, et al.   )
                                )
        Defendants.             )

 REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO EXCLUDE
 OPINIONS OF PLAINTIFFS’ EXPERTS DR. BRIAN MYERS, AND MARK
                          JOHNSON

       COME NOW defendants Lynda Marshall, Branson Harris, Charles Gordon,

 and Paul Wilkerson and file this reply brief in support of their motion to exclude

 the opinions of plaintiffs’ expert witnesses, Dr. Brian Myers, pursuant to Federal

 Rule of Evidence 702, and LR 26.2C. For the reasons set forth below, defendants

 respectfully request that their motion be granted.

            I.   ARGUMENT AND CITATION TO AUTHORITY

 A.    Dr. Myers’ testimony is speculative at best and should be excluded.

       Plaintiffs admit that Dr. Meyers does not know when Mr. Wingo would have

 likely survived if he received medical treatment. (Doc. 207, p. 11.) Despite

 plaintiffs’ contention that Mr. Wingo had a 90% chance of survivability after 11:30
                                           1
       Case 1:20-cv-03662-VMC Document 223 Filed 09/29/23 Page 2 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 157 of 180



 p.m., that is not specific enough to show that any of the defendants’ actions caused

 Mr. Wingo’s injuries because he cannot say to any reasonable degree of medical

 certainty that Mr. Wingo would have survived had any particular defendant taken a

 different course of action during the times they interacted with Mr. Wingo, all of

 which were several hours after 11:30 p.m. (See, e.g., Doc. 196-2 (Def.’s SMF),

 ¶ 32 (Marshall Dep. 137:4-10, showing that Deputy Marshall, the first defendant to

 interact with Mr. Wingo, began her shift at 6:00 a.m. the following morning).) Dr.

 Meyers cannot provide information in determining survivability or mortality rate

 of a perforated ulcer because he lacks information as to Mr. Wingo’s vital signs

 during the entirety of each defendants’ interaction with Mr. Wingo, and Dr.

 Meyers admits this information is necessary to reach any conclusion with respect

 to survivability. (Meyers Dep., 9:19-22, 92:20-22, 100:18-20).

       Again, to prevail on a deliberate indifference claim, a plaintiff must show:

 (1) a serious medical need; (2) the defendant’s deliberate indifference to that need;

 and (3) causation between that indifference and the plaintiff’s injury. Mann v.

 Taser Int’l, Inc., 588 F.3d 1291, 1306-07 (11th Cir. 2009) (emphasis). Further, in

 considering a deliberate indifference claim, “[e]ach individual Defendant must be

 judged separately and on the basis of what that person knows.” Burnette v. Taylor,

 533 F.3d 1325, 1331 (11th Cir. 2008). Thus, it stands to reason that for the

 causation analysis, any facts tending to show causation are irrelevant if they are not


                                           2
       Case 1:20-cv-03662-VMC Document 223 Filed 09/29/23 Page 3 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 158 of 180



 particularized to each individual defendants’ interaction with Mr. Wingo. In other

 words, evidence that Mr. Wingo had a particular chance of survival at a time

 before any of the remaining defendants interacted with him is completely irrelevant

 to the deliberate indifference or state law claims against defendants.

       In short, Dr. Myers’s opinion lacks reliability and does not assist the trier of

 fact in a meaningful way. Mr. Wingo’s survivability at 11:30 p.m., more than six

 hours before any defendant interacted with him, is not relevant to the causation

 analysis with respect to each defendant. Dr. Myers admits he cannot accurately

 state what chance of survival Mr. Wingo would have had if he had received certain

 medical intervention at any point in time when defendants actually interacted with

 him, and his opinions on causation with respect to these critical time periods are

 purely speculative. Therefore, this court must exclude testimony from plaintiffs’

 expert Dr. Meyers from trial or consideration on defendant’s motion for summary

 judgment.

 B.    Mark Johnson’s

       Plaintiffs contend that Mark Johnson’s 3D model is proper demonstrative

 evidence and that defendants’ motion to exclude is premature. However, plaintiffs

 have only disclosed that Mr. Johnson might form an expert opinion at a later date,

 when he produces the purported replica. The issues with Mr. Johnson’s potential

 testimony is not that it might include demonstrative exhibits, but that plaintiffs


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       Case 1:20-cv-03662-VMC Document 223 Filed 09/29/23 Page 4 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 159 of 180



 likely intend to have Mr. Johnson testify that his (yet to be produced)

 demonstrative accurately depicts what could have been viewed by defendants

 Harris and Wilkerson when they conducted security rounds. If Mr. Johnson’s

 expected testimony touches on the supposed accuracy of his model, including it

 will then enter the realm of undisclosed expert testimony which should thus be

 excluded from trial or consideration on defendant’s motion for summary judgment.

                            II.     CONCLUSION

       For the foregoing reasons, these defendants respectfully request that this

 court exclude from trial or consideration on defendants’ motion for summary

 judgment Dr. Meyer’s opinion and Mark Johnson’s undisclosed expert opinion.

       This 29th day of September, 2023.

                                  Respectfully submitted,

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       Case 1:20-cv-03662-VMC Document 223 Filed 09/29/23 Page 5 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 160 of 180



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       Case 1:20-cv-03662-VMC Document 223 Filed 09/29/23 Page 6 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 161 of 180



                      CERTIFICATE OF COMPLIANCE

       I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing REPLY

 BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO EXCLUDE

 OPINIONS OF PLAINTIFFS’ EXPERTS DR. BRIAN MYERS, AND MARK

 JOHNSON has been prepared in accordance with Local Rule 5.1(C) (Times New

 Roman font, 14 point).

       This 29th day of September, 2023.

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       Case 1:20-cv-03662-VMC Document 223 Filed 09/29/23 Page 7 of 7
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 162 of 180



                          CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing

 REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO EXCLUDE

 OPINIONS OF PLAINTIFFS’ EXPERTS DR. BRIAN MYERS, AND MARK

 JOHNSON to the Clerk of Court using the CM/ECF system which will

 automatically send electronic mail notification of such filing to counsel of record

 who are CM/ECF participants properly addressed upon:

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       This 29th day of September, 2023.

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                                           7
USCA11 Case: 24-10933   Document: 31-3   Date Filed: 06/11/2024   Page: 163 of 180




                        DOCKET 224
      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 1 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 164 of 180



                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 TIFFANY WINGO et al.,         )
                               )
     Plaintiffs,               )
                               )
 v.                            )              CIVIL ACTION FILE NO:
                               )              1:20-CV-03662-VMC
 MAJOR BRANSON HARRIS, et al., )
                               )
     Defendants.               )

       REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR
                       SUMMARY JUDGMENT

       COME NOW defendants Lynda Marshall, Branson Harris, Charles Gordon,

 and Paul Wilkerson, and file this Reply Brief in Support of their Motion for

 Summary Judgment (Doc. 196), showing the Court as follows:

             I.   ARGUMENT AND CITATION OF AUTHORITY

 A.    Qualified Immunity Bars Plaintiffs’ § 1983 Claim for Deliberate
       Indifference.

       As shown in defendants’ initial brief, for plaintiffs to overcome defendants’

 entitlement to qualified immunity, they must show that: (1) defendants violated Mr.

 Wingo’s constitutional rights; and (2) defendants’ conduct was prohibited by clearly

 established law. Plumhoff v. Rickard, 134 S. Ct. 2012, 2020 (2014). Plaintiffs failed

 to satisfy this burden.
      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 2 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 165 of 180



       1.     Defendants did not violate Mr. Wingo’s constitutional rights.

       To prevail on a deliberate indifference claim, a plaintiff must show: (1) a

 serious medical need; (2) the defendant’s deliberate indifference to that need; and

 (3) causation between that indifference and the plaintiff’s injury. Mann v. Taser Int’l,

 Inc., 588 F.3d 1291, 1306-07 (11th Cir. 2009). In response to defendants’ motion for

 summary judgment, plaintiffs ignore the crux of defendants’ argument and evidence

 that they did not “deliberately” disregard Mr. Wingo’ serious medical need: trained

 medical staff told them Mr. Wingo’s condition was not serious. Plaintiffs cannot

 overcome defendants’ motion for summary judgment without addressing how the

 nurses’ repeated assurances that Mr. Wingo was “just detoxing” and “medically

 okay” would have colored defendants’ subjective impression of his condition.

       To prove deliberate indifference, “a plaintiff must establish that the defendant

 (1) had subjective knowledge of a risk of serious harm, (2) disregarded that risk, and

 (3) acted with more than gross negligence.” Wade v. McDade, 67 F.4th 1363, 1374

 (11th Cir. May 22, 2023). Summary judgment will be granted in favor of a defendant

 unless the plaintiff presents evidence of each element. Melton v. Abston, 841 F.3d

 1207, 1223 (11th Cir. 2016). Further, in considering a deliberate indifference claim,

 “[e]ach individual Defendant must be judged separately and on the basis of what that

 person knows.” Burnette v. Taylor, 533 F.3d 1325, 1331 (11th Cir. 2008).




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      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 3 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 166 of 180



       Courts throughout the Eleventh Circuit have repeatedly held that lay persons

 working in a jail are not subject to claims of deliberate indifference when they rely

 on the judgments of medical staff in the jail. “[S]upervisory officials are entitled to

 rely on medical judgments made by medical professionals responsible for prisoner

 care.” Williams v. Limestone Cnty., Ala., 198 F. App’x 893, 897 (11th Cir. 2006).

 “Under our circuit’s precedent, when a lay person is accused of deliberate

 indifference, the plaintiff must ‘present[] evidence that her situation was so

 obviously dire that two lay [officers] must have known that a medical professional

 had grossly misjudged [the plaintiff’s] condition.’” Kuhne v. Fla. Dep’t of Corr., 618

 F. App’x 498, 507 (11th Cir. 2015).

              Generally, it is not deliberate indifference for
              administrative personnel to rely on information and
              direction provided by qualified medical professionals in
              carrying out their duties. Unless such an individual could
              have reasonably deduced that following such medical
              direction was tangibly wrong and would result in
              substantive harm to the inmate, the officer should not be
              subject to liability.

 Sherman v. Burleson, No. 3:21CV537/MCR/EMT, 2022 WL 2165995, at *6 (N.D.

 Fla. Jan. 4, 2022), report and recommendation adopted, 2022 WL 1468523 (N.D.

 Fla. May 10, 2022); see also Carter v. Butts Cnty. Jail, No. 518CV00423TESCHW,

 2020 WL 1882908, at *6 (M.D. Ga. Mar. 18, 2020), report and recommendation

 adopted, 2020 WL 1876250 (M.D. Ga. Apr. 15, 2020) (“Furthermore, when the

 plaintiff has received treatment from medical professionals, correctional officers are
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      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 4 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 167 of 180



 entitled to rely on the medical judgments made by those medical professionals.”);

 Thompson v. Gramiak, No. CV 310-062, 2012 WL 1068156, at *5 (S.D. Ga. Jan.

 19, 2012), report and recommendation adopted, 2012 WL 1067966 (S.D. Ga. Mar.

 29, 2012) (“prison officials who lack specialized medical knowledge do not act with

 deliberate indifference to the extent that they rely on the advice of medical staff in

 making decisions that affect a prisoner’s conditions of confinement [. . .]”).

       Given each defendants’ reliance on the medical staff’s reports that Mr. Wingo

 was detoxing, plaintiffs cannot show how each defendant was “deliberately

 indifferent” to a serious medical need. All of the evidence shows that each individual

 defendants’ subjective understanding of Mr. Wingo’s condition was determined by

 the nurses’ misdiagnosis that Mr. Wingo was detoxing. (SMF ¶¶ 14, 31, 37, 66, etc.)

 Thus, Charge Nurses Jones and Visser attributed all of the concerning symptoms

 they and defendants observed, including his falls, complaints of abdominal pain, and

 demands to go to the hospital, to “drug seeking” and “playing games,” behavior they

 had seen from similar patients in their decades of experience. (SMF ¶¶ 110, 134,

 135.) A security deputy, untrained in medicine, is not “deliberately indifferent” for

 relying on the medical judgment of a trained professional.

       For a deliberate indifference claim, “[e]ach individual Defendant must be

 judged separately and on the basis of what that person knows.” Burnette, 533 F.3d

 at 1331. Deputy Marshall did not have subjective knowledge of a serious risk posed

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      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 5 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 168 of 180



 by Mr. Wingo’s perforated ulcer because she had no knowledge of that condition—

 she reasonably believed he was detoxing. Deputy McPhee had told her that the

 nurses attributed Mr. Wingo’s condition to detoxing. (Doc. 196-2 (“SMF”) ¶ 43.)

 She subjectively believed Mr. Wingo’s condition was simply “detox.” (SMF ¶ 34.)

 When she relayed Mr. Wingo’s complaints to the nursing staff, they told her “that

 Mr. Wingo was just trying to go to the hospital, he was detoxing, drug seeking, that

 he was okay.” (SMF ¶ 66.)

       Likewise, Lt. Gordon asked Nurse Visser multiple times what was going on

 with Mr. Wingo, and the charge nurse responded that Mr. Wingo “was fine

 medically.” (SMF ¶ 87.) Because Nurse Visser advised Lt. Gordon that Mr. Wingo

 was detoxing, he assumed that was the medical condition driving Mr. Wingo’s

 behavior and symptoms. (SMF ¶ 122.) Lt. Gordon also asked medical staff why Mr.

 Wingo was imbalanced, and they told him Mr. Wingo was detoxing. (SMF ¶ 149.)

       Similarly, when Major Harris spoke to Nurse Visser, she told him plaintiff

 was “detoxing” and that “he was trying to get to the hospital—he was drug seeking

 is the term she used—and that he needed to be isolated in a cell by himself.” (SMF

 ¶ 109.) She also told Major Harris that he was cleared, from a medical perspective,

 to be in a cell by himself. (SMF ¶¶ 113-114.)

       And just as the other defendants, Deputy Wilkerson was advised that Mr.

 Wingo’s behavior was a symptom of his drug-seeking behavior and that he was

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      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 6 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 169 of 180



 “playing games” trying to get to the emergency room—a conclusion by the nursing

 staff relayed to him by Deputy Marshall. (SMF ¶ 100, 104.)

       These facts align perfectly with those in Wilder v. Rockdale County, 1:13-cv-

 2715-RWS, 2016 WL 11745936 (Sept. 28, 2016). In Wilder, plaintiffs brought

 claims against jail corrections officers who saw the decedent vomit, “leaning over,”

 “holding his abdomen,” stating “that he was experiencing stomach pain,” heard him

 “hollering due to the pain,” and believed his pain was a “ten out of ten” while he was

 housed in the jail’s medical unit. Id. at *2-3. The jailers advised the nursing staff,

 who were also in the medical unit and observed these conditions, who responded

 that the inmate’s “condition did not present a serious malady,” “indicated that [the

 inmate] did not require her immediate attention and that she would deal with [him]

 when she got a chance,” and that the vomiting “really was not an emergency and she

 would attend to [him] later.” Id. *2-3, 18. The inmate later died from “an ulcerated

 and perforated duodenum.” Id. *5 (emphasis added). Based on this evidence, the

 district court held that the jailers “were entitled to rely on the judgment of the nurses

 that were there with them in the medical unit” and thus were not deliberately

 indifferent to the inmate’s serious medical needs. Id. *18.1 Likewise here, how can



 1
  The order granting summary judgment as to the officers in Wilder was not appealed
 because the plaintiff reached a settlement with the medical staff and CorrectHealth
 shortly after the decision was rendered and filed stipulations of dismissal. Wilder v.
 Pierre, No. 1:13-CV-2715-RWS, 2017 WL 11634368, at *1 (N.D. Ga. Feb. 22,
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      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 7 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 170 of 180



 defendants be expected to second-guess the medical judgment of multiple nurses—

 who are all just as aware of Mr. Wingo’s medical condition and symptoms as the

 defendants—when they were repeatedly advised that his condition was not

 emergent? While with the benefit of hindsight there is no question that Mr. Wingo’s

 perforated ulcer was a serious medical condition, defendants could only base their

 assessment of his condition on what they personally saw and what the nurses told

 them at that time. And the record evidence is that the nurses told defendants Mr.

 Wingo was “medically ok” and “just detoxing” and, in the defendants’ experience,

 his outward behavior was consistent with the nurses’ diagnosis. Cf. Lelieve v. Oroso,

 846 F. Supp. 2d 1294, 1306 (S.D. Fla. 2012) (“Lelieve has not presented record

 evidence demonstrating that his situation was so obviously dire that Belfort must

 have known that the JMH medical staff grossly misjudged Lelieve’s condition; while

 there is little debate that internal bleeding is a dire condition, it could not have been

 “obvious” to a lay officer that Lelieve was suffering internal bleeding when the only

 external signal Lelieve displayed was a bloody mouth and spitting blood [. . .].” ).

       Accordingly, plaintiffs have failed to show that defendants violated Mr.

 Wingo’s constitutional rights by being deliberately indifferent to a serious medical

 need, and they are entitled to summary judgment as a matter of law.



 2017). As previously shown, plaintiffs in this case have already settled with the
 medical defendants responsible for Mr. Wingo’s death. (SMF ¶¶ 183-191.)
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      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 8 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 171 of 180



       2.     Plaintiffs have no evidence of causation.

       Plaintiffs’ response to defendants’ motion for summary judgment with respect

 to the causation argument is a misguided attempt at burden-shifting. Plaintiffs argue

 that because neither their own expert nor defendants’ experts can opine the precise

 point in time at which medical intervention for Mr. Wingo would have become futile,

 “his chance of survivability should be left to the jury to decide and not determined

 through summary judgment without evidence that he would have died regardless of

 the circumstances.” (Doc. 209, p. 35.) But it is not defendants’ burden to prove on

 summary judgment that any medical intervention would have been futile—rather, it

 is plaintiffs’ burden to show that medical intervention at each and every point in time

 when each defendant had an opportunity to summon additional medical intervention

 would have saved Mr. Wingo. Causation is a necessary element in any tort action,

 including deliberate indifference claims, and it is plaintiffs’ burden to come forward

 with affirmative, non-speculative evidence of causation.

       And here, Dr. Myers’ purported opinion is pure speculation. He admits he

 cannot say whether or not Mr. Wingo would have survived at any point in time when

 he interacted with the defendants. Dr. Myers conceded that he could not state with

 any degree of medical certainty what Mr. Wingo’s survivability would have been if

 someone had called 911 at 7:45 a.m., the approximate time Mr. Wingo was




                                           8
      Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 9 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 172 of 180



 transferred to the infirmary extension, because he does not know what Mr. Wingo’s

 vital signs were at that time. (SMF ¶ 178.)

       Plaintiff claims that Dr. Myers testified Mr. Wingo could be saved if he was

 on the operating table with any detectible “vitals,” and that Mr. Wingo must have

 had “vitals” up until the time he was last seen moving at 8:23 a.m. (Doc. 209, p. 85.)

 However, this was not Dr. Myers’s testimony, and if it was, it is purely speculative

 as applied to the practical facts of getting Mr. Wingo out of the infirmary, from the

 jail, to the hospital, and on the operating table. Again, Dr. Myers could not say with

 any degree of medical certainty the likelihood that Mr. Wingo would have survived

 if he received medical intervention at 7:45 a.m., 6:45 a.m., or even 5:45 a.m. (SMF

 ¶ 180.) He did not testify, as plaintiffs suggest, that because Mr. Wingo was moving

 at these times, he must have had vitals and therefore more than likely would have

 survived if given proper medical care. If that was his opinion, that is what he could

 have said at his deposition. But instead, he testified:

              Q. Okay. So without the vitals and if we’re trying to
              understand what his survivability would had of been had
              the emergency room been called at any point during that
              time frame; without the vitals you’re unable to say?

              A. Yes. I can just say at this point --

                         MR. GARDNER: Object to form. Go ahead.

                         THE WITNESS: At 11:30 at night his
              survivability was probably -- was mostly likely ten
              percent. His survival in the ER is 100 percent – or his
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     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 10 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 173 of 180



              mortality in the ER is 100 percent. How that percentage
              moved along time if we were to graph it out, I don’t know.

              Q. BY MR. JACKSON: Okay.

              A. Not without vitals.

 (SMF ¶ 180.)

       In short, there is no competent evidence to show that transport to the hospital

 at any point in time when defendants interacted with plaintiff would have prevented

 Mr. Wingo’s death. Without that competent evidence, plaintiffs’ theory of causation

 is nothing but pure speculation, which is insufficient to overcome summary

 judgment. “The movant has the burden of showing that there is no genuine issue of

 fact, but the plaintiff is not thereby relieved of his own burden of producing in turn

 evidence that would support a jury verdict.” Anderson v. Liberty Lobby, Inc., 477

 U.S. 242, 256 (1986). That evidence must be “concrete,” not speculative. Id. Without

 causation, plaintiffs cannot prevail on their § 1983 deliberate indifference claim.

       3.     Plaintiffs can show no violation of clearly established law.

       Even if any defendant violated Mr. Wingo’s constitutional rights, they are

 entitled to qualified immunity unless plaintiffs can show that the violation was

 “clearly established” at the time of the incident. See Youmans v. Gagnon, 626 F.3d

 557 (11th Cir. 2010). It is a plaintiff’s burden to overcome qualified immunity by

 pointing to specific actions of each defendant that violated clearly established law.

 Montoute v. Carr, 114 F.3d 181, 184 (11th Cir. 1997).
                                          10
     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 11 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 174 of 180



       As the Court in Wilder held with respect to cases where jailers relied upon the

 judgments of medical nursing professionals, the clearly established law analysis

 “means looking for precedent where non-medical jail employees were alleged to be

 deliberately indifferent to an inmate’s medical needs despite knowing that the inmate

 was already under medical care.” Wilder, 2016 WL 11745936, at *18.

       Plaintiffs have not identified a single case that meets these criteria. The only

 two cases plaintiffs discuss at length—Patel v. Lanier County, Georgia and Foster

 v. Maloney—obviously have no application to this case for purposes of the “clearly

 established law” analysis. Patel v. Lanier County, Georgia, 969 F.3d 1173, 1190-91

 (2020) is a decision that postdates this September 2019 incident, and cannot be used

 in the clearly established law analysis. Denno v. Sch. Bd. of Volusia Cnty., Fla., 218

 F.3d 1267, 1271 (11th Cir. 2000) (for the qualified immunity standard, “pre-existing

 law must clearly establish the alleged constitutional right. Thus, we examine the

 legal landscape at the time of the individual defendant's actions.”) Likewise, Foster

 v. Maloney, 785 F. App’x 810 (11th Cir. Oct. 10, 2019), decided just weeks after the

 subject incident, cannot define clearly established law for purposes of this case

 because it was also rendered after the facts of this case and because it is an

 unpublished decision. J W by & through Tammy Williams v. Birmingham Bd. of

 Educ., 904 F.3d 1248, 1260 n.1 (11th Cir. 2018) (“Unpublished cases, however, do




                                          11
     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 12 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 175 of 180



 not serve as binding precedent, see 11th Cir. R. 36-2, and cannot be relied upon to

 define clearly established law.”).

       The remaining cases plaintiffs briefly mention are not cases involving jailers’

 reliance on the judgments of medical professionals and are thus too abstract to define

 “clearly established law” under these circumstances. In Danley v. Allen, jailers

 themselves inflicted the harm on plaintiff (by pepper spraying him) and then refused

 to let him see the jail nurse—they did not rely on nurses’ medical judgment with

 respect to an unknown ailment, as defendants did here. See 540 F.3d 1298, 1304-05

 (11th Cir. 2008). The defendants in McElligott v. Foley were themselves medical

 professionals working in the jail who failed to properly evaluate an inmate—not

 jailers who relied on the nursing staff’s medical determinations—and this case is

 thus factually inapposite. See 182 F.3d 1248, 1251-54 (11th Cir. 1999). In Harris v.

 Coweta County, the plaintiff alleged a sheriff intentionally delayed providing a

 diagnostic test for plaintiff on a doctor’s recommendation, which is factually

 different from this case, where jailers reasonably relied on the medical staff’s

 recommendations. See 21 F.3d 388, 390 (11th Cir. 1994). Again, the defendants in

 Howell v. Evans were medical providers, not jailers, and the case concerned the

 refusal to provide medical care, not the failure to override the decisions of medical

 professionals caring for an inmate, which is at issue here. See 922 F.2d 712, 720

 (11th Cir. 1991). And again, Brown v. Hughes concerned correctional officers delay

                                          12
     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 13 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 176 of 180



 in providing any medical care to an inmate with a broken foot because, contrary to

 jail policies, no nurse was at the jail that day, and the case did not concern a situation

 where the inmate was already in the infirmary under a medical professional’s care.

 894 F.2d 1533, 1536-37 (11th Cir. 1990). In Carswell v. Bay Cty., the court held

 that a jail administrator could be liable for doing “nothing significant to ensure that

 [an inmate] received medical attention” when a public defender asked the

 administrator to ensure his client received the attention, but again, that is far different

 from this case, where all defendants interacted with plaintiff while he was under the

 direct medical supervision of nurses in the infirmary. See 854 F.2d 454, 457 (1988).

 Finally, in Ancata v. Prison Health Services, Inc., the court held that a private

 contractor for healthcare services in a jail acted with deliberate indifference where it

 refused to provide medical care to an inmate that its employees knew was necessary

 unless the plaintiff himself agreed to pay for it. 769 F.2d 700, 704 (1985). Those

 facts bear no resemblance at all to those at issue here.

       As the Supreme Court recently stated, “[i]t is not enough that a rule be

 suggested by then-existing precedent; the ‘rule’s contours must be so well defined

 that it is clear to a reasonable officer that his conduct was unlawful in the situation

 he confronted.’” City of Tahlequah v. Bond, 142 S.Ct 9, 11 (2021). Plaintiffs have

 failed to proffer any case law that satisfies this standard under the facts of this case.

 Accordingly, plaintiffs have failed to sustain their burden to overcome qualified

                                             13
     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 14 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 177 of 180



 immunity, and defendants are entitled to summary judgment on the deliberate

 indifference claims.

 B.    State Law Claim Against Paul Wilkerson.

       Plaintiffs have abandoned all of their state law negligence claims except for

 the claim based on Deputy Wilkerson’s alleged failure to complete 15-minute rounds

 on Mr. Wingo, in violation of Policy 2-03-07.01. (Doc. 209, p. 26-27.)

       But once again, even if Deputy Wilkerson had a duty that is properly

 characterized as ministerial, plaintiffs still cannot recover under a negligence theory

 because such violation would not have caused any injury to Mr. Wingo. As shown

 above, plaintiff’s own expert, Dr. Myers, could not say with any degree of medical

 certainty whether Mr. Wingo would have lived if a code blue was called at 7:45 a.m.,

 6:45 a.m., or even 5:45 a.m.—hours before Deputy Wilkerson allegedly failed to

 properly conduct his 12 to 15 minute security rounds.

       Accordingly, because there is no evidence in the record that any “ministerial”

 duty, if performed, would have saved Mr. Wingo’s life, plaintiffs have no evidence

 of causation in support of their remaining negligence claim against Deputy

 Wilkerson, which is subject to summary judgment.

                               II.   CONCLUSION

       Because plaintiffs failed to show an issue of material fact as to whether

 defendants were deliberately indifferent to Mr. Wingo’s serious medical needs,

                                           14
     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 15 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 178 of 180



 whether they are entitled to official immunity, or whether their conduct actually

 caused Mr. Wingo’s death, the defendants are entitled to summary judgment as a

 matter of law.

                                  Respectfully submitted,

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                                          15
     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 16 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 179 of 180



                      CERTIFICATE OF COMPLIANCE

       I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing REPLY

 BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY

 JUDGMENT has been prepared in accordance with Local Rule 5.1(C) (Times New

 Roman font, 14 point).

       This 29th day of September, 2023.

                                     FREEMAN MATHIS & GARY, LLP

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                                       16
     Case 1:20-cv-03662-VMC Document 224 Filed 09/29/23 Page 17 of 17
USCA11 Case: 24-10933 Document: 31-3 Date Filed: 06/11/2024 Page: 180 of 180



                          CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing

 REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR

 SUMMARY JUDGMENT to the Clerk of Court using the CM/ECF system which

 will automatically send electronic mail notification of such filing to counsel of

 record who are CM/ECF participants, and mailed a paper copy of same mailed by

 the United States Postal Service, first-class, postage prepaid, to parties and counsel

 of record who are non-CM/ECF participants, properly addressed upon:

                      Timothy J. Gardner & Henrietta G. Brown
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                                 Atlanta, GA 30339

       This 29th day of September, 2023.

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                                           17
